EXHIBIT 1
                                UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------- ---------x
                                                                  :
AUBREY DRAKE GRAHAM,
                                                                  :
                                   Plaintiff,
                                                                  : Civil Action No. _____1:25-cv-399-
                             v.                                     JAV
                                                                  :
UMG RECORDINGS, INC.,                                               Jury Trial Demanded
                                                                  :
                                   Defendant.
                                                                  :

                                                                  :
-------------------------------------------------------- ---------x

                                               COMPLAINT

                                       AMENDED COMPLAINT
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                                                                         ii
       Plaintiff Aubrey Drake Graham (“Drake” or “Plaintiff”), through his attorneys, brings this

Complaint against Defendant UMG Recordings, Inc. (“Defendant” or “UMG”).1

                                        INTRODUCTION

“A single lie can destroy a reputation of integrity and . . . while it takes years to build a
reputation, it can be ruined in five minutes.”
                       – Sir Lucian Grainge, Chief Executive Officer of UMG, March 25, 2024

       1.      In the middle of the night on May 7, 2024, an armed group of assailants drove up

to the Toronto house in which Drake and his family resided. Drake was inside. The car stopped

in front of the residence, someone yelled “Fuck Drake,” and at least one gunman began to open

fire. One bullet went through the security gate and hit Drake’s front door; another bullet struck

and wounded a security guard, who was also one of Drake’s friends. While the car drove away,

Drake and others in the house summoned help for the security guard and did everything possible

to keep him alive. During the nearly thirty minutes it took for the ambulance to arrive, Drake and

others labored to keep the man alive by applying pressure to the gunshot wound with towels. Blood

was everywhere.

       2.      After the security guard arrived at the hospital, surgeons worked quickly to remove

the bullet, stop the bleeding, and save his life. Though it took days for his condition to stabilize,

thankfully, the security guard survived.

       3.      The very next day, May 8, 2024, a different intruder used his bare hands to dig a

hole under the security fence surrounding Drake’s Toronto house. He managed to dig deep enough

to squeeze through and enter Drake’s property. Fortunately, Drake’s home security guards caught




1
 Throughout, references to UMG shall include any UMG employee, affiliate, agent, and anyone
working on UMG’s behalf.


1
him before he was able to cause any physical harm, although the trespasser managed to yell racist

slurs and threats against Drake before being escorted off the property.

       4.      On May 9, 2024, the very next day, another break-in attempt happened.

       5.      In the two decades leading up to May of 2024, although Drake was constantly in

the public eye, nothing remotely like these events had ever happened to him or his family. But

these events were not coincidental. They immediately followed, and were proximately caused by,

UMG’s actions leading up to and on May 4, 2024.

       6.      UMG is the “world’s largest music company,”2 and also the music company that

has represented Drake for more than a decade. Yet, on May 4, 2024, UMG approved, published,

and launched a campaign to create a viral hit out of a rap track that falsely accuses Drake of being

a pedophile and calls for violent retribution against him. Even though UMG enriched itself and

its shareholders by exploiting Drake’s music for years, and knew that the salacious allegations

against Drake were false, UMG chose corporate greed over the safety and well-being of its artists.

In controversy, UMG saw an opportunity, seized it, and continued to fan the flames even after

learning of the incitement to violence on May 7 and 8, along with the unrelenting vitriol towards

Drake that has followed.

       7.      The song in question is “Not Like Us” (the “Recording”) written and performed by

Kendrick Lamar Duckworth (professionally known as Kendrick Lamar).3 The Recording was

intended to convey the specific, unmistakable, and false factual allegation that Drake is a criminal



2
 Amended Complaint ¶ 16, UMG Recordings, Inc. v. OpenDeal Inc., No. 21-cv-09358 (S.D.N.Y.
Aug. 26, 2022), ECF No. 64.
3
  Not Like Us (Interscope Records 2024) [hereinafter “Recording”]. The full lyrics of the
Recording are attached hereto as Exhibit A. The Recording was first made available for streaming
on YouTube. See Kendrick Lamar (@kendricklamar), Not Like Us, YouTube (May 4, 2024),
https://www.youtube.com/watch?v=T6eK-2OQtew [https://perma.cc/6BL5-RGJY].


                                                 2
pedophile, and to suggest that the public should resort to vigilante justice inas a response. The

Recording is defamatory because its lyrics, its album image (the “Image”), and its music video

(the “Video”) all advance the false and malicious narrative that Drake is a pedophile. The lyrics

repeatedly accuse Drake of engaging in criminal acts, including by calling him a “certified

pedophile[]” and a “predator” who needs to be “placed on neighborhood watch.”4 The Image was

designed to reinforce, and in fact reinforces, that accusation by depicting Drake’s actual Toronto

house covered in the icons that are known to be used by law enforcement (as well as public safety

applications like Citizen) to identify child sex offenders’ residences online.              The Video

bolsters(created weeks after the song became a viral hit) was designed to reinforce the same

messagefalse factual narrative by, for example, showing images associated with sex trafficking

and juxtaposing the game of hopscotch with lyrics accusing Drake of “Tryna strike a chord and

it’s probably A-Minor.”5

         8.      This lawsuit is not about the artist who created “Not Like Us.” It is, instead, entirely

about UMG, the music company that decided to publish, promote, exploit, and monetize

allegations that it understood were not only false, but dangerous. As UMG knows and has known

at all relevant times, the Recording, Image, and Video’s allegations are unequivocally false. Drake

is not a pedophile. Drake has never engaged in any acts that would require he be “placed on

neighborhood watch.” Drake has never engaged in sexual relations with a minor. Drake has never

been charged with, or convicted of, any criminal acts whatsoever.




4
    Recording, supra note 3, at 00:57-01:00, 02:11-02:15.
5
       Not    Like    Us     at    01:43-01:50,   YouTube       (July   4,    2024),
https://www.youtube.com/watch?v=H58vbez_m4E [https://perma.cc/BZ9F-S9PH] [hereinafter
the “Video”].


                                                    3
         9.      Notwithstanding its knowledge that the allegations are fabricated, starting in May

of 2024, UMG waged an unrelenting campaign to spread the Recording, Image, and Video

(together, the “Defamatory Material”) as widely as possible. UMG did so because it understood

that the Recording’s inflammatory and shocking allegations were a gold mine. Spreading the

Defamatory Material served multiple business purposes for UMG. First, the more people who

listened to, streamed, watched, and downloaded the Defamatory Material, the more money UMG

and its executives would make. Second, UMG’s Interscope Records (“Interscope”) owns Lamar’s

entire back catalog of recorded music. The leadership of Interscope had every incentive to prove

it could maximize Lamar’s sales after only recently persuading him to enter into his own direct

license for a limited recording commitment of new music. Third, (in contrast with Lamar’s first

direct deal), UMG’s contract with Drake was nearing fulfillment, and on information and belief,

UMG anticipated that extending Drake’s contract would be costly. By devaluing Drake’s music

and brand, UMG would gain leverage to force Drake to sign a new deal on terms more favorable

to UMG.

         10.     UMG’s campaign was successful. The Recording cloaks cleverly dangerous lyrics

behind a catchy beat and inviting hook. Capitalizing on those attributes, UMG used every tool at

its disposal to ensure that the world would hear that Drake “like[s] ‘em young.”6 The Defamatory

MaterialUnlike any other song ever released by Kendrick Lamar, this song has been played many

billions of times, and its false central message has gone viralcalcified into accepted fact via social

and legacy media channels broadcast in dozens of languages to (at minimum) hundreds of millions

of people spanning the globe. It is not just fans of rap music who now believe that Drake is a

“certified pedophile[].” The Recording has become ubiquitous.[],” because it is not just fans of


6
    Recording, supra note 3, at 00:40-00:42.


                                                  4
rap music who have been repeatedly exposed to the song’s lyrics. Instead, the Recording has

become ubiquitous, in significant part because of UMG’s deliberate efforts designed to accomplish

just that. UMG used its promotional resources and exclusive licensing rights to place the

Recording on numerous nationally televised events, including but not limited to awards shows,

national political events, and more.

       11.     But billions of plays and ubiquity were not enough for UMG. Over the course of

the last several months, UMG hasLong after UMG knew about the harm that “Not Like Us” had

caused to Drake, and with full understanding that countless listeners have interpreted the song’s

lyrics and imagery to convey assertions of fact, UMG made significant financial investments and

leveraged its professional connections, via sophisticated and highly-organized publicity

campaigns, to arrange for the Recording to be performed at one of the most significant (and

viewed) cultural events of the year—the Super Bowl. The Recording was performed during the

2025 Super Bowl and broadcast to the largest audience for a Super Bowl halftime show ever, over

133 million people, including millions of children, and millions more who had never before heard

the song or any of the songs that preceded it. It was the first, and will hopefully be the last, Super

Bowl halftime show orchestrated to assassinate the character of another artist.

       12.     UMG is legally responsible for the release, publication,7 and promotion of the

Defamatory Material, including the foreseeable consequences of the same. UMG’s business is to

“possess the exclusive rights” to reproduce, to distribute, and to license music, “including over the




7
  Throughout, this filing uses the terms “publish” and “publication” as understood within the
defamation context. See PUBLISH, Black’s Law Dictionary (12th ed. 2024) (“1. To distribute
copies (of a work) to the public. 2. To communicate (defamatory words) to someone other than
the person defamed”). In the context of the music industry, these terms have a different meaning,
which is not intended here.


                                                  5
[i]nternet.”8 Moreover, UMG retains the right to refuse to publish works based on content to which

it objects, including material that UMG deems to be defamatory. In other words, it is only with

UMG’s explicit approval that the Defamatory Material could have been released in the first

instance and later streamed, shared, performed publicly, and exploited by content creators on

TikTok and Instagram.

       13.     UMG’s campaign went well beyond the traditional music company playbook—

indeed, UMG has unleashed every weapon in its arsenal, including, on information and belief,

certain practices that are unlawful.9 In a memorandum to staff reflecting on highlights of 2021,

Sir Lucian Grainge remarked that it was “harder than ever for artists to break through the noise”

as, for example, “sixty thousand songs are added to Spotify every day.” UMG made sure that “Not

Like Us” broke through that noise. For one, UMG took the unprecedented step—contrary to its

internal practices—to remove the Recording’s copyright restrictions on YouTube and Twitch,

thereby “whitelisting” the Recording to ensure content creators would republish it broadly. On

information and belief, UMG and its agents further put a thumb on the scale by covertly offering

financial incentives to third parties to deceptively stream the Recording on streaming platforms,

to play the Recording on the radio, and to otherwise promote and endorse the Defamatory Material,

all without ever publicly disclosing the payments. These actions not only spread and further




8
 Complaint ¶ 15, UMG Recordings, Inc. v. Vital Pharms., Inc., No. 21-cv-60914 (S.D. Fla. Apr.
28, 2021).
9
 Drake previously initiated two pre-litigation actions against UMG in State court in New York
and Texas to investigate allegations that UMG engaged in a deliberate and inappropriate strategy
of paying third parties to artificially inflate the Recording’s metrics, a practice known as “payola”
and which is prohibited by the Communications Act of 1934 as well as other causes of action. See
Verified Petition, In the Matter of the Application of, FROZEN MOMENTS, LLC et al., Docket
No. 161023/2024 (N.Y. Sup. Ct. Nov. 25, 2024); Verified Petition for Rule 202 Depositions, In
Re: Aubrey Drake Graham, Docket No. 2024-CI-26782 (Tex. Dist. Ct. Nov. 25, 2024).


                                                 6
engrained the defamatory statements in the minds of the public, but deceived consumers and

harmed Drake economically.

         14.   Predictably, millions of people who listened to the Recording, or saw the Image

and Video, believed the Defamatory Material to be true. UMG had previously published Lamar’s

song “Euphoria,” which was also widely understood to be targeted at Drake, and which stated,

“don’t tell no lie about me and I won’t tell truths ‘bout you.” As voluminous public commentary

confirms, the average listener or viewer has understood the Defamatory Material to reflect “the

truth,”factual assertions about Drake, rather than art or hyperbole. Moreover, the lyrics of “Not

Like Us” leave the unmistakable impression that they are based on additional facts not disclosed

to the listener, but that might be revealed at some future point in time. In the words of one

commentator, nowthe Recording’s (false) lyrics have made it such that “everybody believe[s]”

that Drake loves “touching children.”

         15.   UMG’s greed yielded real world consequences. As described above, it was just

three days after UMG originally published the Recording and Image that Drake was targeted at his

Toronto house by armed intruders in the 2024 equivalent of “Pizzagate.” The online response was

similarly violent and hateful. An avalanche of online hate speech has branded Drake as a sex

offender and pedophile, among other epithets. Public commentary has repeated the (false) claims

that Drake is a “pedo” and “sexual abuser on the level of Weinstein, Diddy, and Epstein” who

“traffic[]s children” in shipping containers and harbors convicted “sex offenders” in his Toronto

home. In direct response to UMG’s publications, social media users called for the Federal Bureau

of Investigation (FBI) to “to come at this point” and for Drake to be “locked up” and “behind

bars.”




                                               7
       16.     The mob-like response to the Recording continues to unfold on- and off-line.

RecentlyAt one point in time, flyers were plastered all over Toronto with a photo of Drake and a

Canadian YouTuber who was sentenced to three years in prison for sexual assault with the words

“Canadian sex predators gotta stick together.”




       17.     The public response re-intensified following the 2025 Grammys and Super Bowl,

both of which featured the Defamatory Material. Each of these prestigious and high-exposure

events introduced new listeners to the Recording, causing even more people to be duped into

believing that Drake was a pedophile. Not only did streams of the Recording increase significantly

following these two mega-cultural events, but threats against Drake and his family did as well.

       17.18. With the palpable physical threat to Drake’s safety and the bombardment of online

harassment, Drake fears for the safety and security of himself, his family, and his friends. After

the attacks on his home, Drake pulled his son out of the elementary school he attended in Toronto

due to safety concerns, and once school ended for the summer, Drake arranged for his son and




                                                 8
mother to leave Toronto entirely. Day to day, Drake continues to take steps to address persistent

threats to his security.

           18.19. The violence and vitriol directed at Drake was foreseeable. The Recording falsely

accuses Drake of one of the most vile behaviors imaginable, and explicitly calls for retaliatory

violence and retribution against him. The false “pedophile” accusation is a devastatingly effective

method of assassinating someone’s character online. When spread virally, the accusation can

destroy an individual’s reputation and brand in a matter of days. As one expert on conspiracy

theories has explained: “There’s always been a certain amount of salaciousness in these conspiracy

theories . . . [a]nd if it involves children, people immediately just lose their mind — —even if these

children don’t exist.”10 If “you just put out the suggestion there, it grabs ahold in a way that is

difficult to dislodge.”11 That is exactly what the Recording accomplished.

           19.20. UMG understands just how dangerous these kinds of false allegations are—indeed,

when it comes to allegations against UMG and its executives, they have not hesitated to take legal

action against their accusers. Just last year, UMG and Sir Grainge were accused, in their words,

without “the slightest factual basis,” of aiding and abetting Sean “P. Diddy” Combs in criminal

sexual acts.12 Moving to dismiss the complaint against them, UMG and Sir Grainge argued that

the accusations were “offensively false allegations of criminal behavior” that would be



10
   Catherine Kim, Pizzagate, QAnon and the ‘Epstein List’: Why the Far Right Is Obsessed with
Sex             Trafficking,         Politico            (Jan.           9,            2024),
https://www.politico.com/news/magazine/2024/01/09/why-maga-is-obsessed-with-jeffrey-
epstein-00134394
[https://web.archive.org/web/20241209003125/https://www.politico.com/news/magazine/2024/0
1/09/why-maga-is-obsessed-with-jeffrey-epstein-00134394].
11
     Id.
12
  Declaration of Donald S. Zakarin in Support of Motion to Dismiss the First Amended Complaint
¶ 3, Jones v. Combs, No. 1:24-cv-01457 (S.D.N.Y. Mar. 27, 2024), ECF No. 26.


                                                  9
“libelous per se” if not contained within a legal filing. 13 Sir Grainge called the allegations against

him “knowingly and maliciously false and defamatory.”14 Sir Grainge also explained that “a

single lie can destroy a reputation of integrity and . . . while it takes years to build a reputation,

it can be ruined in five minutes.”15 Thus, recognizing that false allegations against him might

interfere with his efforts “to lead an honorable personal and professional life,”16 Sir Grainge

promised to “pursue those who have made these outrageous allegations against [him].”17

          20.21. In stark contrast, when Drake confronted UMG about its role in promoting

allegations of sexual misconduct lacking “the slightest factual basis” against him, UMG refused

to do anything to help. Instead, UMG continued to republish and promote the Defamatory

Material, even after Drake had unequivocally denied the allegations in public and had

communicated that in private to UMG. Drake informed UMG of the tangible harm that the

publication and promotion of the Recording had caused him—including violence, threats,

reputational and financial damage, and more. Yet UMG still chose money over the safety and

well-being of its artists, notwithstanding its public commitment to “behaving honorably and with

honesty,” and “setting the right tone—in all that we do.”18 And UMG has tripled and quadrupled




13
     Id. ¶¶ 18, 31, 66.
14
  Declaration of Sir Lucian Grainge in Support of Motion to Dismiss ¶ 24, Jones v. Combs, No.
1:24-cv-01457 (S.D.N.Y. Mar. 27, 2024), ECF No. 26-1.
15
     Id. (emphasis added).
16
     Id. ¶ 23.
17
     Id. ¶ 15.
18
    Universal Music Group, Our Code of Conduct: Setting the Right Tone, at 2 (2021),
https://dn8hzp56erqjx.cloudfront.net/pdf/pdf/2021-UMG-Code-of-Conduct.pdf
[https://web.archive.org/web/20231113085616/https://dn8hzp56erqjx.cloudfront.net/pdf/pdf/202
1-UMG-Code-of-Conduct.pdf].


                                                  10
down on its defamation-for-profit strategy even after Drake filed this lawsuit, which detailed the

harm to him and his family caused by UMG’s publication and promotional activities.

           21.22. Many months prior to filing this litigation, Drake attempted to address these claims

privately with UMG. Drake believed, per Sir Grainge, that UMG’s leadership should be held

“accountable for the decisions we make and how we conduct ourselves.”19 And UMG purports to

care about threatening and abusive behavior—indeed, UMG’s Code of Conduct notes that

“[h]arassment can take different forms, such as . . . speech that is threatening or abusive,” and

declares that “violence, threats and physical intimidation are not tolerated at Universal Music”

because “[w]e all share the responsibility to make health and safety a constant priority.”20 Yet, in

response to Drake’s concerns, UMG responded that Drake would face humiliation if he brought

legal action—presuming that the public would be unable to understand UMG’s role in exploiting

and profiting from this dispute. UMG’s posture, as the “world’s largest music company,” was that

it is untouchable.

           22.23. UMG’s response to Drake was especially perverse given that it is perfectly willing

to sue to protect its own interests when it believes that doing so will protect its “property.”21 UMG

is “engaged in the business of acquiring, administering, licensing, exploiting and otherwise




19
     Id.
20
     Id. at 10-11.
21
  By way of example: in 2022, UMG sued OpenDeal, Inc. for trademark infringement, among
other claims, UMG Recordings, Inc. v. OpenDeal Inc., No. 1:21-cv-09358 (S.D.N.Y. Nov. 12,
2021); in 2021, UMG sued Bang Energy for the unlicensed used of its songs in TikTok videos,
UMG Recordings, Inc. v. Vital Pharms., Inc, No. 21-cv-60914 (S.D. Fla. Apr. 28, 2021); in 2017,
UMG sued Grande Communications Networks for infringement and copyright violations, UMG
Recordings, Inc. v. Grande Communications Networks LLC, No. 1:17-cv-00365 (W.D. Tex. Apr.
21, 2017); in 2011, UMG sued Escape Media Group, Inc. for copyright infringement, UMG
Recording, Inc. v. Escape Media Group, Inc., No. 1:11-cv-08407 (S.D.N.Y. Nov. 18, 2011).


                                                   11
monetizing”22 the music of its artists, including Drake, and it does not hesitate to file lawsuits when

doing so suits its financial interests. This lawsuit is both necessary and appropriate because UMG

has repeatedly defamed Drake while “exploiting” and “monetizing” his work.

       23.24. With his own record label having waged a campaign against him, and refusing to

address this as a business matter, Drake has been left with no choice but to seek legal redress

against UMG. UMG mayhas attempted to spin this Complaint as a rap beef gone legal, but this

lawsuit is not about a war of words between artists. This lawsuit involves no claims against

Kendrick Lamar or any other artist; instead, it is about UMG—the publisher and exclusive rights

holder of Lamar’s music, as well as Drake’s—and its malicious decision to publish and promote,

through both overt and covert means, false allegations about Drake that UMG knew were false,

explosive, inflammatory, and certain to result in both vitriol and substantial harm to Drake’s

reputation.

       24.25. Notwithstanding a relationship spanning more than a decade, UMG intentionally

sought to turn Drake into a pariah, a target for harassment, or worse. UMG did so not because it

believes any of these false claims to be true, but instead because it would profit from damaging

Drake’s reputation. Drake thus brings this action to hold UMG responsible for the actual and

foreseeable harm he has suffered, and will continue to suffer, because of UMG’s choice to elevate

profits over the well-being of its artists and the music-consuming public.

                                             PARTIES

       25.26. Plaintiff Aubrey Drake Graham, a/k/a Drake, is a rapper, singer, songwriter,

actor, entrepreneur, and philanthropist. Drake is a citizen of Texas.



22
  Complaint ¶ 1, UMG Recordings, Inc. v. Vital Pharms., Inc., No. 1:21-cv-60914 (S.D. Fla. Apr.
28, 2021).


                                                  12
         26.27. Defendant UMG Recordings, Inc. is a wholly owned subsidiary of Universal

Music Group N.V. (together with UMG, “Universal Music”), a public company formed under the

laws of the Netherlands. UMG is a Delaware corporation with its headquarters in California, and

thus it is a citizen of Delaware and California. UMG is registered to do business in New York and

maintains an office in New York City at 1755 Broadway, New York, New York 10019. Indeed,

several of UMG’s record label divisions are headquartered in New York.23 Universal Music touts

itself as “the world leader in music-based entertainment” which “produce[s], distribute[s] and

promote[s] the most critically acclaimed and commercially successful music to delight and

entertain fans around the world.”24 UMG has recording contracts with some of the world’s biggest

music stars, including Taylor Swift, Ariana Grande, Adele, and, relevant here, Drake and Kendrick

Lamar. Drake has been signed under exclusive recording contracts controlled by UMG since 2009,

which provide UMG with the exclusive right to license, sell, and promote his recordings.25 UMG

is engaged in the business of exploiting “recorded music, music publishing, merchandising, and

audiovisual content,”26 including through Republic Records (“Republic”), Capitol Records

(“Capitol”)”), and Interscope, all of which are wholly owned divisions of UMG. As of 2024,

Kendrick Lamar releases music from his independent label through an exclusive direct licensing

agreement with UMG through Interscope.        Universal Music also operates Universal Music


23
   Complaint ¶ 7, UMG Recording, Inc. v. Escape Media Group, Inc., No. 1:11-cv-08407
(S.D.N.Y. Nov. 18, 2011).
24
   Overview, Universal Music Group, https://www.universalmusic.com/company/#organization
[https://perma.cc/D2JD-YJPD].
25
   See Mariel Concepcion, Drake Signs To Young Money, Distribution By Universal Republic,
Billboard (June 20, 2009), https://www.billboard.com/music/music-news/drake-signs-to-young-
money-distribution-by-universal-republic-268244/
[https://web.archive.org/web/20250114212221/https:/www.billboard.com/music/music-
news/drake-signs-to-young-money-distribution-by-universal-republic-268244/].
26
     Universal Music Group, Overview, supra note 2423.


                                               13
Publishing Group (“UMPG”) as its music publishing and distribution arm. Both Drake and

Kendrick Lamar’s music publishing rights are exclusively controlled by UMPG under songwriter

agreements.

                                 JURISDICTION AND VENUE

       27.28. This Court has jurisdiction over this action and Defendant pursuant to 28 U.S.C.

§ 1332(a)(1), as the matter in controversy exceeds $75,000 exclusive of interests and costs and is

between citizens of different states.

       28.29. This Court may exercise personal jurisdiction over Defendant pursuant to § 302 of

the New York Civil Practice Law and Rules because UMG transacts business within the state and

owns, uses or possesses real property within the state. Further, this Court may exercise personal

jurisdiction over Defendant pursuant to § 301 of the New York Civil Practice Law and Rules

because UMG systematically and continuously conducts and solicits business within New York

and has availed itself of the privileges of conducting business in the State of New York.

       29.30. Venue is proper pursuant to 28 U.S.C. §§ 1391 (b) and (c) because a substantial

part of the events or omissions by UMG giving rise to the claims occurred in this District, and

because UMG is subject to personal jurisdiction in this District.

                                         BACKGROUND

       30.31. Liability in this case is predicated on the Defamatory Material which UMG

published and/or caused the publication of beginning on May 4, 2024, and continuing through the

date of this filing. This background section provides facts and context about the parties and the

events leading up to the initial publications.




                                                 14
               A.      Drake Is Internationally Recognized as a Multitalented Rap Superstar.

       31.32. Drake’s career spans two decades. While Drake first rose to fame in the early 2000s

as the star of hit Canadian teen drama television series Degrassi: The Next Generation, the rapper

“Drake” is now known worldwide.

       32.33. Drake is one of the world’s best-selling music artists of all time. Some of Drake’s

biggest hits include “Hotline Bling” and “One Dance.” Between 2010 and 2024, Drake released

eight studio albums, with more than 170 million albums sold including 244 million singles sold.

Drake has had 13 #1 Hitshits on the Billboard Hot 100 Chart. chart (the “Billboard Hot 100”).

       33.34. Drake’s success has been repeatedly celebrated by the music industry. Drake has

been nominated for 55 Grammy Awards, and has won five, including most recently in 2023. Drake

has also won 42 Billboard Music awards and in 2021, Drake accepted Billboard’s “Artist of the

Decade” award. Drake proudly accepted the award with his young son, father, and members of

his team by his side, dedicating the award to his son, friends, longtime collaborators, and peers.

       34.35. Drake’s professional and entrepreneurial endeavors extend beyond music. In 2012,

Drake founded the Canadian-based record label OVO Sound, which has signed artists including

PartyNextDoor, Majid Jordan, Smiley, and Naomi Sharon.

       35.36. Drake also uses the brand name October’s Very Own (“OVO,”), represented by an

owl, for his clothing brand. Far more than just “label merch,” the clothing brand has collaborated

with Canada Goose, Canadian retailer Roots, Disney, the NCAA, the NFL, and Supreme. In

addition to lucrative online sales, OVO operates several brick-and-mortar stores in Canada, the

United States, and the United Kingdom.27



27
  Stores, October’s Very Own, https://us.octobersveryown.com/stores [https://perma.cc/2QPU-
LLYW].


                                                15
        36.37. Drake founded a multidisciplinary media production company, DreamCrew, which

operates a management company, production house, and content studio. Through DreamCrew

Entertainment, Drake has executive-produced award-winning documentary films, feature films,

and hit television programs for FX, Hulu, Netflix, and HBO, including Top Boy, which has

received awards from the British Academy Television Awards, and Euphoria, for which Drake

received a Primetime Emmy Award nomination.

        37.38. As a celebrity with global name recognition, Drake is regularly approached for

collaborations, partnerships, and endorsement deals.        In 2013, Drake became the global

ambassador for Toronto’s NBA team, the Raptors. Since then, Drake has inspired new alternate

team jerseys, narrated team advertisements, hosted a “Drake Night” each season for several years,

and pledged charitable contributions to refurbish community basketball courts and to support

Canada Basketball, the country’s national basketball federation. In 2019, the Raptors renamed

their practice facility the “OVO Athletic Centre.” Drake’s partnership with the Raptors is

significant to the team and the city, and President of the Toronto Raptors Masai Ujiri has said that

“the Raptors’ relationship with Drake has always ultimately been about celebrating this city and

the people who make it unique. . . . We have something very special happening in Toronto, and

Drake is a big part of that.”28

        38.39. Drake’s philanthropic efforts have received almost as much attention and praise as

his music. Drake has a “history of making generous donations” and going on “charitable spree[s]”




28
   Drake and the Raptors Partnership Continues To Expand, NBA.com (Jan. 19, 2018),
https://www.nba.com/raptors/news/drake-raptors-partnership-continues-to-expand
[https://perma.cc/Q2TH-CRFA].


                                                16
in the communities where he shoots music videos and appears on tour.29 Through his charitable

giving, Drake has supported public schools and nonprofit educational programs, community

development organizations and homeless shelters, hurricane relief efforts, and various individuals

in need, including college students, grieving mothers, patients in need of surgery, and fans in dire

need of financial assistance. Drake also focuses on giving back to his community in Houston,

Texas, including by providing much-needed financial assistance in the wake of Hurricane Harvey.

         39.40. As UMG knows and has understood at all relevant times, Drake has never been

indicted for, charged with, or convicted of committing any crimes whatsoever, much less sexual

crimes, or any crimes against minors.

                B.     UMG Is a Music Industry Giant.

         40.41. In its own words, UMG is the “world leader in music entertainment.”30 UMG is

“engaged in the business of acquiring, administering, licensing, exploiting and otherwise

monetizing a catalog of copyrights containing musical compositions and sound recordings.”31

UMG “controls almost a third of the music people listen to in the developed world and a sizable

portion in the developing world.”32


29
   Marissa G. Muller, Drake Goes on $175,000 Charity Spree Paying For Groceries and College
Tuition      For      Total    Strangers,     W       Magazine      (Feb.     7,      2018),
https://www.wmagazine.com/story/drake-charity-donations-womens-shelter-groceries-tuition
[https://perma.cc/P2FW-Y34L].
30
     Universal Music Group, Overview, supra note 2423.
31
  Complaint ¶ 1, UMG Recordings, Inc. v. Vital Pharms., Inc., No. 1:21-cv-60914 (S.D. Fla. Apr.
28, 2021).
32
   Mike Kytka, Universal Music Group: A Royalty on Global Music Consumption, MoneyFlow
Research (Sept. 22, 2022) https://moneyflowinvesting.substack.com/p/universal-music-group-a-
royalty-on
[https://web.archive.org/web/20221014152632/https://moneyflowinvesting.substack.com/p/unive
rsal-music-group-a-royalty-on].
https://web.archive.org/web/20250112195037/https://moneyflowinvesting.substack.com/p/univer
sal-music-group-a-royalty-on].


                                                17
           41.42. In the music industry, control over a particular single, album, or other collection of

works is governed by various contracts, including traditional recording deals, and distribution,

publishing, and licensing deals. In a traditional recording deal, a record label typically retains

exclusive rights to an artist and the artist’s recordings, and the right to re-recording the

compositions embodied therein for a specified period of time. The label pays an advance for the

artist’s recordings and royalties and finances the provision of services to the artist in areas such as

production, promotions, marketing, and distribution. A distribution deal differs in that it generally

allows an artist to retain ownership of his recordings and grants the record label the exclusive right

to sell, license, and distribute the recordings in certain formats (e.g., digital audio and physical

phonograph records) for a specified period of time. With a music publishing administration deal,

the artist as a songwriter generally retains ownership of his musical compositions and pays a

percentage of his music publishing revenues to a publisher to administer, promote, exploit, license,

and protect use of his songs.         A 360 deal, also known as a master contract, is the most

comprehensive. It encompasses the traditional rights granted in a recording deal, but also provides

the record label with control over, or a passive income stream from, merchandising, touring,

endorsements and other ancillary ventures the artist may undertake.

           42.43. Once Universal Music owns the recording, distribution, and/or publishing rights to

a work, it exploits that ownership through licensing deals with third parties. “UMG licenses its

music to hundreds of retailers around the world.”33 These licensing deals allow third parties to

legally use a recording, a musical composition, or portions thereof. Universal Music has licensing

agreements with all of the major platforms, including, but not limited to, iTunes, Amazon, Apple

Music, Napster (formerly Rhapsody), and Spotify, as well as TikTok and Meta (including


33
     Id.


                                                    18
Facebook, Instagram, YouTube, WhatsApp, and Threads). In the event that a person or entity

wants to use a song outside of one of the licensed platforms—for example, to play during a political

rally or a sporting event—it has to request the right to do so from Universal Music, which holds

the synchronization contract. A third party cannot legally use Universal Music’s recordings or

UMPG’s licensed content embodying those recordings in advertising, on a live stage, in film, on

television, or on the radio without the explicit consent of Universal Music. Through its exclusive

licensing rights, Universal Music wields incredible power to promote and popularize a song or

performer. UMG “invest[s] significant amounts of money, time, and effort to . . . advertise,

promote, sell, and distribute” the music it owns.34

       43.44. Universal Music exercised this control in early 2024, when it pulled its songs from

publication on TikTok over issues with the platform’s use of generative artificial intelligence.35

Through copyright ownership, Universal Music can control the unlicensed use of its music, but it

can also strategically waive or reduce the customary fees it charges for the licensing rights to its

music to provide for the unrestricted spread of a song. This tactic, known as “whitelisting,”

happens when a copyright holder, like Universal Music, permits a user or platform to use its

content without charging fees or imposing other limitations. In the normal course, internet

platforms operate automated content identification systems to block the unauthorized use of

copyrighted material by their users. In whitelisting, these automated systems are turned off.



34
  Complaint ¶ 6, UMG Recordings, Inc. v. Grande Communications Networks LLC, No. 1:17-cv-
00365 (W.D. Tex. Apr. 21, 2017), ECF No. 1.
35
   See Glenn Peoples, UMG’s TikTok Standoff Affects Over 60% of the Most Popular Songs,
Billboard Pro (Mar. 1, 2024), https://www.billboard.com/pro/universal-music-tiktok-fight-affects-
majority-most-popular-songs/ [https://perma.cc/M7FD-5MNH]; Todd Spangler, TikTok Removes
Songs from Taylor Swift, Drake and More After Universal Music Deal Termination, Variety (Feb.
1, 2024), https://variety.com/2024/digital/news/taylor-swift-drake-removed-tiktok-1235894245/
[https://perma.cc/ZD7T-CWYG].


                                                19
          44.45. Universal Music says it “exist[s] to shape culture through the power of artistry”

because music “is unique in its ability to inspire people”36—that power to shape culture and inspire

people is apparent by the numbers. In its 2023 annual report, Universal Music boasts that it has a

catalog of more than 220 artists and brands, 3.2 million recordings, and 4.5 million owned and

administered titles.37 At the end of 2023, Universal Music had an ownership interest in 61 of the

Billboard Hot 100 tracks.38 In Q1 2024, Billboard reported that UMG represented 33.9 percent of

the record label market share.39 On social media platforms alone, music owned by Universal

Music was streamed 11 trillion times in 2023.40

          45.46. UMG’s size dwarves other music companies, and this “size gives it an advantage.”

UMG has “a physical presence in 200 geographic markets” which gives artists signed to UMG “a

critical edge compared to peers at competing labels as the company can amplify the local success

of an artist from one region to the rest of the world.”41

          46.47. UMG uses this size and dominance to convince artists to sign with its record labels.

Because of streaming, “it is more of an uphill battle than ever before to capture the audience’s


36
     Universal Music Group, Overview, supra note 2423.
37
      Universal     Music     Group,    Annual    Report     at  9           (Mar.      28,   2024),
https://view.publitas.com/cfreport/umg-annual-report-2023/page/9            [https://perma.cc/XJM3-
WKVB].
38
     Peoples, supra note 35. 34.
39
   Dan Rys, Record Label Market Share Q1 2024: Warner Records Posts Huge Gains While
Universal         Enters       a     New      Era,    Billboard      (Apr.     12,     2024),
https://www.billboard.com/business/record-labels/record-label-market-share-q1-2024-universal-
warner-1235655068/ [https://perma.cc/2ETX-7ESV]; Press Release, Universal Music Group N.V.
Reports Financial Results for the First Quarter Ended March 31, 2024, Universal Music Group
(May                                           2,                                      2024),
https://assets.ctfassets.net/e66ejtqbaazg/614OYzS1StqrjuaCDprUYl/b291a4b4eaa4a4c13ab4ee7
e28fb293c/Q1_2024_results_press_release.pdf [https://perma.cc/X6L4-E3K2].
40
     Universal Music Group, Annual Report, supra note 3736, at 7.
41
     Kytka, supra note 32. 31.


                                                  20
attention amongst a sea of other songs.”42 UMG’s market position, combined with the flood of

content that hits streaming platforms every day, means that artists “depend on UMG to stand out

from the crowd.”43 Even established artists depend upon UMG to “maximize their commercial

success through its world-class marketing, proprietary data analytics, global distribution network,

and additional monetization opportunities.”44 Artists sign with UMG, in sum, because “a UMG

partnership” promises to support the artist’s music with “an experienced team of professionals

incentivized to advance [one’s] career.”45

           47.48. UMG’s executives are handsomely compensated for exploiting artistic works.

UMG reports that its executive compensation is driven by its transition to more performance-based

packages. UMG executives, including those at Interscope, have an annual incentive program

through which they are rewarded for meeting and surpassing sales and profit projections, among

other metrics. The incentives are largely based on the specific UMG division, rather than the

performance of UMG more generally. For example, the annual incentive or bonus of Interscope’s

CEO, John Janick, is based 90% on the financial success of Interscope and only 10% on the

financial success of UMG generally.

           48.49. This division-based incentive structure creates perverse incentives within UMG.

Mr. Janick and other Interscope executives are incentivized to maximize the financial success of

the Interscope labels without taking into account the impact on other UMG labels. For example,

through the promotion of the Recording and its revitalizing impact on Kendrick Lamar’s entire

recording catalog, including his first five studio albums, Interscope and Interscope executives


42
     Id.
43
     Id.
44
     Id.
45
     Id.


                                                 21
benefit regardless of the effect on other UMG labels, like Republic, which represents Drake. In a

June 2017 interview, Mr. Janick responded to a question about Sir Grainge’s encouragement of

competition between the UMG record labels by stating, “I love to compete – and I don’t like to

lose.”46

           50.    UMG is fully aware that musical content, including song lyrics, can defame third

parties, and that “artistic expression” is not free license to harm others. On information and belief,

UMG’s standard longform exclusive recording contract includes a provision which permits UMG

eliminate material which, in UMG’s judgment, constitutes defamation or libel.

                  C.     UMG and Drake Have a Long Partnership.

           49.51. UMG began profiting offfrom Drake’s artmusical recordings in 2009.47 The parties

extended their contract in 2022. After announcing the 2022 contract extension, Sir Grainge

described Drake as one of the “biggest artists of today” and expressed that UMG “couldn’t be

more excited about what lies ahead” for its relationship with Drake.48 Through the contract

extension, UMG profits from its exclusive right to exploit Drake’s music.

           50.52. The contract between UMG and Drake is up for renegotiation in 2025this year. By

the Spring of 2024, UMG understood that the rise of streaming platforms had “enhanced the


46
  Tim Ingham, ‘I’m an entrepreneur… and I don’t like to lose’, Music Business Worldwide (June
20, 2017), https://www.musicbusinessworldwide.com/john-janick-im-entrepreneur-dont-like-
lose/
[https://web.archive.org/web/20171007224803/https://www.musicbusinessworldwide.com/john-
janick-im-entrepreneur-dont-like-lose/].
47
     Concepcion, supra note 2524.
48
   Earnings Call Transcript – Universal Music Group N.V. (UMGNF) CEO Lucian Grainge on
Q1 2022 Results, Seeking Alpha (May 3, 2022), https://seekingalpha.com/article/4506501-
universal-music-group-nv-umgnf-ceo-lucian-grainge-on-q1-2022-results-earnings-call-transcript
[https://web.archive.org/web/20221010054001/https://seekingalpha.com/article/4506501-
universal-music-group-nv-umgnf-ceo-lucian-grainge-on-q1-2022-results-earnings-call-
transcript].


                                                 22
bargaining power of artists. Established artists whose contracts are coming up for renewal are in

an improved position to demand higher take rates due to the improvement in the visibility of cash

flows and risk reduction.”49 And as described below, on information and belief, UMG was

incentivized to act, and in fact did act, in a manner to reduce that bargaining leverage in advance

of upcoming negotiations with Drake over contract renewal.

                 D.     UMG Has Licensing and Publishing Rights over Kendrick Lamar’s
                        Music.

         51.53. On information and belief, from 2012 through 2023, Kendrick Lamar was signed

to an exclusive production company agreement with Top Dawg Entertainment which, in turn,

furnished his exclusive recording services to the Aftermath Entertainment record imprint, a joint

venture of Interscope. The sound recording copyrights to Kendrick Lamar’s first five studio

albums are owned and controlled by Interscope. In 2023, having fulfilled his recording obligations

to Top Dawg Entertainment and Aftermath Records, Kendrick Lamar signed a new short-term

exclusive recording and licensing deal with UMG, through Interscope, and an exclusive publishing

administration agreement with UMG, through UMPG. Through these contracts, UMG exclusively

controls the release, publication, and licensing of all music products created by Kendrick Lamar

during the term of the contract, including the Defamatory Material. On information and belief,

Lamar signed a short-term deal with UMG to see if UMG could prove its value to him—to promote

him more effectively than any other music company could—in a compressed timeframe.

         52.54. If successful, Lamar would then continue his relationship with UMG through a

new, longer-term contract. On information and belief, that long-term deal was consummated in

December of 2024.



49
     Kytka, supra note 32. 31.


                                                23
        53.55. On information and belief, UMG’s contracts with Kendrick Lamar provide UMG

the rightsame right as in its standard longform exclusive recording contract to prevent the

publication of, and/or to insist on modifications to, anyeliminate material created by Kendrick

Lamar, including but not limited to any content which UMG believes to be defamatory. may

constitute defamation or libel.

                     UMG PUBLISHES THE DEFAMATORY MATERIAL

               A.      UMG Publishes the Recording and Begins to Defame Drake.

        54.56. On May 4, 2024, pursuant to its publication and licensing rights, UMG published

the Recording for streaming on YouTube, YouTube Music, Spotify, Apple Music, Amazon Music,

Pandora, iHeart Radio, Tidal, SoundCloud, Audiomack, Napster, Qobuz, Last.fm, and Deezer, and

made the Recording available for purchase on Apple Music and Amazon Music.

        55.57. When viewed on Spotify, Apple Music, Amazon Music, iHeart Radio,

SoundCloud, and Deezer, the Recording includes the following language: “exclusive license to

Interscope Records,” which is a division of UMG.

        56.58. Since Defendant’s initial publication of the Recording, the Recording has been

streamed globally more than 990 million1.4 billion times on Spotify alone as of the date of this

filing.50

        57.59. The Recording repeatedly accuses Drake of engaging in criminal acts, including

pedophilia and/or other acts that would require registering as a sex offender and of being registered

as a sex offender.




50
    Spotify Chart History, Not Like Us, Kworb.net (last visited Jan. 14Apr. 16, 2025),
https://kworb.net/spotify/track/6AI3ezQ4o3HUoP6Dhudph3.html       [https://perma.cc/3NBM-
LBQQ].https://web.archive.org/web/20250415024257/https://kworb.net/spotify/track/6AI3ezQ4
o3HUoP6Dhudph3.html].


                                                 24
          58.60. Within the first minute, the Recording identifies Drake by name and states that

Lamar has heard (albeit from undisclosed sources and concerning undisclosed individuals) that

Drake has a predilection for underage women: “Say, Drake, I hear you like ‘em young.”51 The

next line is a thinly veiled threat that Drake should be careful that he never ends up in prison, a

place where child predators are notoriously the targets of violence: “You better not ever go to cell

block one.”52 The Recording continues to say that any woman who falls in love with Drake should

be careful to “hide” her “lil’ sister from him.”53

          59.61. Next, in a perverse reference to Drake’s 2021 album “Certified Lover Boy:”

“Certified Lover Boy? Certified pedophiles.”54 In a play on the dual meaning of minor—a person

under the age of 18 and a musical scale—the Recording says that Drake is “Tryna strike a chord

and it’s probably A-Minor.”55 Later in the Recording, Lamar describes Drake as “Malibu most

wanted.”56 The Recording continues to say that Drake and the people in his circle need to be

served with a “subpoena” because a “predator” moves “in flocks” and asserts that Drake’s name

“gotta be registered and placed on neighborhood watch.”57

          60.62. The Recording also repeatedly suggests that violence should be used against Drake

because he is a pedophile. Like the sound of someone being beaten up, the Recording repeats

“wop, wop, wop, wop” and then says Lamar will “fuck ’em up.”58 Later, the Recording threatens


51
     Recording, supra note 3, at 00:40-00:42 (emphasis added).
52
     Id. at 00:42-00:45 (emphasis added).
53
     Id. at 00:45-00:50 (emphasis added).
54
     Id. at 00:57-01:00 (emphasis added).
55
     Id. at 01:06-01:14 (emphasis added).
56
     Id. at 01:40-01:42 (emphasis added).
57
     Id. at 02:11-02:15 (emphasis added).
58
     Id. at 00:57-01:02 (emphasis added).


                                                 25
that if Drake comes to Oakland, where Lamar grew up, he will not make it out alive: “I think that

Oakland show gon’ be your last stop.”59 The Recording makes clear that justice will be served

not through the legal system and/or commentary on social media, “Fuck a caption,” but through

physical violence, “want action, no accident, and I’m hands-on, He fuck around, get polished.”60

At the end of the Recording, the lyrics threateningly repeat: “Hey, hey, hey, hey, run for your life,

Hey, hey, hey, hey, run for your life.”61

          61.63. The Recording contains numerous additional statements that imply the existence of

evidence to support the allegations against Drake. The Recording threatensexpressly represents

that Lamar could reveal more secretspossesses additional undisclosed information about Drake,

“Rabbit hole is still deep, I can go further, I promise,” and that the public will believe him: “The

audience not dumb, Shape the stories how you want, hey, Drake, they’re not slow.”62 The

Recording continues by making reference to several Drake songs (“Family Matters” and “God’s

Plan”) and accusing Drake of being a liar for denying allegations of criminality: “The family

matter, and the truth of the matter, It was God’s plan to show y’all the liar.”63 The Recording

also makes a vulgar attack on Drake’s brand OVO: “What OVO for? The ‘Other Vaginal

Option’? Pussy”64 and “Let me hear you say, ‘OV-hoe’ (OV-hoe), Say, ‘OV-hoe’ (OV-hoe).”65




59
     Id. at 01:25-01:28 (emphasis added).
60
     Id. at 01:57-02:01 (emphasis added).
61
     Id. at 03:50-03:54, 04:00-04:04 (emphasis added).
62
     Id. at 01:33-01:39 (emphasis added).
63
     Id. at 03:32-03:36 (emphasis added).
64
     Id. at 01:49-01:53 (emphasis added).
65
     Id. at 04:03-04:09 (emphasis added).


                                                 26
          62.64. Furthering the Recording’s refrain that Drake is “not like us,” the Recording alludes

to Drake’s Jewish heritage, saying that Drake is “not a colleague” but “a fuckin’ colonizer.”66

          63.65. With the Recording, UMG also published an accompanying Image on May 4, 2024,

to YouTube, YouTube Music, Spotify, Apple Music, Amazon Music, Pandora, iHeart Radio,

Tidal, SoundCloud, Audiomack, Napster, Qobuz, Last.fm, and Deezer, the UMPG website,67 and

Meta and TikTok.68 Any person who views, listens to, or streams the Recording on one of these

platforms can view the Image.

                 Image on Google Images:                               Image on Apple Music:




66
     Id. at 03:29-03:32 (emphasis added).
67
    Song Details, Not Like Us by Kendrick Lamar, Universal Music Publishing Group,
https://www.umusicpub.com/us/Digital-Music-Library/song/547780/kendrick-lamar-not-like-us
[https://perma.cc/UDS2-D9J7?type=image].
68
    Kendrick Lamar | Not Like Us on Instagram, Instagram (May 4, 2024),
https://www.instagram.com/reels/audio/1182175136281886/?igsh=Z3pvOWdxNGRxb3Vw (for
use in Instagram users’ Reels); Kendrick Lamar | ♬ Not Like Us | on TikTok, TikTok (May 4,
2024), https://www.tiktok.com/t/ZTNvgJGCM/ (for use in TikTok user’susers’ videos).


                                                  27
                    Image on Spotify:                               Image on Amazon Music:




       64.66. The Image features an aerial view of Drake’s Toronto home, includes identifying

information regarding the location of the home, and is covered in the icons used by law

enforcement and public safety applications like Citizen to identify child sex offenders and their

residences on public registries.

       65.67. As of the date of this filing, UMG’s original publications of the Recording and

Image remain available on the aforementioned platforms.

       66.68. At all relevant times, UMG knew that the allegations in the Defamatory Material

were baseless. And despite being able to contact Drake, at no point has UMG ever asked Drake

or his representatives about whether the allegations in the Defamatory Material were true.

       67.69. On information and belief, Sir Grainge and Mr. Janick were involved in the initial

publication of the Recording and Image. Separately, on information and belief, Monte and Avery

Lipman (Republic CEO and President, respectively) failed to prevent the publication.

               B.      The Defamatory Material Is False.

       68.70. The allegations against Drake are unequivocally false. Drake has never been

charged with, indicted for, or convicted of any charges of sexual violence or assault, including, but

not limited to, sexual violence against a minor. Nor has Drake ever engaged in an inappropriate

romantic or sexual behavior with a minor.




                                                 28
       69.71. The Recording provides no evidentiary support for any of its defamatory

allegations. Instead, the Recording opaquely references “hearing” theseRecording’s allegations

are based entirely on undisclosed fact, and threatens that it can “go further.”expressly refers to

such undisclosed facts as described above.

               C.     Drake Publicly Denies the Defamatory Material.

               C.     On May 5, 2024, just a day after UMG published People Believe and
                      Repeat the Allegations in the Recording and Image, Drake denied all
                      of the .

       72.     The Recording’s allegations about Drake were understood to be factual assertions

against Drake from the moment UMG published it. Whatever generalities might be applied to hip

hop tracks in the abstract plainly did not hold here, as evidenced by the commentary that appeared

online, and in social and legacy media channels, as soon as UMG published the Recording and

Image. Countless posts and comments reveal a widespread public perception that the Recording

and Image convey factual allegations against Drake.

       73.     As one user put it: “This isnt a diss, it’s the truth. The culture isnt just not fw

[fucking with] with Drake, its correcting itself by kicking out these predators (Drake, Diddy

etc).”69 Another user wrote that the Recording is “telling the truth” about Drake being a “pedo.”70




69
  User @mrright8439, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like
Us,                 YouTube                 (July              4,                2024),
https://www.youtube.com/watch?v=H58vbez_m4E&lc=Ugye0CflEuIQFc1WdCx4AaABAg
[https://perma.cc/Q2SH-PR7Q] (emphasis added).
70
  User @kaioken8026, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not
Like Us, YouTube (May 11, 2024),              https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=Ugx23-NZg6eB0Hspdt14AaABAg [https://perma.cc/39F6-26RR].


                                                29
in aAnother commenter posted “Drake has more than 800k dislikes on that song cuz everybody

believe he loves touching children cuz we have evidence everywhere.”71

       74.    The fact that the allegations came packaged in rap lyrics did not dissuade listeners

from erroneously believing the allegations to be true. For example:

              •   “I LOVE THIS SONG‼ We would have never known Drake is a
                  whole pedophile if this information wasn’t exposed!;”72 and

              •   “Respect and love you Kendrick for keeping it [100 emoji]. From your
                  tone, anger, and passion behind your words there is no doubt on my
                  end that Drake is indeed a pedophile.”73

       75.    Moreover, any reasonable listener would have understood that Kendrick Lamar was

claiming to know more information about Drake than he disclosed in the Recording’s lyrics. The

public noticed and commented on this unmistakable message.: “Bro just exposed drake of running

with pedos n sex offenders. [I don’t know,] I don’t think Kendrick is dumb to make false

accusations, I don’t wanna assume without proof but shi ain’t looking good for drake. Like I feel

like he still holding some shi back and ain’t sayin everything he knows bout drake.”74 Others

echoed:


71
  User @itzmglo892, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like
Us,       YouTube     (May     7,     2024),   https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=Ugz5w9YjkanJST3x9KN4AaABAg.A37cQ9A2ziqA37jeqR4n-q
[https://perma.cc/3LRV-FNB6] (emphasis added).
72
    User @ZxZNebula (formerly @pareeshaslaughter6798),, Comment, Kendrick Lamar
(@kendricklamar), Kendrick Lamar – Not Like Us, YouTube (May 8, 2024),
https://www.youtube.com/watch?v=T6eK-2OQtew&lc=UgxjAPntCJymjhPSKUR4AaABAg
[https://perma.cc/ZUW3-6DYQ] (emphasis added).
73
  User @davidkwon1322, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not
Like Us, YouTube (May 11, 2024),              https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgwRetHb_AixNVevbUp4AaABAg [https://perma.cc/72X5-2L9U] (emphasis
added).
74
 User @nebula2582ZxZNebula, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar
– Not Like Us, YouTube (May 5, 2024), https://www.youtube.com/watch?v=T6eK-



                                               30
               •   “I don’t wanna be that guy but I never took Drake seriously, he’s Canadian, he
                   was in Degrassi that stuff makes it hard for me to take him seriously. I thought
                   that’s why Kendrick went after him. Now that it’s more serious than just Drake
                   being fake, I’m like wow if I knew all this I’d hate Drake too. This is check
                   mate for Drake because how exactly do you respond to someone calling you a
                   sociopath, a deadbeat and a pedo? As for KL I just wanna know how he
                   found out some of these things and what took so long to call Drake out;”75 and

               •   “This whole thing is beyond brutal at this point. Kendrick must truly fucking
                   hate Drake for some reason. Makes me inevitably think there might be real
                   merit to the pedophile claims. Sorry Drake, Kendrick is literally making
                   me think it. Jesus christ, talk about winning a rap beef [laughing emojis].”76

       76.     Many listeners focused on the line “Rabbit hole is still deep, I can go further, I

promise,” as implying that the lyrics were based on undisclosed information. One user commented

“‘Rabbit hole still deep I can go further I promise’ .....drake waves white flag ends beef. I wonder

what else he was scared about coming out? Hmmmmm[.]”77 In response to the Super Bowl

Performance in February 2025, one user commented: ‘Rabbit hole is still deep, I can go further, I

promise’ never doubt about this quote ever again[.]”78 Other users drew similar conclusions

from the Recording’s words:




2OQtew&lc=Ugy3GxrXDhB4FrdpL4l4AaABAg                 [https://perma.cc/5929-W5MN]        (emphasis
added).
75
   User @miguelzurita3216, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar –
Not Like Us, YouTube (May 8, 2024), https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgzepMW_ZmA-jpOZ4lp4AaABAg.A39Umhbxa2hA39oO8zdpS7
[https://perma.cc/X89T-2XU6] (emphasis added).
76
  User @11cockrellm, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like
Us,                YouTube                (July                7,                2024),
https://www.youtube.com/watch?v=H58vbez_m4E&lc=UgxIuAXkpmfSycCn6wV4AaABAg.A
5XwaGEIEB0A5_wDJFEk8J [https://perma.cc/VUT8-5875] (emphasis added).
77
  User @chadwickmitchell7067, Comment, Kendrick Lamar – Not Like Us, YouTube (June 25,
2024),                                         https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=Ugyq0MQfTjoSr3brV354AaABAg [https://perma.cc/4KUE-VT69].
78
  User @kaatzir, Comment, NFL (@NFL), Kendrick Lamar's Apple Music Super Bowl Halftime
Show,   YouTube      (Feb.   10,  2025),    https://www.youtube.com/watch?v=KDorKy-



                                                31
                •   “1:38 ‘rabbit hole is still deep i can go further i promise’ is WILDLY
                    APPROPRIATE [laughing crying emoji] while feds slowly unfolding Diddy’s case
                    and these sick fcks.”79

                •   “rabbit hole goes deep i can go further i promise’ he did NOT lie.”80

                •   “Rabbit hole still deep, i can go further!!! In the last diss and With everything kenny
                    said No wonder all these things unfolding on drake now.”81

          77.       It is entirely unsurprising that the public interpreted the Recording’s lyrics as

assertions of fact. On April 30, 2024, less than a week before the release of the Recording, UMG

had released an earlier song by Kendrick Lamar (“Euphoria”) that threatened that he “won’t tell

truths ’bout” Drake if Drake “don’t tell no lie about me,”82 and ominously stated that he “know

some shit” about Drake.83 To the reasonable listener familiar with these lyrics, any future

allegations levied by Lamar against Drake would be based in “truth” and undisclosed fact.

          78.       Moreover, the Image, which depicts Drake’s Toronto residence and 13 sexual

predator icons, likewise caused viewers to believe the allegations against Drake. One user asked:

“[w]ho are the 13 pedophiles at Park Lane Circle?? [eyes wide emoji] [eyes wide emoji]”




13ak&google_comment_id=UgxA8pQJR7YG4d03L9R4AaABAg                               [https://perma.cc/NW66-
JNBZ].
79
  User @PANIITAEEE, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not
Like   Us, YouTube    (Oct.  18,   2024),   https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgzO24fbJ-ThOE8S67F4AaABAg [https://perma.cc/7NNC-N3FV].
80
   User @Caesxr15, Comment, Kendrick Lamar – Not Like Us, YouTube (Sept. 12, 2024),
https://www.youtube.com/watch?v=H58vbez_m4E&google_comment_id=UgytBGnzzuOv7XM
s2WB4AaABAg [https://perma.cc/ZG5U-JE5F].
81
   User @sauravpanwar5304, Comment, Kendrick Lamar – Not Like Us, YouTube (Nov. 30,
2024),
https://www.youtube.com/watch?v=H58vbez_m4E&google_comment_id=UgwincGLPc0KVTB
4OPR4AaABAg [https://perma.cc/YV3E-TA5F].
82
   Kendrick Lamar (@kendricklamar), Euphoria, at 00:51-00:54, YouTube (Apr. 30, 2024),
https://www.youtube.com/watch?v=NPqDIwWMtxg [https://perma.cc/E5NC-JC9B].
83
     Id. at 03:02-03:05.


                                                      32
demonstrating that they believed the Image to be accurately depicting who lived or spent time in

the home.84 Other users similarly remarked:

              •   “Just realized the thumbnail is from the sexual predators app;”85

              •   “Omg is that a sex offender map on drakes house;”86

              •   “NAH THAT MANY PEDOS IN ONE                               SPOT      IS
                  CRAZYYYYYYYYY DRAKE CANCELED;”87

              •   “Drake housing a bunch of pedos at his house [nervous laughing with
                  sweat emoji];”88

              •   “Yoooooo Sex offenders have to register Red means sexual assault
                  against a minor. Drake has 13 of them living in his house?”89 and



84
   User @Eagle252, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like
Us,                 YouTube                (July              21,              2024),
https://www.youtube.com/watch?v=H58vbez_m4E&lc=Ugw3GlxFm03VtNn8CmB4AaABAg
[https://perma.cc/B5U9-HY44] (emphasis added).
85
  User @mnmsaregood1, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not
Like    Us, YouTube    (May    5,   2024),   https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=Ugx5fmeYbCAsOIjUV1F4AaABAg [https://perma.cc/F449-K7YE] (emphasis
added).
86
   User @pinkengineering (formerly @imcicily), Comment, Kendrick Lamar (@kendricklamar),
Kendrick      Lamar     –     Not    Like      Us,   YouTube       (May    5,     2024),
https://www.youtube.com/watch?v=T6eK-2OQtew&lc=UgzH35b0IFiCS51IHJV4AaABAg
[https://perma.cc/V2Z5-CR5F].
87
  User @Geni167, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like
Us,     YouTube    (May     5,     2024),    https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=Ugy73wSHQ38O1YYo84x4AaABAghttps://www.youtube.com/watch?v=T6eK-
2OQtew&lc=Ugy73wSHQ38O1YYo84x4AaABAg [https://perma.cc/9KDG-RXJW] (emphasis
added).
88
   User @Shakia-mi1og, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not
Like Us, YouTube (May 17, 2024),               https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgwMgoIPSKsI516iTF94AaABAg.A3XNv8zVrnZA3XRS50IeSA
[https://perma.cc/8NVP-UC9W] (emphasis added).
89
  User @mothernature5828, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar –
Not Like Us, YouTube (May 6, 2024), https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgxwdAg-d_sYmcG_0Id4AaABAg [https://perma.cc/VK97-MP3D] (emphasis
added).


                                              33
              •   “Drakes pedo mansion those are the markers used to show pedos that
                  live next to you kids.”90

       79.    People all over the internet also questioned why Drake had not yet been arrested

and called for the police, the FBI, and the Central Intelligence Agency (CIA), as well as Child

Protective Services (CPS), to investigate the statements in the Recording. In comments on UMG’s

initial publications of the Defamatory Material to YouTube, users wrote:

              •   “The FBI needs to come at this point [laughing emoji];”91

              •   “hey kendrick don’t diss drake it’s waste of time just call the cops and
                  snitching drake is pedophille so drake go to jail and you can win bye
                  [thumbs up emoji];”92

              •   “Hide your children from Drake;”93

              •   “If what kendrick is saying is true, drake needs to be locked up;”94




90
  User @supersayian193, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not
Like     Us,    YouTube   (May   7,   2024),   https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=Ugy_x-jK0HeBXZBeHCN4AaABAg.A39CQVU26nfA39Ce8tDLbA
[https://perma.cc/265S-BHE2].
91
  User @WrestlingWarrior15, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar –
Not Like Us, YouTube (May 30, 2024), https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgytLUYzg0IN6HDDkbh4AaABAg                            [https://perma.cc/WR5J-
KX7G].https://perma.cc/WR5J-KX7G.
92
  User @naive-u8f, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like
Us,     YouTube      (May     6,     2024),   https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgzpsCFEw2wNtXO-mH54AaABAg [https://perma.cc/2X7B-UKHK] (emphasis
added).
93
  User @kevinryt4963, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not
Like   Us,   YouTube    (May    5,    2024),  https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=Ugwo7YQXyO6bZmAqW754AaABAg [https://perma.cc/CEU5-EKW5].
94
   User @meowmeow1234meow, Comment, Kendrick Lamar (@kendricklamar), Kendrick
Lamar – Not Like Us, YouTube (May 5, 2024), https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgyiEogmH8Ko5jqUZfR4AaABAg [https://perma.cc/2ENM-4L28] (emphasis
added).


                                               34
             •   “Drake just need to be locked up;”95

             •   “Yo Im about to call Child Proctective Services because this is
                 abuse;”96

             •   “Drakes #1 opp is child protected services;”97

             •   “At this point, CIA and FBI need to step in;”98

             •   “I like the step this way step that way are we locked in, I picture drake
                 getting locked behind bars;”99

             •   “Even nerds know if you’re messing with kids you don’t do good in
                 jail;”100 and

             •   “[E]veryone is dancing to drake being a pedo getting violated in
                 prison.”101


95
  User @saitherabbit, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like
Us,       YouTube      (May     9,     2024),    https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgyC3ae8cvJNGi_Z7494AaABAg.A3C0TcZ0FxJA3C4-bWM6H-
[https://perma.cc/RZ38-GBY9].
96
  User @loverunsdeep6382, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar –
Not Like Us, YouTube (May 5, 2024), https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgxIrboIuH_WN61Qn-54AaABAg [https://perma.cc/LHU9-KY2E] (emphasis
added).
97
  User @Ben10295, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like
Us,     YouTube     (July   8,     2024),    https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=Ugz30tyV7Su15LLOABN4AaABAg [https://perma.cc/8MCD-H4AK].
98
  User @NnewidiewiChukwu, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar –
Not Like Us, YouTube (May 17, 2024), https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgwGvIubOjB_ZqaYyF14AaABAg [https://perma.cc/DAE3-KMGJ] (emphasis
added).
99
  User @jthe9eleven11, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not
Like   Us,   YouTube     (May    7,   2024),   https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgyDl-LWP-L6cq5HwiB4AaABAg [https://perma.cc/D66Y-M72Y].
100
    User @randomforyoutube3215, Comment, Kendrick Lamar (@kendricklamar), Kendrick
Lamar – Not Like Us, YouTube (May 7, 2024), https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgwHQYlQsr1DeR8drm94AaABAg.A377Gd2IUF9A378s0FtOk0
[https://perma.cc/KPK9-SAHX].
101
   User @ImChickenLittle, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not
Like    Us,  YouTube       (May   8,   2024),   https://www.youtube.com/watch?v=T6eK-



                                              35
       80.    Some comments went so far as to specifically reference Drake’s seven-year-old son

by name: “It's scary if what Kendrick said is true about Drake .. mother of Adonis, save your

child;”102 “Adonis gets to play with the trapped kids in Drakes mansion when he does good;”103 “I

don’t think Drake can even attempt to parent Adonis anymore [crying emoji];”104 and in an

especially vile post, “I bet Drake touches Adonis too.”105

       81.    Others compared Drake to infamous people who have actually been charged with

and found guilty of sex crimes. In comments on UMG’s initial publication of the Recording and

Image to YouTube, users commented, “[D]rake is a pedophile and sexual abuser on the level of

Weinstein, Diddy, and Epstein”106 and “people like Drake, [W]einstein and Epstein, using power

and money to humiliate and terrorize and traffic and groom females and children.”107




2OQtew&lc=UgzukLEOCNlaEbrb_Nd4AaABAg.A39hSm0r_5uA39hf9iwdiv
[https://perma.cc/LSV3-7XTV].
102
  User @Uh-no, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us,
YouTube         (May       8,     2024),     https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=Ugwho8upBcUYyhZj8Zx4AaABAg                           [https://perma.cc/G6P2-
MNZ8].https://perma.cc/G6P2-MNZ8.
103
   User @chillbloc, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like
Us,     YouTube       (May     6,     2024),   https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgyWti6FnAy1qD851Tt4AaABAg [https://perma.cc/X88Y-8WXY].
104
   User @DarthD13, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like
Us,     YouTube     (May     8,     2024),    https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgzbkuT5VTQlho-wiG94AaABAg [https://perma.cc/9RQV-DFWQ].
105
   User @a3lzv, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us,
YouTube           (June     1,      2024),       https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgxtEiWIm99WHc8NKed4AaABAg [https://perma.cc/EB2G-ZUPN] (emphasis
added).https://perma.cc/EB2G-ZUPN (emphasis added).
106
  User @TheRealRyanMickens, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar
– Not Like Us, YouTube (May 8, 2024), https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgzDjAlJPQtrc1E2Eqd4AaABAg [https://perma.cc/SS4F-Y8DZ].
107
   User @ogekanvas, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like
Us,     YouTube      (May    12,     2024),    https://www.youtube.com/watch?v=T6eK-



                                               36
       82.     Many posters turned to racial and religious slurs against Drake, who is mixed race

and Jewish.     For example, users on YouTube and X commented: “Its drake the that

pedojewboy;”108 and “Drakes jew protection pedo team will get him off.”109

       83.     And the harassment has not been limited to Drake. People with little to no

affiliation with Drake have found themselves in the crosshairs. Comedian Tracy Morgan was

subject to awful social media scrutiny after posting an Instagram photo of his adolescent daughter

with Drake. Users commented “[D]rake should not be allowed to take pictures with girls,” “I think

he likes them HS age,” “[h]e’s probably grooming her,” “Drake likes minors” and made references

to the Defamatory Material through GIFs and quotations of the Recording’s lyrics.110

       84.     The public’s understanding was not limited to social media users. In a May 10,

2024 recording of the “It’s Been a Minute” show produced by National Public Radio (NPR), host

Brittany Luse discussed the allegations in the Recording with NPR Music Reporter Sidney Madden

and writer Tirhakah Love.111 They understood the Recording to be linking Drake and his alleged



2OQtew&lc=UgxKXmpopglRXFMYsWx4AaABAg.A3K_djsknWrA3L_48a7YKz
[https://perma.cc/8URW-9PEH].
108
    User @drpuffnstuff5672, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar –
Not Like Us, YouTube (May 8, 2024), https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgwUebwBrfII3ODMqqp4AaABAg.A3BSskE0bxYA3BUxB3n0HY
[https://perma.cc/5KEM-T7AN] (emphasis added).
109
   User @user-qk9he7se5w, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar –
Not Like Us, YouTube (May 25, 2024), https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=Ugxr1AwronL0IuGi3fx4AaABAg [https://perma.cc/AS6V-LEJA].
110
         Tracy     Morgan      (@tracymorgan),   Instagram       (Feb.     11,    2025),
https://www.instagram.com/tracymorgan/p/DF9NJb4xbW0/       [https://perma.cc/3QJN-KCB9]
(comments from users @canadianbacon12, @chola_nerd, @choosen_184, and @rawdoggy1998
preserve offline).
111
    Drake and Kendrick are beefing, but who pays? Plus, moms as our social safety net, It’s Been
a              Minute,             NPR               (May              10,                2024),
https://www.npr.org/transcripts/1197956376?ft=nprml&amp;f=1197956376
[https://perma.cc/T8H2-5F59].


                                               37
criminal behavior to other famous figures who were revealed to the public as sexual predators and

later convicted for their crimes, such as rapper R. Kelly.112 Ms. Madden insinuated that the

allegations could be true, commenting that so “much dirt has been unearthed.”113 To Love, the

allegations rose to the level of warranting an investigation:114 because while this “sort of behavior”

[meaning sexual violence] is “in our faces for a lot of different industries,” it is unusual for the

allegations to come from “contemporaries.”115 The podcast positioned the Recording as having

the potential to be a tipping point for a #MeToo movement in the world of hip-hop.116

            85.   Luse explicitly asked her guests whether they considered the allegations in the

Recording to be art or “cause for an actual criminal investigation.”117 Ms. Madden answered by

pointing to the trial of rapper Young Thug, who was recently criminally prosecuted in Georgia on

RICO charges, in a case where the prosecution relied heavily on rap lyrics as evidence.118

            86.   Numerous articles were written exploring the meaning of the Recording’s lyrics,

including discussions of the purported factual basis for those lyrics.119



112
      Id.
113
      Id.
114
      Id.
115
      Id.
116
      Id.
117
      Id.
118
      Id.
119
   See, e.g., Demi Phillips, Kendrick Lamar “Not Like Us” Lyrical Breakdown, Hot New Hip Hop
(June 20, 2024), https://www.hotnewhiphop.com/798807-kendrick-lamar-not-like-us-drake-lyrics
[https://web.archive.org/web/20250228095930/https://www.hotnewhiphop.com/798807-
kendrick-lamar-not-like-us-drake-lyrics] (“Kendrick . . . continues with a series of accusations and
metaphors that paint Drake as weak, untrustworthy, and worse, a predator.”); Jordan Rose,
Breaking Down All of the Ways Kendrick Lamar Attacked Drake on “Not Like Us”, Complex
(May 5, 2024), https://www.complex.com/music/a/j-rose/breaking-down-the-ways-kendrick-
lamar-dissed-drake



                                                 38
            87.   Other influencers suggested the possible truth of the allegations. During his set at

a May 7, 2024 charity event, actor and comedian Seth Rogen commented on how Drake must feel

now that “people are dancing” to a song that calls him a sexual predator.120 Mr. Rogen said, “Could

you imagine going to a club and seeing a room full of people dancing to a song about you being a

pedophile? Especially if you were one? I don’t know if he is, but if he was, I assume that’d be a

very alarming moment in your life. ‘Oh no, they’re on to me.’”121

            88.   Many comments turned violent and threatening, repeating the calls for violence

against Drake in the Recording:

                  •   “Drake not going to be able to touchdown into Cali going forward.
                      Somebody gonna Biggie Smalls him. Homies out here don’t tolerate
                      pedophilia. Not even joking;”122 and

                  •    “[T]his is one of those situations where you kinda just gotta kill yourself
                      if you’re drake.”123

            89.   That reasonable people would believe the allegations contained in the Defamatory

material was entirely foreseeable. Allegations of pedophilia are a cultural lightning rod.



[https://web.archive.org/web/20240901130224/https://www.complex.com/music/a/j-
rose/breaking-down-the-ways-kendrick-lamar-dissed-drake]; Miki Hellerbach, Decoding
Kendrick      Lamar’s     “Not    Like  Us”     Video,    Complex     (July    5,   2024),
https://www.complex.com/music/a/complex/kendrick-lamar-not-like-us-video-decoding-hidden-
meanings [https://perma.cc/XWT8-CKN7].
120
    Derrick Rossignol, Seth Rogen Pinpoints The Moment Drake Officially Lost the Kendrick
Lamar Beef and Marvels at How Crazy the Whole Thing Is, Uproxx (May 8, 2024),
https://uproxx.com/music/seth-rogen-drake-kendrick-lamar-pedophile/ [https://perma.cc/W9GP-
QUUX].
121
      Id.
122
   User @photograffito, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not
Like   Us,   YouTube      (May    5,   2024),   https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgwhwswcQjXOw7c9t_d4AaABAg [https://perma.cc/XEH3-KMQH].
123
            Kelly      (@BoyYeetsWorld),         X                     (June          19,        2024),
https://x.com/BoyYeetsWorld/status/1803621362751177097                          [https://perma.cc/3JLZ-
XTBQ].https://perma.cc/3JLZ-XTBQ.


                                                    39
            90.     Less than a month after UMG published the Recording and Image, author Martin

Vidal published an article titled “The Drake-Kendrick Rap Beef: A Case Study of Mob

Psychology.”124 Mr. Vidal explains that “mob mentality” is a psychological state that causes

people to abandon nuance, label anyone who defends the accused as being guilty of the same

actions of the accused, reward those who perpetuate their cause, and do bad in the name of doing

good, even when accusations are made without supplying any evidence. Mr. Vidal concludes that

the public reaction to the allegations against Drake were classic mob mentality, citing the shooting

and other trespassing incidents, instances of vandalism at Drake’s OVO stores, and overwhelming

negative public outcry.

            91.     Mr. Vidal explains that this mob mentality is why people can believe the allegations

despite the fact that “Drake has never been accused of inappropriate behavior with a minor (or

something similar, like grooming) by any underage or formerly underage person he’s interacted

with, or their families, or their acquaintances, and just about every alleged victim of such has come

out in defense of Drake.”

            70.1.   According to Mike Rothschild, an author and expert on conspiracy theories,

accusations of pedophilia are particularly ripe for conspiracies.125 He describes that allegations of

child sexual abuse cause people to “immediately just lose their mind — even if these children

don’t exist” and even “if you just put out the suggestion there, it grabs ahold in a way that is

difficult to dislodge.”126 Mr. Rothschild also notes that social media exacerbates conspiracy



124
   Martin Vidal, The Drake-Kendrick Rap Beef: A Case Study of Mob Psychology, Medium (May
24,    2024),     https://medium.com/the-riff/the-drake-kendrick-rap-beef-a-case-study-of-mob-
psychology-30d42b46b3a7 [https://perma.cc/6H27-F2ZS].
125
      Kim, supra note 10. 9.
126
      Id.


                                                     40
theories because the spread of information, or disinformation, can happen so much more rapidly

than in the analog age.127called “The Heart Pt. 6.”128 Drake explained that he has “never been with

no one underage” and that his name is not on the “sex offender list.”129

            71.    Despite being able to contact Drake, UMG did not ask Drake or his representatives

to discuss his denials of the allegations contained within the Defamatory Material.

            92.

                   D.     Drake Is the Target of Violence Almost Immediately.

            93.    Not only did people believe the allegations in the Recording and the Image, some

acted on them.

            72.94. Within days after UMG’s initial publication of the Recording and Image, which

depicted the location of Drake’s residence in Toronto, accused him of being a criminal pedophile,

and called for violence against him, multiple strangers, including at least one armed with a deadly

weapon, targeted Drake.

            73.95. At 2:00 A.M. on May 7, 2024, a group of men drove by Drake’s Toronto residence,

screamed “Fuck Drake,” and released at least two shots. One bullet went through the security

fence and hit Drake’s front door. Another bullet hit and seriously wounded Drake’s security guard.

Drake and others in the house rushed to the man’s aid, trying to keep him from bleeding out while

the ambulance came. The injuries he sustained were serious and, for two days, doctors were not

sure if he would live.




127
      Id.
128
    Drake (@DrakeOfficial), THE HEART PART 6 – DRAKE, YouTube (May 5, 2024),
https://www.youtube.com/watch?v=HJeY-FXidDQ [https://perma.cc/K6P7-6YS5].
129
      Id. at 02:18-02:19, 02:49-02:52.


                                                  41
       74.96. The news quickly jumped on the story of the violent attack against Drake, with all

the major news outlets publishing stories. For days news helicopters flew overhead the Toronto

house. While no one from UMG ever reached out to Drake or any of his representatives to check

on his well-being, UMG undoubtedly saw the press coverage of the attack.

       75.97. Also on May 7, 2024, across the globe in London, United Kingdom, Drake’s OVO

clothing store was vandalized with graffiti that read: “They not like us.” The graffiti was likely

viewed by hundreds of Carnaby Street passersby before the glass window could be removed and

millions online once the news broke.

       76.98. On May 8, 2024, a different invader attempted to break in to Drake’s property by

using his bare hands to dig under the security gate. The invader slid under the fence and entered

the property, screaming racist slurs and violent threats toward Drake.          The invader was

apprehended by security before making it to the house.

       77.99. On May 9, 2024, there was another trespasser on Drake’s Toronto property, this

time the trespasser got into a physical altercation with Drake’s security guards before being taken

away by the police. The individual returned to Drake’s property on May 11, 2024.130On May 9,

2024, there was another trespasser on Drake’s Toronto property, this time the trespasser got into

a physical altercation with Drake’s security guards before being taken away by the police. The

individual returned to Drake’s property on May 11, 2024.131




130
   Trent Fitzgerald, Drake’s Security Confronts the Same Intruder for Second Time at His Toronto
Estate, XXL Magazine (May 11, 2024), https://www.xxlmag.com/drake-security-third-intruder-
toronto-estate/ [https://perma.cc/GK54-7LPA].
131
   Trent Fitzgerald, Drake’s Security Confronts the Same Intruder for Second Time at His Toronto
Estate, XXL Magazine (May 11, 2024), https://www.xxlmag.com/drake-security-third-intruder-
toronto-estate/ [https://perma.cc/GK54-7LPA].


                                                42
          100.    These acts of violence against his residence, where Drake lives with his sonfamily,

and against his business, are not normal. In all the years he has been a celebrity, nothing like the

events of early May has ever happened to Drake before. After these attacks, Drake reasonably

fears for the safety of his family, and himself, particularly at his Toronto property. In all the years

he has been a celebrity, nothing like the events of early May has ever happened to Drake before.

After these attacks, Drake reasonably fears for the safety of his family, and himself, particularly at

his Toronto property. Following the May 7, 2024 shooting, Drake temporarily pulled his seven-

year-old son out of school and the Toronto area.

          101.    Drake lives his life differently since UMG published the Defamatory Material.

Drake has increased his security team in Toronto and everywhere he goes.

                  E.     Drake Publicly Denies the Defamatory Material.

          102.    On May 5, 2024, just a day after UMG published the Recording and Image, Drake

denied all of the allegations in a song called “The Heart Part 6.”132 Drake explained that he has

“never been with no one underage” and that his name is not on the “sex offender list.”133

          78.1.   Despite being able to contact Drake, UMG did not ask Drake or his representatives

to discuss his denials of the allegations contained within the Defamatory Material. shooting, Drake

temporarily pulled his seven-year-old son out of school and the Toronto area.

          79.     Drake lives his life differently since UMG published the Defamatory Material.

Drake has increased his security team in Toronto and everywhere he goes.

          103.




132
    Drake (@DrakeOfficial), THE HEART PART 6 – DRAKE, YouTube (May 5, 2024),
https://www.youtube.com/watch?v=HJeY-FXidDQ [https://perma.cc/K6P7-6YS5].
133
      Id. at 02:18-02:19, 02:49-02:52.


                                                  43
       104.      Belief in the truth of Defamatory Material persisted in direct response to Drake’s

denial of the claims in “The Heart Part 6”:134




                 E.F.   UMG Continues to Defame Drake by Publishing the “Not Like Us”
                        Music Video.

       80.105.          On July 4, 2024, two months after UMG initially published the Recording

and Image, and with knowledge of the actual violence and online threats that had already emerged,




134
    Sultan of SOLana.Wen (@ropexgang), X (May 6, 2024), https://perma.cc/W7EU-TG53; see
also            IAintGonCap           (@IAintGonCap),             X          (May          5,
2024), https://x.com/IAinGonCap/status/1787300175054049618 [https://perma.cc/GT6T-2AYL]
(“Kendrick didn’t lie about anything! You fed misinformation for him to expose you having a
Fake Daughter but he still smoked and broke you down for being into Underage Girls, being
addicted to pills,your camp having Sexual Assaults and also you having gambling problem which
are ALL TRUE and One is Subjective the Gambling…Your Spiraling More and The Fart 6. Ain’t
it. #OVHO #MeetTheGrahams.”).


                                                 44
UMG published a “Not Like Us” music video on YouTube135 and to users of Apple Music136 and

Tidal.137 UMG did so with knowledge of the actual violence and online threats that ensued from

its initial publication of the Recording, as well as its understanding that countless listeners had

understood the Recording and Image to convey statements of fact.

                                          Video on YouTube:




            81.106.     On YouTube, a watermark for Vevo LLC appears in the bottom right of the

Video.138 The YouTube caption for the Video lists a Vevo LLC URL, http://vevo.ly/NcHpoC.139

Universal Music is a significant owner of Vevo LLC (“Vevo”), which is a privately held American




135
      Video, supra note 5.
136
    Kendrick Lamar, Not Like Us [Explicit], Kendrick Lamar, Apple Music (July 4, 2024),
https://music.apple.com/us/music-video/not-like-us/1755691074    [https://perma.cc/GR3L-
PGWX].
137
         Kendrick     Lamar,      Not    Like       Us,    TIDAL    (July            4,     2024),
https://tidal.com/browse/video/373513584 [https://perma.cc/8AZN-X2K9].
138
      Video, supra note 5.
139
      Id.


                                                45
multinational music video-hosting service. Universal Music uses Vevo to distribute video content

to global platforms, such as YouTube and major television networks.

          82.107.           The Video depicts images bolstering the Recording’s defamatory

allegations. For example, the lyrics “Tryna strike a chord and it’s probably A-Minor” are

matched with an image of hopscotch, a popular playground game for children.140 The imagery

reinforces the drawn-out singing of the “A-Minor” lyric and the lie that Drake is a pedophile.




140
      Id. at 01:43-01:51.


                                                46
          83.108.           Kendrick Lamar is depicted in front of shipping containers with air-

conditioning units inside. These images are associated with sex trafficking.




          84.109.           The Video also includes allusions to Drake’s OVO brand, which is

represented by an owl. In combination with the lyrics “Wop, wop, wop, wop, wop, Dot, fuck ‘em

up,” the Video shows Lamar beating an owl-shaped piñata with a bat.141 During this scene, a

caption appears at the bottom of the video that states: “DISCLAIMER: NO OVHOES WERE

HARMED DURING THE MAKING OF THIS VIDEO.”




141
      Id. at 01:36-01:42.


                                                  47
            85.110.          In its conclusion, the Video depicts a prolonged shot of a live owl in a

cage.142 The meaning is clear: Drake belongs behind bars.

            86.111.          Defendant’s initial publication of the Video on YouTube has been viewed

more than 206320 million times as of the date of this filing.143 As of the date of this filing, UMG’s

original publications of the Video remain available on the aforementioned platforms.

            112.      On information and belief, each of Sir Grainge, Mr. Janick, Mr. Monte Lipman,

and Mr. Avery Lipman played a key role in the initial publication of the Video either in directing

or approving the publication and/or failing to prevent its publication.

                      G.     The Video Causes More People to Believe the Allegations Against
                             Drake.

            113.      Just as with the publication of the Recording and Image, as soon as UMG published

the Video, people began expressing belief in the allegations against Drake. Posts reacting to the

Video, also numbering in at least the hundreds of thousands, are indistinguishable from those

reacting to the Recording and Image.

            114.      Users again confirmed their belief in the allegations and that the allegations were

based on some facts known by Lamar, but yet undisclosed to the public: “The caged owl. Got me

truly believing Kendrick know Drake going to prison possibly.”144 Others commented: “We

have an anti-PDF anthem! About time. No justice for guys like Diddy, Epstein, and Drake and




142
      Id. at 05:04-05:20.
143
      Id.
144
    User @Leonard_Washington76, Comment, Kendrick Lamar (@kendricklamar), Kendrick
Lamar         –      Not      Like      Us,    YouTube    (July     9,      2024),
https://www.youtube.com/watch?v=H58vbez_m4E&lc=UgzEwjZukwgo_GGHnqZ4AaABAg
[https://perma.cc/22TH-TVE6] (emphasis added).


                                                      48
all the victims they cause much less the Johns.”145 One user characterized Drake of being just

another “Hollywood pedo[].”146

       115.   Users made anti-Semitic remarks:

              •   “I’ll say it..... Them jews are the colonizers.... That’s who Drake
                  represent..... We got to take our music back from those DEVILS.....;”147

              •   “On a deeper level they not like us,. Understand Drake is a Kazarian
                  Jew. If you know the history you know that they stole the identity of the
                  true biblical Semitic Israelites ‘US’ and are claiming to be Jewish people
                  today.. So When Kendrick says your not a colleague your a colonizer it
                  goes much deeper than rap.. IYKYK;”148

              •   “Stopped by Compton’s Tam’s #21 with the homie for some burgers
                  and to call @Drake a jewish pedophile. You know I had to do it to em
                  #NotLikeUs @kendricklamar Kek shoutout Rosecrans;”149 and

              •   “BROOOOO, DRAKE IS A COLOLNIZER BECAUSE HE IS
                  JEWISHHHH.”150



145
    User @JacobChavez-pc2cm, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar
–          Not       Like       Us,      YouTube         (July        7,        2024),
https://www.youtube.com/watch?v=H58vbez_m4E&lc=UgyNfScmqWKyAIl9J6F4AaABAg
[https://perma.cc/B9EL-FLRB].
146
   Ace High (@AceHighAlbion), Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar
–          Not       Like      Us,       YouTube         (July       20,         2024),
https://www.youtube.com/watch?v=H58vbez_m4E&lc=UgydWMZ9oZUKHgLeirZ4AaABAg
[https://perma.cc/GB25-STV3].
147
    User @MrJoeNobody, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not
Like              Us,          YouTube           (July            5,           2024),
https://www.youtube.com/watch?v=H58vbez_m4E&lc=UgyR8Ic30DarlLMQ85d4AaABAg
[https://perma.cc/8GV6-BFUK] (emphasis added).
148
   User @rogerhines1779, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not
Like              Us,          YouTube            (July            8,           2024),
https://www.youtube.com/watch?v=H58vbez_m4E&lc=UgyW_NBCk3_yN75K9Cl4AaABAg
[https://perma.cc/E7VW-C3QU] (emphasis added).
149
     spico blanco 2 electric boogaloo (@Cassius28865223), X (Aug. 4, 2024),
https://x.com/Cassius28865223/status/1820261511685881932 [https://perma.cc/C2NN-WA9B].
150
  User @CamLo-c9t, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like
Us,             YouTube                 (July                12,               2024),



                                               49
       116.    And users again threatened Drake’s safety in comments like: “Drake better come

with secret service-type security if he plans on going through LA. And even then that might not

be enough. They ‘Not Like Us’ [laughing emojis];”151 and “Drake can never go to LA without

secret service level security now.”152

       117.    The spewing of hate against Drake has not been limited to social media. The public

has leveraged multiple other platforms to repeat the lies in the Defamatory Material. For example,

users have edited the address that appears on Google Maps and Apple Maps at Drake’s Toronto

address to read “pedophile lives here” and “he touches little girls.”

       118.    In the summer of 2024, users updated the description of Drake’s Toronto address

in rideshare applications Uber and Lyft.              Users have edited the address to read

“DRIZZYTOUCHESKIDS,” “Drizzy’sFunTimeChamber,” and “A MINORRRR.”




https://www.youtube.com/watch?v=H58vbez_m4E&lc=UgyJ0puH2rTCo7sfZil4AaABAg
[https://perma.cc/TJ3Z-S2KY] (emphasis added).
151
    User @Thx4everything_117, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar
–          Not        Like      Us,       YouTube         (July        5,        2024),
https://www.youtube.com/watch?v=H58vbez_m4E&lc=Ugzwae5O4LuQwkI5OJ54AaABAg
[https://perma.cc/8Z4J-L3MP].
152
    User @StacksOfLitty, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not
Like              Us,          YouTube             (July            4,           2024),
https://www.youtube.com/watch?v=H58vbez_m4E&lc=Ugzx3XCuiNJxajv-ybp4AaABAg
[https://perma.cc/3D8Z-CUBD].


                                                 50
        87.119.          Following the public reaction to the Recording and Image, UMG

understood that this kind of reaction to the Video was likely, if not inevitable.

        UMG PUBLISHED THE DEFAMATORY MATERIAL WITH KNOWLEDGE OF
        OR RECKLESS DISREGARD FOR ITS FALSITY AND KNOWLEDGE THAT IT
             WAS REASONABLY FORESEEABLE TO CAUSE DRAKE HARM

        88.120.          UMG does not believe now, nor has it ever believed, that Drake is a

pedophile, a sex offender, or otherwise a criminal.        Defendant published, republished, and

promoted the Defamatory Material knowing the allegations were not true or, at least, with reckless

disregard for its falsity.

        89.121.          UMG also published and promoted the false allegations against Drake

despite the inherent improbability of the allegations, reliable contrary information, and awareness

that they were unsupported by any evidence, let alone reliable evidence. Further, UMG published

and promoted the Video, and further republications and licensing of the Recording, with the

knowledge that millions of people already understood the Recording to assert statements of fact

that Drake is a pedophile, that Lamar had represented he knew of undisclosed facts to support such




                                                 51
statements, and that actual violence had occurred at Drake’s Toronto residence immediately

following the initial publication of the Recording.

          90.122.       As an initial matter, UMG has a financial interest in knowing any potential

liabilities that Drake had or could have—including criminal charges or convictions. As laid out in

UMG’s Code of Conduct, UMG is “committed to human dignity,” does not tolerate “human rights

abuses such as child labor, slavery, human trafficking and unsafe or unfair work practices at our

operations,” and only conducts “business with partners, suppliers and customers who share our

commitment to protecting human rights.”153 UMG would not have contracted with Drake in the

first instance, nor would it have continued to maintain existing contracts, had it believed at any

relevant time that any of the allegations in the Defamatory Material were true in any respect.

          91.123.       UMG understands, and as is easily confirmed through basic public records

searches, that Drake had never been charged with, indicted for, or convicted of any charges of

sexual violence or assault, including, but not limited to, sexual violence against a minor.

          92.124.       Furthermore, UMG has access to Drake and could have asked him directly

about the veracity of the allegations at any point in time.

          93.125.       UMG also knew or should have known that by publishing the Defamatory

Material, it was gambling with Drake’s safety. Critically, in addition to accusing Drake of being

a criminal pedophile, the Defamatory Material calls for violence against Drake and depicts his

Toronto address. Incidents like 2016’s Pizzagate show how accusing someone of being a

pedophile and/or of committing crimes against children can quickly spin out of control into a viral

conspiracy theory and acts of real physical violence. “Vigilante” actions against suspected

pedophiles have notably increased in the last two years. A New York Times analysis of the


153
      Universal Music Group, Our Code of Conduct, supra note 1817, at 12.


                                                 52
phenomenon counted “more than 170 violent vigilante attacks by pedophile hunters since

2023.”154 UMG directly knows what harms can arise from such “outrageous allegations” of

“criminal activity.”155 UMG and Sir Grainge were recently accused of aiding and abetting P.

Diddy in committing heinous and widespread acts of sexual violence against minors. UMG and

Sir Grainge acted swiftly to refute these allegations. In a court filing, Sir Grainge stated, “I do not

take lightly being falsely and publicly accused of criminal activity, and as I said, I intend to pursue

those who have made these outrageous allegations against me.”156

            94.126.          Despite having knowledge of the violence that occurred at Drake’s Toronto

residence, as well as substantial online threats and vitriol directed at Drake, and notwithstanding

having a direct line of communication to Drake, UMG did not discuss the Video with Drake prior

to publishing it.

            127.      Despite having knowledge of nearly all of the harms Drake had suffered as a result

of the publication of the Defamatory Material in the form of a retraction demand Drake sent to

UMG, UMG continued to publish the Defamatory Material to new audiences around the world.

  UMG ENGAGES IN A PUBLICITY CAMPAIGN TO ENSURE MAXIMUM SPREAD
       OF THE DEFAMATORY MATERIAL AND DECEIVE CONSUMERS

            95.128.          Since the initial publications on May 4 and July 4, 2024, UMG has utilized

every weapon in its arsenal to ensure that the Defamatory Material spread to the maximum extent

possible around the world.


154
    Aric Toler & Neil Bedi, Online ‘Pedophile Hunters’ Are Growing More Violent – and Going
Viral,             N.Y.             Times             (Mar.            26,            2025),
https://www.nytimes.com/interactive/2025/03/26/us/pedophile-hunting-violence.html
[https://web.archive.org/web/20250402151449/https://www.nytimes.com/interactive/2025/03/26/
us/pedophile-hunting-violence.html].
155
      Declaration of Sir Lucian Grainge, supra note 1413, at ¶ 15.
156
      Id.


                                                      53
                 A.   UMG Used Social Media to Promote the Defamatory Material and
                      Market the Recording’s “Popularity” to Consumers.

       96.129.        In the months since the initial publications, and for months after it

understood the harms Drake had suffered as a result of the Defamatory Material, UMG repeatedly

posted the Defamatory Material to its social media accounts, including Interscope and UMPG

accounts. AtAs of the timedate of this filing, UMG has a social media following of approximately

2.21 million on YouTube, 983997,000 on Instagram, 712,000713,900 on X, and 624622,000 on

Facebook.157 AtAs of the timedate of this filing, Interscope has a social media following of

approximately 937948,000 on YouTube, 756769,000 on Instagram, and 560557,000 on Facebook.

       97.130.        On June 9, 2024, Interscope reposted a tweet bragging that “Kendrick

Lamar’s ‘Not Like Us’ becomes the FASTEST rap song to reach 300M Spotify streams” in only




157
    These estimated follower totals exclude the social media accounts of related UMG entities,
affiliates, and subsidiaries.


                                              54
“35 days.”158 The post features the Image side by side with a photo of Kendrick Lamar. The post

has approximately 604,200 views.




158
            Interscope        (@interscope),     X          (Jun.June      9,           2024),
https://x.com/Interscope/status/1800258394382614977 [https://perma.cc/4W9P-8N5N].


                                              55
       98.131.         On June 20, 2024, UMG posted a carousel of photos and videos to its

official Instagram account, of Lamar performing the Recording at the “Ken & Friends Pop Out”

Juneteenth concert (the “Pop Out concert”) during which the Recording was played five times

back-to-back. UMG captioned the post, “History was made. [fire emoji] cc: @kendricklamar”159

and tagged Interscope. While Lamar performed many songs during the concert, UMG purposely

chose to highlight the Recording and to describe it as “historic.”




       99.132.         That same day, UMPG posted videos from the Pop Out performanceconcert

on its official Instagram, which has hundreds of thousands of followers,160 Facebook page,161 and




159
     See Universal Music Group, (@universalmusicgroup), Instagram (June 20, 2024),
https://www.instagram.com/p/C8c2ni6RqtF/?img_index=1 [https://perma.cc/7WUU-WCTG].
160
    Universal Music Publishing Group (@umpg), Instagram, https://www.instagram.com/umpg/
(last visited Jan. 14, 2025).
161
     Universal Music Publishing         Group,    Facebook,    https://www.facebook.com/UMPG/
[https://perma.cc/6RYD-J96F].


                                                 56
TikTok.162 The Facebook post included the main “Not Like Us” refrain from the Recording,163

while the Instagram and TikTok post published the “A-Minor” portion of the Recording.164 On

Instagram, UMPG captioned the video “THEY NOT LIKE US @KendrickLamar pops out with

his debut performance of ‘Not Like Us’ at his Ken & Friends Pop Out Juneteenth concert in LA.”165

Similarly, on TikTok, UMPG boasted that the “Crowd goes wild for #KendrickLamar’s debut

performance of ‘Not Like Us’ at his Juneteenth ‘Pop Out’ concert at the Kia Forum in Los Angeles,

CA.”166

       100.133.       Greg Marella, President of Promotion and Executive Vice President of

Capital, another UMG label, promoted the Pop Out concert on his personal Instagram page with

the same photo posted by UMG.167




162
            Universal         Music           Publishing            Group,                TikTok,
https://www.tiktok.com/@universalmusicpublishing [https://perma.cc/EUK7-Y3ND].
163
        Universal  Music      Publishing  Group,      Facebook        (June       20,      2024),
https://www.facebook.com/reel/1033017875019038 (last visited Jan. 14, 2025).
164
      Universal Music Publishing Group (@umpg), Instagram (June 20, 2024),
https://www.instagram.com/p/C8cwMUpvfCH/ [https://perma.cc/6K74-X49H]; Universal Music
Publishing Group, TikTok (June 20, 2024), https://www.tiktok.com/t/ZTNtE5UaY/
[https://perma.cc/KQE2-FCUX].
165
      Universal Music Publishing Group (@umpg), Instagram (June                     20,    2024),
https://www.instagram.com/p/C8cwMUpvfCH/ [https://perma.cc/6K74-X49H].
166
       See   Universal    Music  Publishing      Group,  TikTok   (June            20,     2024),
https://www.tiktok.com/t/ZTNtE5UaY/ [https://perma.cc/KQE2-FCUX].
167
         Greg     Marella     (@gregmarella),         Instagram       (June       20,     2024),
https://www.instagram.com/p/C8bXzffOpcf/?hl=en                          [https://perma.cc/YPL5-
HHG9].https://perma.cc/YPL5-HHG9.


                                               57
        101.134.      On July 5, 2024, Interscope promoted the Video on its Instagram account.168

The carousel included images and a short clip of the Video with the caption “Not Like Us. Out

Now.”

        102.135.      On July 8, 2024, UMPG posted a GIF from the Video on its X account

encouraging people to watch the Video: “TELL US: What was your favorite moment from

@kendricklamar’s “Not Like Us” music video? ↳https://youtu.be/H58vbez_m4E.”169

        103.136.      On July 15, 2024, Interscope reposted two X posts, including one from

Complex, regarding a fan’s creation of a “Not Like Us” video game.170 The posts depict images

from the video game which emulate the scene from the Video in which an owl-shaped piñata is

beaten with a bat and ultimately destroyed. The posts together have 3.5 million views.

        104.137.      On July 16, 2024, Interscope reposted on X that the Recording had become

“the bestselling rap song of 2024 in the US.”171

        105.138.      On July 24, 2024, UMG posted on its X account, about the Recording

charting as the “most-streamed song” of the week.172




168
          Interscope      (@interscope),   Instagram        (July       5,     2024),
https://www.instagram.com/p/C9DhFTpS7yG/?img_index=1 [https://perma.cc/H6A2-YE2W].
169
       Universal  Music     Publishing  Group     (@umpg),      X   (July   8,            2024),
https://x.com/UMPG/status/1810426132736438584 [https://perma.cc/CLL2-CWJR].
170
           See       Interscope      (@interscope),     X          (July       15,    2024),
https://x.com/Interscope/status/1813282352694743250           [https://perma.cc/Q4QH-AYY9];
Interscope            (@interscope),          X          (July             15,        2024),
https://x.com/Interscope/status/1813281639277162682 [https://perma.cc/6Q57-F97N].
171
            Interscope         (@interscope),      X          (July       16,             2024),
https://x.com/Interscope/status/1813282022753988707 [https://perma.cc/BB25-S2T9].
172
         Universal    Music      Group    (@umg),         X     (July  24,                2024),
https://x.com/UMG/status/1816159700297343062 [https://perma.cc/MY9M-QVD9].


                                                   58
            106.139.     On August 29, 2024, UMG posted on X with a link to a Spotify “Summer

Hits 2024 playlist” with a caption boasting that the Recording was a “Song of the Summer.”173

            140.   On September 23, 2024, UMG reposted a screenshot of the top 10 songs on the

Billboard Hot 100 for the week of September 28, 2024, which ranked the Recording at

#10.174 UMG commented “8 out of 10 artists on the @billboard #Hot100 are part of the UMG

fam!”175




173
         Universal    Music     Group     (@umg),        X      (Aug.      29,           2024),
https://x.com/UMG/status/1829214002687381505 [https://perma.cc/PJ99-44TD].
174
     UMG (@umg), X (Sept. 23, 2024), https://x.com/UMG/status/1838307348537893293
[https://perma.cc/XD6U-FNR3].
175
      Id.


                                                59
        107.141.       On its YouTube Channel, Interscope curates playlists of recommended

music videos for fans. As of the date of this filing, the Video is still featured on the label’s music

video playlist.176




176
    Interscope Records (@InterscopeGeffenAM), “FEATURED ON INTERSCOPE” Playlist,
YouTube, https://www.youtube.com/playlist?list=PLJzLTReoSNQS698_Vhj1uLLiualhVrg3w
[https://perma.cc/D8VY-TPHG].


                                                 60
       108.142.       On November 8, 2024, following an extensive publicity campaign launched

and managed by UMG, the Recording Academy nominated the Recording for several Grammy

Awards, including the top awards for Record of the Year, Song of the Year, Best Rap Performance,

and Best Rap Song, and nominated the Video for Best Music Video.177 Following the release of

the nominations, Interscope posted a congratulatory message on its Instagram.178 UMG also

posted on Instagram and X bragging about the nomination for Song of the Year.179At the time it

undertook this promotional campaign on behalf of the Recording, UMG understood that winning



177
    Nina Frazier, 2025 GRAMMYs: See The OFFICIAL Full Nominations List, Grammy.com (Nov.
8, 2024), https://www.grammy.com/news/2025-grammys-nominations-full-winners-nominees-
list [https://perma.cc/ME87-NSHZ] (Music producer Dijon Isaiah McFarlane, known
professionally as Mustard, also received a nomination for Producer of the Year, Non-Classical, for
his work on the Recording).
178
         Interscope   Records   (@interscope),           Instagram       (Nov.      8,     2024),
https://www.instagram.com/p/DCIKBoBR9ja/.
179
      Universal Music Group (@universalmusicgroup), Instagram (Nov. 8, 2024),
https://www.instagram.com/p/DCHtaKxxtpx/?hl=en&img_index=1; Universal Music Group
(@universalmusicgroup),             Instagram          (Nov.             8,         2024),
https://www.instagram.com/reel/DCHws9LRKIi/?hl=en; Universal Music Group (@umg), X
(Nov. 8, 2024), https://x.com/UMG/status/1854958452860223524 [https://perma.cc/6HA2-JTZJ].


                                               61
any (let alone many) Grammy Awards would expose the Defamatory Material to new audiences,

including potentially millions of new listeners, around the world, resulting in substantial additional

harm to Drake.

       143.    Following the release of the nominations, Interscope posted on its Instagram

“Congratulations to Kendrick Lamar for his 2025 GRAMMY® Award nominations!,” with an

image listing the Recording’s nominations.180 UMG similarly posted on Instagram, with the

caption “Here are this year’s UMG nominees for SONG OF THE YEAR at the #GRAMMYs:

“Not Like Us” - @kendricklamar.”181 And in a reel, UMG posted a portion of the Video on

Instagram with the caption “They not like @KendrickLamar! He’s just nabbed 7 #GRAMMY

nominations.”182 UMG posted the same clip on X.183

       144.    In December 2024, UMG again promoted the Defamatory Material’s success on

the radio on social media when it posted on X, “Huge congrats to the UMG fam for landing the




180
         Interscope   Records   (@interscope),      Instagram    (Nov.                 8,      2024),
https://www.instagram.com/p/DCIKBoBR9ja/ [https://perma.cc/J5HZ-LAP8].
181
      Universal Music Group (@universalmusicgroup), Instagram (Nov. 8, 2024),
https://www.instagram.com/p/DCHtaKxxtpx/?hl=en&img_index=1  [https://perma.cc/R7UZ-
PZTQ].
182
      Universal Music Group (@universalmusicgroup), Instagram (Nov. 8, 2024),
https://www.instagram.com/reel/DCHws9LRKIi/?hl=en [https://perma.cc/657C-D2CD].
183
         Universal    Music      Group     (@umg),        X      (Nov.     8,                  2024),
https://x.com/UMG/status/1854958452860223524 [https://perma.cc/6HA2-JTZJ].


                                                 62
top 4 spots on @Billboard’s 100 Best Songs of 2024 list! [100 emoji] No. 1 @KendrickLamar –

‘Not Like Us.’”184

       145.   And following the Grammys, Interscope and UMG published celebratory posts

about the success of the Recording on Instagram and X.185

       146.   On May 13, 2024, Ramon Alvarez-Smikle, Interscope’s Executive Vice President

and Head of Digital Marketing, reposted an X post from “Billboard Charts” (@billboardcharts)

showing the top ten “Hot 100” songs, among them Lamar’s “Not Like Us,” at first place.186

       147.   In a February 25, 2025 LinkedIn post, Jessica Staats, the Vice President of

International Digital Strategy of Interscope, shared, “Big week for all of us on Team Kendrick!”

and linked to a Billboard report on the Recording’s streaming milestones and placement on the

Billboard Hot 100.187

              B.        UMG Used its Ownership Interests to Promote the Defamatory
                        Material.

       109.148.         On information and belief, UMG used its stake in Complex,188 a global

youth entertainment network, to further promote the Defamatory Material. When UMG first



184
         Universal    Music     Group     (@umg),         X      (Dec.  26,              2024),
https://x.com/UMG/status/1872338923935944851 [https://perma.cc/97VU-7ELU].
185
         Interscope     Records     (@interscope),  Instagram       (Feb.    3,   2025),
https://www.instagram.com/p/DFmd7r_RYFH/?hl=en; Universal Music Group (@umg), X (Feb.
3, 2025), https://x.com/UMG/status/1886310085934084546 [https://perma.cc/758M-KC93].
186
   Mr. Alvarez-Smikle’s X account, https://x.com/ramonsmikle, has since been set to private. The
reposted message has been preserved offline.
187
   Jessica Staat, Post, LinkedIn (Feb, 25, 2025), https://www.linkedin.com/posts/jessica-staats-
851b877_kendrick-lamars-not-like-us-scores-biggest-activity-7300206172358291458-
eYRv?utm_source=li_share&utm_content=feedcontent&utm_medium=g_dt_web&utm_campai
gn=copy [https://perma.cc/XZR7-2ZLJ].
188
   Press Release, NTWRK Acquires Complex to Build Next Generation Content and Shopping
Experience, Universal Music GroupGrp. (Feb. 21, 2024), https://www.universalmusic.com/ntwrk-



                                              63
acquired its stake in Complex, Mr. Janick commented that the “partnership will give our artists

access to a dynamic network to deepen connections with superfans through unique collaborations

and cultural moments.”189

       110.149.       Between May 5, 2024 and the date of this filing, Complex has published at

least 5070 articles about “Not Like Us” and posted about the Recording hundreds of times across

its website and social media accounts.




acquires-complex-to-build-next-generation-content-and-shopping-experience/
[https://perma.cc/RWX6-CH2W].
189
   Tim Ingham, Universal Music Group is acquiring a stake in Complex – via a takeover focused
on ‘superfans’ and e-commerce, Music Business Worldwide (Feb. 21, 2024),
https://www.musicbusinessworldwide.com/universal-music-group-acquiring-a-stake-in-
complex-as-part-of-a-takeover-focused-on-superfans-and-e-
commerce/#:~:text=UMG%20will%20become%20a%20strategic,of%20Complex%20and%20its
%20networks
[https://web.archive.org/web/20250417003315/https://www.musicbusinessworldwide.com/unive
rsal-music-group-acquiring-a-stake-in-complex-as-part-of-a-takeover-focused-on-superfans-and-
e-commerce/].


                                              64
       111.150.      On May 4, 2024, Complex tweeted a photo of the Image and described it

for what it wasits intended meaning as follows: “The Cover for ‘Not Like Us’ is Drake’s Toronto

Mansion… with sex offender app markers.”190




190
          Complex     Music       (@ComplexMusic),      X     (May       4,      2024),
https://x.com/ComplexMusic/status/1786918037045555626?lang=en [https://perma.cc/4UCU-
88TH].


                                              65
       112.151.       On July 5, Complex published an article titled “Decoding Kendrick Lamar’s

‘Not Like Us’ Video” and another titled “Every Reference in Kendrick Lamar’s ‘Not Like Us’

Video.”191   The articles describe in detail how the Recording’s defamatorypublic should

understand the allegations against Drakecontained within the Defamatory Material.

       113.152.       On information and belief, Universal Music also used its ownership interest

in Vevo to over-index the Video on the platform. Put differently, Vevo boosted the visibility of

the Video relative to others in order to disproportionately increase its overall views, engagement,

and performance on charts and at the expense of other artists and music.



191
   Miki Hellerbach, Decoding Kendrick Lamar’s “Not Like Us” Video, Complex (July 5, 2024),
https://www.complex.com/music/a/complex/kendrick-lamar-not-like-us-video-decoding-hidden-
meanings [https://perma.cc/XWT8-CKN7]; Hellerbach, supra note 118; Joe Price, Every
Reference in Kendrick Lamar’s “Not Like Us” Video, Complex (July 5, 2024),
https://www.complex.com/music/a/backwoodsaltar/every-reference-not-like-us-video-kendrick-
drake [https://perma.cc/W5N4-WRRH].


                                                66
               C.      UMG Granted Licenses to Promote the Defamatory Material.

       114.153.        UMG also used its global publishing division, UMPG, to license the

Defamatory Material for broader use and consumption. Since the Recording’s release, UMPG has

listed the Recording on its website for licensing on television and in film.192




192
    Song Details – Not Like Us by Kendrick Lamar, Universal Music Publishing Group,
https://www.umusicpub.com/us/Digital-Music-Library/song/547780/kendrick-lamar-not-like-us
[https://perma.cc/UDS2-D9J7?type=image]; Kendrick Lamar, Universal Music Publishing Group,
https://www.umusicpub.com/us/Artists/K/Kendrick-Lamar.aspx         [https://perma.cc/VCH4-
84TV?type=image].


                                                 67
       115.154.      On the UMPG website, third parties seeking to license songs for audiovisual

publications can filter by genre, chart-topping songs, and themed playlists. UMPG markets the

Recording as having a “winning/achievement” “lyrical theme.”




                                              68
       116.155.      UMG further promotes the Recording for licensing by listing its success on

the music charts. For example, on UMPG’s website, a third party could search for songs in the

Hot 100 Singles.




                                             69
       117.156.        UMG also curates themed playlists on UMPG’s website for marketing

purposes. The Recording is currently featured on the “Winner’s Circle” playlist with 2629 other

songs that can be licensed.193

       118.157.        As a result of its marketing efforts, UMG has repeatedly licensed the

Recording to be performed publicly and published on other platforms. For example, on June 19,

2024, the Recording was performed five times in a row at athe Pop Out concert in Inglewood,

California194 to a crowd of approximately 16,000 attendees195 and a live stream of over 186,000

viewers on Amazon’s Prime Video and Twitch.196 The livestream broke Amazon Music’s

streaming record for the most minutes watched of any Amazon Music production ever across

Prime Video and Twitch.197 In the three days following the Pop Out concert, Kendrick Lamar

received nearly 61 million combined official on-demand U.S. streams.198        The Recording


193
     Winner’s Circle Playlist, Universal Music Publishing Group, (Mar. 6, 2025),
https://www.umusicpub.com/us/Digital-Music-Library/playlist/72885/-winners-circle (last
updated Dec. 18, 2024).visited Apr. 16, 2025).
194
   Michael Saponara, Kendrick Lamar Performs Drake Diss Track ‘Not Like Us’ 5 Times Back-
to-Back    at     Pop     Out     Concert,    Billboard    News     (June      20,     2024),
https://www.billboard.com/music/rb-hip-hop/kendrick-lamar-performs-not-like-us-five-times-la-
show-1235714258/ [https://perma.cc/D7FL-H9M8].
195
   Taijuan Moorman, Kendrick Lamar performs Drake diss ‘Not Like Us’ 5 times at Juneteenth
‘Pop        Out’        concert,       USA        Today          (June      20,      2024),
https://www.usatoday.com/story/entertainment/music/2024/06/20/kendrick-lamar-concert-pop-
out-ken-and-friends-livestream-juneteenth/74154407007/ [https://perma.cc/Z55R-ZQJR].
196
    Steven J. Horowitz, Kendrick Lamar’s ‘The Pop Out – Ken and Friends’ Concert in Los
Angeles      to   Stream   Live   on    Amazon      Music,   Variety    (June     7,    2024),
https://variety.com/2024/music/news/kendrick-lamar-the-pop-out-ken-and-friends-livestream-
amazon-music-1236029181/ [https://perma.cc/DL6H-TA8U].
197
   Sophie Caraan, Amazon Music Releases Live Performance Video of Kendrick Lamar’s “Not
Like Us”, Hypebeast (June 21, 2024), https://hypebeast.com/2024/6/kendrick-lamar-breaks-
amazon-music-record-not-like-us-live-video-stream [https://perma.cc/8NN7-XDD5].
198
  Andrew Unterberger, Kendrick Lamar, Entire Black Hippy Crew and Mustard & Friends All
Up in Streams After Juneteenth ‘Pop Out’ Concert, Billboard (June 26, 2024),



                                              70
represented approximately 21 million of those combined streams—a 62% increase from the three-

day period preceding the concert.199 This republication on June 19, 2024, and its subsequent

republication on streaming platforms, reached more than 21 million people, and could not have

occurred without UMG’s explicit permission.

            119.158.   UMG subsequently made the live performance of the Recording from the

Pop Out concert available to be played on the radio.200 And radio stations played it.

            120.159.   UMG has also leveraged its existing licensing agreements with TikTok and

Meta to make the Recording and Video available to users of those platforms.201 As of the date of

this filing, the Recording had been used in over 2.1,300,000 million videos on TikTok. More than

100 TikToks170 TikTok posts using the Recording have been viewed at least 2 million times each,

with many being viewed tens of millions of times.202 In total, 125183 popular TikToksTikTok




https://www.billboard.com/music/chart-beat/kendrick-lamar-juneteenth-pop-out-not-like-us-
trenidng-up-1235718243/ [https://perma.cc/M76T-J64J].
199
      Id.
200
   Bryson Paul, California Radio Adds Live Version Of “Not Like Us” To Rotation, Hot 97 (July
11, 2024), https://www.hot97.com/news/california-radio-adds-live-version-of-not-like-us-to-
rotation/ [https://perma.cc/PW48-S8DM].
201
    See Etan Vlessing, Meta, Universal Music Group to Allow Users to Share Songs on WhatsApp,
Hollywood Reporter (Aug. 12, 2024), https://www.hollywoodreporter.com/business/business-
news/meta-universal-music-group-whatsapp-songs-1235972143/ [https://perma.cc/87HH-EJH8]
(“As part of the agreement renewal, UMG artists and songwriters will receive a slice of advertising
revenue from the use of licensed music on Meta creator posts.”); Etan Vlessing, Universal Music
Group CEO on New TikTok Deal: ‘Human Artistry Must Be Respected,’ Hollywood Reporter
(May 2, 2024), https://www.hollywoodreporter.com/business/business-news/universal-music-
tiktok-deal-1235888711/ [https://perma.cc/4CQX-VZBT].
202
   See Exhibit B; see also Not Like Us, TikTok, https://www.tiktok.com/music/Not-Like-Us-
7365349431086401552 [https://perma.cc/DQB8-LKP9].] (last visited Apr. 16, 2025).


                                                71
posts have been viewed over 12 billion times.203 And as of the date of this filing, the Recording

has been used in over 616,0001 million reels on Instagram.204

            121.160.   UMG also granted licenses for the Recording to be played at sporting

events, award shows, and political rallies. The Recording has been played and broadcasted on

television during coverage of games for the MLB, NBA, and WNBA. The Recording also played

during the July 2024 ESPY awards, an annual award ceremony that honors the top athletes and

sports performances of the year.

            122.161.   During a July 20, 2024 campaign rally for Vice President Kamala Harris in

Atlanta, Georgia, the DJ played the Recording to the live crowd. Video footage showing the crowd

singing along to the lyrics “Certified Lover Boy? Certified pedophiles” and “Tryna strike a chord

and it’s probably A-minor” quickly went viral on social media.205

            123.162.   The Recording also played during the highly anticipated roll call vote for

President during the Democratic National Convention. The Recording blared in the United Center




203
      Id.
204
         Reels        Audio       -      Not    Like      Us,         Instagram         Reels,
https://www.instagram.com/reels/audio/1182175136281886/not-like-us/ (last visited Jan. 14Apr.
16, 2025) (page also preserved offline).
205
   Spotless victim (formerly User the psycho of violence) See Top Christ Following Man of the
Year            (@santana_abraxas),           X            (July            30,         2024),
https://x.com/santana_abraxas/status/1818426483586548080        [https://perma.cc/7P4H-VVNZ]
(emphasis added).


                                               72
as California’s Governor Gavin Newsom cast the state’s delegates.206 The convention was

reportedly viewed by approximately 20 million people across 12 television networks.207

       124.163.       The Recording also became the postseason anthem for the Los Angeles

Dodgers’ playoff run and eventual 2024 World Series victory. The Dodgers had featured the

Recording in a hype video posted to their official YouTube page.208

       164.   Lamar The Recording and Video were some of the biggest winners of the night at

the 2025 Grammy Awards on February 2, 2025. On information and belief, UMG conferred

benefits and leveraged existing business relationships to secure Grammy nominations (and

eventually wins) for the Recording and Video. During the 2025 Grammy Awards, the Recording

and Video won all five categories for which they were nominated: Record of the Year; Song of

the Year; Best Rap Song; Best Music Video; and Best Rap Performance.209 During the ceremony,

defamatory portions of the Recording were played to the live audience and televised to over 15




206
   C. Mandler, The DNC roll call featured a musical salute to each state. Here’s what your state
chose, NPR (Aug. 21, 2024, 10:06 AM), https://www.npr.org/2024/08/21/g-s1-18188/democratic-
national-convention-roll-call-music-state
[https://web.archive.org/web/20241130003518/https://www.npr.org/2024/08/21/g-s1-
18188/democratic-national-convention-roll-call-music-state]; see also GreatLakesLiberal
(@GreatLakes32nd),                 X              (Aug.                 20,              2024),
https://x.com/GreatLakes32nd/status/1826064516112585093 [https://perma.cc/9Q2V-MBBN].
207
   Selome Hailu, Democratic National Convention Viewership Keeps Steady with 20.2 Million
Viewers on Third Night, Variety (Aug. 21, 2024), https://variety.com/2024/tv/news/dnc-ratings-
viewers-1236112994/ [https://perma.cc/EQH3-4KBU].
208
   See Cole Blake, LA Dodgers Use Kendrick Lamar’s “Not Like Us” As Anthem For Postseason,
Hot New Hip Hop (Oct. 6, 2024), https://www.hotnewhiphop.com/848710-la-dodgers-kendrick-
lamars-not-like-us-anthem-postseason-hip-hop-news [https://perma.cc/D78R-6AKK].
209
    Kaitlyn Huamani, Kendrick Lamar’s ‘Not Like Us’ wins song of the year, record of the year,
L.A. Times (Feb. 2, 2025, 8:33 PM), https://www.latimes.com/entertainment-
arts/music/story/2025-02-02/grammys-2025-kendrick-lamar-not-like-us-wins-controversy
[https://perma.cc/4LMJ-T3MF].


                                               73
million viewers.210 The Recording could not have been played and broadcast during the award

ceremony without UMG’s consent. The original broadcast of the Grammys showed the audience

singing along to the Recording, but in the video of the awards ceremony posted to the Grammys’

YouTube page, that portion is set to headlineexcluded.211 After the Recording won Record of the

Year, Sir Grainge high-fived and hugged Lamar’s long-time executive producer and musical

mentor, Andre Romell Young, known professionally as Dr. Dre, while the Recording played.212

On the Grammys’ official YouTube page, the clip featuring this high-five does not contain the

original audio of the Recording.213


210
    Ethan Shanfeld, Grammys Draw 15.4 Million Viewers on CBS, Down 9% From Last Year,
Variety (Feb. 4, 2025, 8:52 AM), https://variety.com/2025/tv/news/grammys-ratings-2025-
viewers-1236295409/
[https://web.archive.org/web/20250227182602/https://variety.com/2025/tv/news/grammys-
ratings-2025-viewers-1236295409/]. After the Recording won Song of the Year, the Grammys
broadcast played the Recording at 1:15-1:44. Upon the announcement that the Recording won
Record of the Year, the Grammys broadcast played the Recording at 0:31-1:16. Both portions
named Drake and, unlike during the Super Bowl halftime show, the word “pedophile” was not
censored.
211
    Gabriel Bras Nevares, Grammys Deletes Clip Of Crowd Singing Kendrick Lamar’s “Not Like
Us”       Amid     Drake     Lawsuit,     Hot     New     Hip    Hop      (Mar.    7,   2025),
https://www.hotnewhiphop.com/892143-grammys-deletes-clip-crowd-singing-kendrick-lamar-
not-like-us-drake-lawsuit-hip-hop-news#google_vignette         [https://perma.cc/K2CZ-YQXN]
(“Specifically, they deleted the portion in which the venue plays the song and the crowd sings
along from their official YouTube coverage of the night.”); Recording Academy / GRAMMYs,
KENDRICK LAMAR Wins Song Of The Year For “NOT LIKE US” | 2025 GRAMMYs Acceptance
Speech, YouTube (Feb. 2, 2025), https://www.youtube.com/watch?v=PqqAnsm4agc
[https://perma.cc/3TCQ-YEKP] (cutting Diane Ross’s announcement of the winner, Lamar’s walk
to the stage, and the playing of the Recording); Recording Academy / GRAMMYs, KENDRICK
LAMAR Wins Record Of The Year For “NOT LIKE US” | 2025 GRAMMYs Acceptance Speech,
YouTube         (Feb.     2,      2025),    https://www.youtube.com/watch?v=_HtmXTNn2Rw
[https://perma.cc/2NXL-LP73] (cut from 0:17 to 0:18 removes the playing of the Recording,
skipping from Miley Cyrus’s announcement of the winner to Lamar accepting the award on stage).
212
    Recording Academy / GRAMMYs, DR. DRE Reacts To KENDRICK LAMAR'S WIN At The
2025 GRAMMYs, YouTube (Feb. 2, 2025), https://www.youtube.com/watch?v=OZLxju-WRwE
[https://perma.cc/T92G-X8CC] (Sir Grainge and Dr. Dre high-five at 0:09–0:11 and embrace at
0:32–0:40).
213
      Id.


                                              74
       125.165.       Just a week later, on February 9, 2025, UMG facilitated a live performance

of the Recording during the Apple Music Super Bowl LIX Halftime Show in New Orleans on

February 9, 2025, which will be broadcasted on FOX.(the “Super Bowl Performance”). On

information and belief, UMG conferred financial benefits on the parties in charge of the Super

Bowl Performance and leveraged existing business relationships to secure the headliner-spot at the

Super Bowl. . As of this filing, the Super Bowl Performance is viewable in full on NFL.com as

well as on the NFL’s YouTube account.214

       166.    UMG MadeUMG promoted the Super Bowl Performance on Interscope’s social

media,215 including by reposting advertisements by the NFL, Apple Music, and TouchTunes on

X.216 On TikTok, UMG posted “Kendrick Lamar Super Bowl LIX” with the Recording playing




214
     Kendrick Lamar’s full Apple Music Super Bowl Halftime Show, NFL.com,
https://www.nfl.com/videos/kendrick-lamar-s-full-apple-music-super-bowl-halftime-show
[https://perma.cc/M27Q-5GR9] (last visited Apr. 16, 2025); NFL (@NFL), Kendrick Lamar's
Apple      Music       Super     Bowl    Halftime    Show, YouTube      (Feb.    9,   2025),
https://www.youtube.com/watch?v=KDorKy-13ak [https://perma.cc/2G7L-ZVNF]. As of the
date of this filing, the post has 119,381,000 views.
215
        Interscope    Records     (@interscope),   Instagram            (Jan.      23,     2025),
https://www.instagram.com/reel/DFLtJnBRfW3/ (preserved offline).
216
             Interscope        (@Interscope),       X          (Jan.         23,        2025),
https://x.com/Interscope/status/1882574353688342559             [https://perma.cc/4J45-QWBG]
(reposting Apple Music (@AppleMusic)); Interscope (@Interscope), X (Feb. 6, 2025),
https://x.com/Interscope/status/1887712265375252894            [https://perma.cc/CF9X-ADSL]
(reposting Apple Music (@AppleMusic)); Interscope (@Interscope), X (Feb. 7, 2025),
https://x.com/Interscope/status/1887954245028299000 [https://perma.cc/7B3D-V6UJ] (reposting
NFL         (@NFL));       Interscope     (@Interscope),      X        (Feb.      7,    2025),
https://x.com/Interscope/status/1888055905616302273             [https://perma.cc/8N9F-GK8H]
(reposting TouchTunes (@TouchTunes)); Interscope (@Interscope), X (Feb. 9, 2025),
https://x.com/Interscope/status/1888727714351263953           [https://perma.cc/T3MQ-DZPM]
(reposting NFL (@NFL)); Universal Music Group (@UMG), X (Oct. 22, 2024, 5:00 PM),
https://x.com/UMG/status/1848831698152108331 [https://perma.cc/KYE4-A4P8].


                                               75
and the caption added, “February 2025 with the [goat emoji]!!              #AppleMusicHalftime

#KendrickLamar #SBLIX #NotLikeUs #SuperBowl.”217

       167.    The version of the Recording performed during the Super Bowl Performance was

modified to exclude the word “pedophile,” but no other modifications were made. On information

and belief, Kendrick Lamar would not have been permitted to perform during the Super Bowl

Performance unless the word “pedophile” (in the phrase “certified pedophiles”) was omitted from

the lyrics—that is because nearly everyone understands that it is defamatory to falsely brand

someone a “certified pedophile.” On information and belief, the NFL, as well as the corporate

entities responsible for the televised and streaming broadcasts of the Super Bowl Performance, all

understood the words “certified pedophile” to be unacceptable in a broadcast to millions of

listeners. Notwithstanding that apparent consensus, UMG continues to publish the Recording

absent the censoring that even Kendrick Lamar deemed acceptable for the Super Bowl

Performance.

       168.    The Super Bowl Performance, broadcast by Fox, was the most-watched Super Bowl

Halftime Show of all time, with over 133.5 million viewers tuning in—more people than watched

the game itself.218 According to an NFL post on X, the Super Bowl Performance online obtained:

810 million “impressions” and more than 3.65 billion “total global views,” including over 1.7




217
        Universal    Music   (@universalmusicgroup),    TikTok    (Sept.             9,    2024),
https://www.tiktok.com/@universalmusicgroup/video/7412704939736190238
[https://perma.cc/ELZ8-CMUD].
218
   Heran Mamo, Kendrick Lamar’s 2025 Super Bowl Halftime Show Is Now the Most-Watched of
All Time, Billboard (Feb. 11, 2025), https://www.billboard.com/music/rb-hip-hop/kendrick-lamar-
2025-super-bowl-halftime-show-most-watched-all-time-1235899552/
[https://web.archive.org/web/20250228100907/https://www.billboard.com/music/rb-hip-
hop/kendrick-lamar-2025-super-bowl-halftime-show-most-watched-all-time-1235899552/].


                                               76
billion views from user-generated content;219 over 100 million views on the @NFL TikTok

account; the #1 rank of “most socially consumed” Apple Music Halftime Show” for the NFL; 5.7

million mentions on social media; the #1 rank for most-watched YouTube video in 28 countries;

the #1 rank on YouTube’s “Top Trending” chart; and 50 million views on YouTube in the first 72

hours of publication.220 Clips of the Super Bowl Performance in which Drake is referenced by

name went viral as well, with three TikTok posts from the NFL’s account amassing a total of 188.3

million views.221 Apple Music, sponsor of the Super Bowl Performance, posted “They not like

us” 48 times in an X post shortly following the Super Bowl Performance.222

       169.    UMG sought out, negotiated for, greenlit, and promoted the Super Bowl

Performance after the filing of this Complaint and after months of notice that the allegations in the

Defamatory Material were false, that they were being believed as true by the public, and that they

were causing harm to Drake.


219
   The image of Lamar looking directly at the camera when he named Drake and stated that Drake
“likes ’em young” during the Super Bowl Performance became a viral meme. See Cory Woodroof,
Kendrick Lamar smiling into the Super Bowl camera while saying Drake’s name turned into a
meme, USA Today (Feb. 9, 2025, 9:25 PM), https://ftw.usatoday.com/story/entertainment/pop-
culture/2025/02/09/kendrick-lamar-smiling-into-camera-drake-name-meme/78378885007/
[https://web.archive.org/web/20250323044815/https://ftw.usatoday.com/story/entertainment/pop
-culture/2025/02/09/kendrick-lamar-smiling-into-camera-drake-name-meme/78378885007/].
In one instance, CBS Sports aired a reference to the meme during its March Madness coverage of
Drake       University.      See Coach        $$$      (@_BushaT),        X     (Mar.      20,
2025), https://x.com/_BushaT/status/1902869130576814189 [https://perma.cc/ZPU9-UCLL].
220
     NFL (@NFL), X (Mar. 20, 2025), https://x.com/NFL/status/1902778413469081640
[https://perma.cc/7BPM-HCX4].
221
      NFL (@nfl), TikTok (Feb. 9, 2025), https://www.tiktok.com/t/ZT2xoPk6u/
[https://perma.cc/XKG2-CAVL] (55 million views); NFL (@nfl), TikTok (Feb. 9, 2025),
https://www.tiktok.com/t/ZT2xoC52T/ [https://perma.cc/6N2M-23R4] (100 million views); NFL
(@nfl), TikTok (Feb. 9, 2025), https://www.tiktok.com/t/ZT2xokxU9/ [https://perma.cc/P623-
2P9X] (33.3 million views).
222
           Apple     Music         (@AppleMusic),      X        (Feb.       9,    2025),
https://x.com/AppleMusic/status/1888764039804727557 [https://perma.cc/P663-66WG].


                                                 77
       170.    The agreement to censor the word “pedophile” failed to cure the Super Bowl

Performance of conveying the Recording’s central defamatory meaning. Instead, the Super Bowl

Performance further solidified the public’s belief in the truth of the allegations against Drake:

               •   “how many people in the world didn’t know Drake was credibly
                   accused of being a pedophile and now know;”223

               •   “Kendrick just COOKED @Drake in front of the whole world and
                   anybody who didn’t know that Drake is a CERTIFIED
                   PEDOPHILE is probably now on google trying to understand why
                   @kendricklamar said he likes em young [laughing emoji]
                   #DrakeIsAPedophile;”224 and

               •   “Last night before tens of millions, Kendrick Lamar lambasted
                   pedophiles and called them all out in Hollywood[.] Love him or hate
                   him. His message was unity. Rap may not be a favorable music genre
                   for many but his message shredded pedophiles like Drake and more
                   importantly excoriated “Puff” Diddy and Epstein, guilty of—child sex
                   trafficking.”225

       171.    The Super Bowl Performance revitalized the public’s attention to the allegations

against Drake. Once again members of the public renewed their outrage about Drake being a

“known” pedophile:

               •   “THEY SHOULD START AN INVESTIGATION ON DRAKE ?!!!!!
                   LOOK HOW DIDDY AND JEFFREY EPSTEIN TURNED OUT;”226




223
           Davis    Mattek         (@DavisMattek),      X        (Feb.     9,      2025),
https://x.com/DavisMattek/status/1888765439431303325 [https://perma.cc/V9FV-YH5K].
224
     Nosey Heaux Live #SurvivingThePettys (@noseyheauxlive), X (Feb. 9, 2025),
https://x.com/noseyheauxlive/status/1888767265132208326 [https://perma.cc/NV96-NBPG].
225
           It’s    Tiff     (@TiffMoodNukes),       X                  (Feb,.      10,     2025),
https://x.com/TiffMoodNukes/status/1888969405280981466             [https://perma.cc/VFZ6-BQWQ]
(emphasis added).
226
   User @josieperez5567, Comment, NFL (@NFL), Kendrick Lamar’s Apple Music Super Bowl
Halftime Show, YouTube (Feb. 10, 2025), https://www.youtube.com/watch?v=KDorKy-
13ak&lc=UgzJcaYksb-86HSwjrJ4AaABAg [https://perma.cc/RU8U-UTE7].


                                                 78
              •   “But seriously tho is anyone actually going to investigate Drake?;”227

              •   Users again compared the allegations in the Defamatory Material to the
                  actions of Epstein,228 Weinstein,229 and Diddy;230 and

              •   Others called on Drake to commit suicide.231


227
   User @RIPdixiecarter, Comment, NFL (@NFL), Kendrick Lamar’s Apple Music Super Bowl
Halftime Show, YouTube (Feb. 10, 2025), https://www.youtube.com/watch?v=KDorKy-
13ak&lc=UgwZjNcAeRtWma3BRJh4AaABAg [https://perma.cc/74NM-G2RN].
228
        See,   e.g.,   hardy     boyz\     (@shawnmedesfan69),      X     (Feb.   20,      225),
https://x.com/shawnmedesfan69/status/1892696929877794817 [https://perma.cc/DSL2-SK4U]
(“Drake is a jew from the suburbs of Toronto. End of discussion. ‘Real niggas’ dont have bar
mitzvahs. & real niggas definitely dont deal with underage girls. He has more in common with
Epstein than any ‘real nigga’ on the planet [shrug emoji]”); User @HiHi-mh1lu, Comment, NFL
(@NFL), Kendrick Lamar’s Apple Music Super Bowl Halftime Show, YouTube (Feb. 11, 2025),
https://www.youtube.com/watch?v=KDorKy-13ak&lc=UgwBKfBp8lYoEguEsBR4AaABAg
[https://perma.cc/H6EF-UAKT] (“Drake needs to go hide at Epsteins island for the rest of his life
now!! [laughing emoji]”).
229
   See, e.g., User @tiararoxeanne1318, Comment, NFL (@NFL), Kendrick Lamar’s Apple Music
Super         Bowl       Halftime       Show,     YouTube        (Feb.        10,      2025),
https://www.youtube.com/watch?v=KDorKy-
13ak&lc=Ugwg3awGdmEMxu94BTZ4AaABAg.AEMbTK7A1L0AEMsN10nE0B
[https://perma.cc/P675-LAZT] (“Drake dug his own grave by dating those underage girls. I hope
people made songs about other predators like Harvey Weinstein, R Kelly, Bill Cosby, P. Diddy,
etc. They are deserved to be humiliated.”).
230
    See, e.g., User @stephanieworkman8808, Comment, NFL (@NFL), Kendrick Lamar’s Apple
Music       Super      Bowl     Halftime   Show,      YouTube       (Feb.     11,     2025),
https://www.youtube.com/watch?v=KDorKy-13ak&lc=Ugxt0CanFKEsuNugHCh4AaABAg
[https://perma.cc/K5LG-KDAX] (“Drake is gonna be sitting next to Diddy”); User @cccgnosis7,
Comment, NFL (@NFL), Kendrick Lamar’s Apple Music Super Bowl Halftime Show, YouTube
(Feb.              11,          2025),         https://www.youtube.com/watch?v=KDorKy-
13ak&lc=UgyOx6Fl3EHiAos9Ygt4AaABAg [https://perma.cc/N52M-Y3AN] (“The new P
Diddy [eyes emoji]”); User @Y2kALEX94, Comment, NFL (@NFL), Kendrick Lamar’s Apple
Music       Super      Bowl     Halftime   Show,      YouTube       (Feb.     10,     2025),
https://www.youtube.com/watch?v=KDorKy-13ak&lc=Ugz77Ad_YCxULLS93n14AaABAg
[https://perma.cc/4H2F-CCV9] (“Drake can’t show his face anymore he is the new diddy”).
231
       See, e.g., BEAUTIFUL SPUR (@E4RTHG6NG), X (Feb. 9, 2025),
https://x.com/E4RTHG6NG/status/1888767254445088925 [https://perma.cc/Q5Q6-RMF3] (“the
whole stadium saying ‘a minor’ is crazy, DRAKE KILL YOURSELF”); hero
(@1thousandfaces_),                 X             (Feb.           9,             2025),
https://x.com/1thousandfaces_/status/1888764684263997756  [https://perma.cc/CPF2-JKQF]
(“SAY DRAKE I HEARD YOU LIKE EM YOUNG!!!! with the most evil grin imaginable oh



                                               79
               D.       UMG Promoted the Defamatory Material Through Covert Payments
                        to Third PartiesMeans to Deceive Consumers.

       126.172.         In addition to publishing, marketing, and licensing the Defamatory

Material, on information and belief, UMG also put a thumb on the scale by providing covert

financial incentives to third parties to further spread the lies against Drake.

                      i.       UMG Caused Third Parties to Fake Streams.

       127.    On information and belief, UMG, directly or indirectly through its agents and

making use of UMG resources, conspired with and, paid currently, or caused payments to be made

to unknown third parties to use “bots” to artificially inflate the spread of the Recording on Spotify.

At minimum, UMG was aware that third parties were using bots to stream the Recording and

turned a blind eye, despite having the power to stop such behavior. Bots are software programs

designed to mimic human behavior to appear to be real social media accounts. One individual

whose identity is unknown to Plaintiff revealed publicly on a popular podcast that Kendrick

Lamar’s “label” (i.e., Interscope) paid him via third parties to use “bots” to achieve 30,000,000

streams on Spotify in the initial days following the Recording’s release with the goal of

“jumpstarting” its spread and turning it into “a crazy hit” on the platform.232 UMG’sThe desire to

jumpstart the Recording’s popularity is unsurprising because streams beget more streams. Songs


that pedo is killing himself”); Ellie MYF (@lightningdallon), X (Feb. 9, 2025),
https://x.com/lightningdallon/status/1888765117317177828 [https://perma.cc/G6AV-LV6J] (“an
entire super bowl crowd yelling ‘certified pedophile’ and ‘probably a minor’ so loud you can hear
it through the screen after hearing the entire grammy’s sing it not even a week prior oh drake is
going      to    kill     himself”);     Jay     (@_woodstein),      X     (Feb.     9,    2025),
https://x.com/_woodstein/status/1888765133998248418 [https://perma.cc/7PAW-PNNY] (“The
whole crowd singing a minor is actual crazy work I would kill myself immediately if I was
Drake”).
232
    Jambisco Don (@JambiscoDon), Kendrick Lamar EXPOSED by DJ Akademiks and HACKER
Epic         for     BOT       streams,      YouTube      (June      18,      2024),
https://www.youtube.com/watch?si=PoazLqeHTyBePEiq&v=rcsW2wteW0c&feature=youtu.be
[https://perma.cc/8QKB-MX9V].


                                                  80
identified as top-streamers land on “most popular” lists and playlists, which leads to more streams

(and therefore more licensing requests, more purchases, more partnerships, and ultimately, more

money for UMG).

          128.173.       The whistleblower described Spotify as the easiest platform “to bot”

because it does not, like other streaming platforms, have certain security measures “when it comes

to bot protection.”233 The whistleblower further revealed that, on May 6, 2024, an individual

affiliated with Interscope sent him a payment of $2,500 via the digital payment platform Zelle, and

that he was promised another $2,500 and a percentage of the Recording’s total sales for the initial

push.234).

          129.174.       “Fake” streams are a well-known problem across the music industry. In

2023, The Financial Times reported that experts estimated that as much as 10 percent of all music

streams are “fake” or derived from bots and streaming farms,235 where devices run services like

Spotify and other streaming platforms on loop.236 Universal Music, Spotify, and Apple Music,

among others, participated in a study at the request of the French parliament, which found that

between 1 billion and 3 billion fake streams took place on popular music platforms in 2021.237



233
      Id. at 14:15-14:23, 15:06-15:08.
234
      Id. at 04:14-04:33, 06:52-07:02, 34:36-35:12.
235
   For a video of what a streaming farm allegedly looks like, see Now This, TikTok (Apr. 5, 2024),
https://www.tiktok.com/@nowthis/video/7354493993964539178 [https://perma.cc/5FV9-F5Z9].
236
   Anna Nicolaou, The incredible resilience of the music industry, Financial Times (Sept. 8, 2023),
https://www.ft.com/content/b85ab5af-bd03-4da8-971a-316e7c7897dc [https://perma.cc/S6LP-
R223].
237
    Study: Stream Manipulation, at 46, Ctr. Natl De La Musique (2021), https://cnm.fr/wp-
content/uploads/2023/01/2023_-CNM-_Manipulation-des-streams_ENG.pdf
[https://perma.cc/B8WH-7GCR]; see also Morgan Meaker, One Man’s Army of Streaming Bots
Reveals      a     Whole     Industry’s    Problem,    Wired    (Mar.      21,     2024),
https://www.wired.com/story/streaming-bots-spotify/



                                                 81
       130.175.        Publicly, Spotify has stated that it is aware of the issue of bots on its

platform and is actively working to address it. In response to Drake’s pre-litigation filing in New

York state court, Spotify explained that it “invests heavily in automated and manual reviews to

prevent, detect, and mitigate the impact of artificial streaming on its platform.”238 Recently, Chart

Data, which reports on music news, reported that Spotify has been removing botted streams from

its platform over the last several months.239

                       ii.     UMG Offered Undisclosed Financial Incentives to Promote the
                               Recording.

       176.    In June 2024, one podcast host stated, “Not only do I not care that he [Kendrick

Lamar] used bots, but I knew he did.”240 In a podcast clip posted to his YouTube channel on June

23, 2024, he continued, “Ya’ll didn’t know that Kendrick used bots? You thought that this was

just the first time miraculously that a Drake record ever had more dislikes than likes? Or you

‘didn’t know’ that that was bots. Bots to me was a part of how you win the war versus Drake.”




[https://web.archive.org/web/20250114134159/https://www.wired.com/story/streaming-bots-
spotify/].
238
    See Spotify USA, Inc.’s Memorandum of Law in Opposition to Verified Petition at 5 n.5, In
the Matter of the Application of, FROZEN MOMENTS, LLC et al., Docket No. 161023/2024 (N.Y.
Sup. Ct. Dec. 20, 2024). Spotify represented that it “found no evidence to substantiate” that bots
streamed the Recording 30 million times in the days after initial publication.
239
    See Gabriel Bras Nevares, Spotify Cracks Down On Botted Streams But Won't Reveal Which
Artists They Punished, Hot New Hip Hop (Apr. 4, 2025), https://www.hotnewhiphop.com/899717-
spotify-botted-streams-wont-reveal-artists-punished-music-news
[https://web.archive.org/web/20250416164117/https://www.hotnewhiphop.com/899717-spotify-
botted-streams-wont-reveal-artists-punished-music-news] (“According to chart data, [Spotify]
removed ‘notable streaming volume’ from songs across all genres for the third month in a row, a
consistent practice they began this February.”).
240
    Joe Budden TV (@joebuddentv), Joe Budden Doesn’t Care That Kendrick Lamar Used Bots
for      ‘Not   Like    Us’,    at    2:08–2:40,    YouTube      (June    23,    2024),
https://www.youtube.com/watch?v=3B8Smb3nJrc [https://perma.cc/XFC6-CLJD].


                                                 82
       177.    Other users online exposed the “marketing” of the Recording through bots and

payments to influencers following Plaintiff’s pre-action filings in New York and Texas state

courts. In subsequently deleted posts on November 24, 2025, a social media user claimed to have

knowledge of paid promotion of the Recording. In response to a comment on X that “Kendrick

was buying promo,” the user responded, “Was?” The user continued that there was a “slow ass

digital marketer paying to clown the suit” and that UMG would “push blame” to the digital

marketer “once the suit takes place” after “let[ting] the paid promo fly for months lol[.]” In other

deleted posts, the user claimed that “paid promo for pushing the lawsuit [Drake’s lawsuit against

UMG]” was “already happening” and that the alleged digital marketer “is psychotic.”

       178.    Another social media user posted a video on X, claiming to demonstrate how to use

a bot streamer for songs hosted on Spotify. In the post, the user claimed “[t]his is the Streaming

Bot that UMG and Kendrick Lamar use to boost Not Like Us streams in the beef with Drake” and

“I use to be a stream farmer but I’ve since retired.”241

       179.    On information and belief, UMG also provided financial incentives to streaming

platforms to promote the Recording, including by charging Spotify lower than usual licensing rates

for the Recording in exchange for Spotify affirmatively recommending the Recording to users who

are searching for other unrelated songs and artists.242




241
          Poetik     Flakko        (@FlakkoPoetik),     X        (Nov.     25,      2024),
https://x.com/FlakkoPoetik/status/1861208821302952313 [https://perma.cc/VK7G-3RL8].
242
    Spotify has denied that UMG charged Spotify “licensing rates 30 percent lower than its usual
licensing rates,” but has not made any public statements regarding the veracity of allegations that
UMG charged Spotify licensing rates at some other lower percentage or conferred financial
benefits through some other mechanism. See Spotify USA, Inc.’s Memorandum of Law in
Opposition to Verified Petition, In the Matter of the Application of, FROZEN MOMENTS, LLC et
al., Docket No. 161023/2024 (N.Y. Sup. Ct. Dec. 20, 2024).


                                                 83
            180.   Third parties have documented strange recommendations in searches on Spotify.

On July 3, 2024, a user posted a video on X of a man typing “Eminem” into Spotify’s search

engine and the Recording appearing as a suggested search result.243 The user captioned the post,

“It doesn’t matter what you search on Spotify you’ll see ‘Not Like Us’ pop up. Spotify picked

their side, and their algorithm is proof.”244 Other users described similar experiences.245 And

since the initiation of this lawsuit, some Spotify users have raised concerns about the Recording

appearing in results when searching for new releases by Drake or for other artists.246 Relatedly, in

the days following the release of Drake’s new album “Some Sexy Songs 4 U” on February 14,

2025, some users reported not being able to find the new release when searching on Spotify.247

            181.   Recommended songs, search results, and promoted playlists play a role in

determining which music users will be exposed to and ultimately consume. An article discussing

the harms of payola on music consumers describes that by including songs in suggested playlists,

Spotify and other streaming services “represent to the listening public that the song has been

chosen because it is uniquely aligned to that listener’s tastes or the playlist mood, and that the

expert curator has judged the song to possess artistic excellence.”248


243
            Keep6ixsolid        (@keep6ixsolid),      X          (July     3,       2024),
https://x.com/keep6ixsolid/status/1808529064673837434 [https://perma.cc/N4GE-NKJC].
244
      Id.
245
            Dom         (@Underrated_Dom),        X       (July         3,        2024),
https://x.com/Underrated_Dom/status/1808662039352783355?mx=2    [https://perma.cc/4CJV-
Y6LD].
246
         See,   e.g., Members       (@OVOmembers),        X      (Feb.    15,   2025),
https://x.com/OVOmembers/status/1890773161873961078 [https://perma.cc/4XZ4-66GQ].
247
         See,     e.g.,     Badnis     (@coolmike00),      X       (Feb.   15,    2025)
https://x.com/coolmike00/status/1890854402090492324 [https://perma.cc/XQ9G-VKLR].
248
   Kasi Wautlet, Playlists As Endorsements: An Argument for Continued Payola Regulation in
the Internet Age, 76 N.Y.U. ANN. SURV. AM. L. 821, 862 (2021); see also Christine Smith Burton,



                                                 84
            182.   On information and belief, UMG employed a similar scheme by paying social

media influencers to promote and endorse the Recording and Video. As just one example, Plaintiff

understands that UMG paid, directly or indirectly, the popular NFR Podcast to promote the

Recording and Video without disclosing the payment. As part of its deal with UMG, the NFR

Podcast publicly published podcast episodes, tweets, and other content about the Recording.

            183.   On information and belief, UMG caused Apple Inc. to have its voice-activated

digital assistant “Siri” purposely misdirect users requesting other songs to instead stream the

Recording.249 Online sources reported that when users asked Siri to play the album “Certified

Loverboy” by Drake, Siri instead played the Recording.250

            131.184.     On information and belief, UMG also offered financial incentives,

including direct payments and reduced licensing rates, to various third parties to promote the

Recording. on the radio. These financial benefits were never disclosed to consumers. According

to confidential sources recently made known to Drake, certain UMG labels have engaged in pay-

for-play arrangements with radio and streaming services to boost the popularity of specific songs,

and used bots to artificially inflate streaming numbers. .

            132.185.     Drake has also received information that UMG engaged in a classic pay-

for-play scheme by paying to increase the air play of the Recording on the radio, including radio

stations in New York. Specifically, Drake has received information that at least one member of




‘Playola’ and Fraud on Digital Music Platforms: Why Legislative Action is Required to Save the
Music Streaming Market, 16 J. Bus. & Tech. L. 387, 390-–92 (2021).
249
   See Armon Sadler, Fans Discover Siri Plays Kendrick Lamar’s “Not Like Us” On Spotify When
They Ask For Drake’s ‘Certified Lover Boy’, VIBE (July 11, 2024),
https://www.vibe.com/news/entertainment/siri-not-like-us-spotify-certified-lover-boy-
1234895147/ [https://perma.cc/N9Y7-G5BA].
250
      Id.


                                                85
UMG’s radio promotion team made payments to an independent radio promotor who agreed to

transfer those payments to radio stations and/or radio station employees in exchange for those

radio stations playing the Recording.      On information and belief, this practice was more

widespread than one member of the UMG radio promotion team. This “pay to play” practice,

known as “payola,” is prohibited by the Communications Act of 1934 (see 47 U.S.C. §§ 317, 508),

and has been the subject of regulatory scrutiny by a number of Executive agencies.251

       133.186.       In 2006, UMG agreed to pay $12 million in a settlement with the New York

Attorney General following an investigation involving accusations that UMG executives had used

a broad array of “pay for play” tactics to secure radio airplay for music.252 In connection with

UMG’s settlement, the then-New York Attorney General explained, “Consumers have a right not

to be misled about the way in which the music they hear on the radio is selected.”253 He continued:

“Pay-for-play makes a mockery of claims that only the ‘best’ or ‘most popular’ music is




251
    Payola in the music industry remains a top priority for the federal government. For example,
in January 2020, the Federal Communications Commission sent a letter to three music companies,
including Universal Music Group, seeking prompt information regarding each company’s
practices to prevent payola, any payola violations, and arrangements for promoting music on the
radio. Letter from Comm’r of Fed. Comm. Comm’n to Sony Music Ent., Warner Music Grp. &
Universal Music Grp. (Jan. 16, 2020), https://docs.fcc.gov/public/attachments/DOC-
361998A1.pdf                                                              [https://perma.cc/5CH4-
R2GL].https://web.archive.org/web/20250215152141/https://docs.fcc.gov/public/attachments/D
OC-361998A1.pdf].
252
    Jeff Leeds, Universal Music Settles Big Payola Case, N.Y. Times (May 12, 2006),
https://www.nytimes.com/2006/05/12/business/12payola.html?smid=url-share
[https://web.archive.org/web/20240131004539/https://www.nytimes.com/2006/05/12/business/1
2payola.html].
253
     Universal Music Group settles payola case, NBC News (May 11, 2006),
https://www.nbcnews.com/id/wbna12740147
[https://web.archive.org/web/20220501154735/https://www.nbcnews.com/id/wbna12740147].


                                                86
broadcast.”254 Separately, in 2005, UMG was sued by two radio promotion companies alleging

fraudulent pay-for-play practices.255

            134.187.      It remains an open secret within the music industry that power players, like

UMG, are continuing to engage in payola. In November 2024, New York radio deejay FunkMaster

Flex released an alleged pricelist for payola on radio stations: $350,000 for pop radio, $250,000

for “urban” radio, $100,000 for a mix show, and $3,000 to $5,000 per song for local DJs.256 Other

whistleblowers in the music industry have similarly confirmed the use of widespread payola, with

some claiming to have proof.

            135.   On information and belief, UMG also provided financial incentives to streaming

platforms to promote the Recording. On information and belief, UMG charged Spotify lower than

usual licensing rates for the Recording in exchange for Spotify affirmatively recommending the

Recording to users who are searching for other unrelated songs and artists.257




254
      Id.
255
   UMG Sued For Fraud, Pollstar (Apr. 28, 2005), https://news.pollstar.com/2005/04/28/umg-
sued-for-fraud/ [https://perma.cc/6QH7-T8K2].
256
          Funk      Flex       !!!!!     (@funkflex),     X      (Nov.       26,  2024),
https://x.com/funkflex/status/1861538244279836877 [https://perma.cc/EMM7-4LDT]; Demicia
Inman, Funkmaster Flex Claims “Drake Is 100% Right” About Payola Following Accusations
Against          UMG,           Spotify,       VIBE         (Nov.         27,     2024),
https://www.vibe.com/news/entertainment/funkmaster-flex-drake-right-about-payola-
1234954728/ [https://perma.cc/V7AP-Q76N].
257
    Spotify has denied that UMG charged Spotify “licensing rates 30 percent lower than its usual
licensing rates,” but has not made any public statements regarding the veracity of allegations that
UMG charged Spotify licensing rates at some other lower percentage on conferral of financial
benefit through some other mechanism. See Spotify USA, Inc.’s Memorandum of Law in
Opposition to Verified Petition, In the Matter of the Application of, FROZEN MOMENTS, LLC et
al., Docket No. 161023/2024 (N.Y. Sup. Ct. Dec. 20, 2024).


                                                   87
       188.    In February of this year, the Federal Communications Commission (“FCC”)

released an enforcement advisory regarding “covert manipulation” of airplay on radio stations258

following congressional interest in an alleged scheme of payola violations.259 Later that month,

the FCC sent iHeartMedia, Inc., a mass media company and owner of the iHeartRadio network, a

demand for information about iHeart’s compliance with federal payola laws.260 In the aftermath

of the these FCC actions, certain commentators have speculated as to whether Spotify’s

promotional practices will face similar regulatory scrutiny.261

       136.    Third parties have documented strange recommendations in searches on Spotify.

On July 3, 2024, a user posted a video on X of a man typing “Eminem” into Spotify’s search




258
    Covert Manipulation of Radio Airplay Based on Artist Participation in Promotions or Event
Violates FCC Payola Rules, FCC Enforcement Advisory, DA 25-104 (2025),
https://docs.fcc.gov/public/attachments/DA-25-104A1.pdf
[https://web.archive.org/web/20250401024628/https://docs.fcc.gov/public/attachments/DA-25-
104A1.pdf].
259
   Letter from Marsha Blackburn, U.S. Senator, to Brendan Carr, Chairman, FCC (Jan. 30, 2025),
https://www.blackburn.senate.gov/services/files/76DB8D6E-EF84-4C26-BA17-
B5194048D1DD
[https://web.archive.org/web/20250308221215/https://www.blackburn.senate.gov/services/files/
76DB8D6E-EF84-4C26-BA17-B5194048D1DD].
260
    Letter from Brendan Carr, Chairman, FCC, to Robert Pittman, Chairman and CEO,
iHeartMedia, Inc. (Feb. 24, 2025), https://docs.fcc.gov/public/attachments/DOC-409718A1.pdf
[https://web.archive.org/web/20250313061623/https://docs.fcc.gov/public/attachments/DOC-
409718A1.pdf].
261
    Chris Castle, FCC investigates iHeart for Payola. Is Spotify next?, Hypebot (Fe. 27, 2025),
https://www.hypebot.com/hypebot/2025/02/fcc-investigates-iheart-for-payola-is-spotify-
next.html
[https://web.archive.org/web/20250316021409/https://www.hypebot.com/hypebot/2025/02/fcc-
investigates-iheart-for-payola-is-spotify-next.html] (originally published as Chris Castle, iHeart
Being Investigated for Payola: “That’s a nice rekud ya got thea, be a shame if sumpin happened
to it…” Is Spotify next?, Music Technology Policy (Feb. 26, 2025),
https://musictechpolicy.com/2025/02/26/iheart-being-investigated-for-payola-thats-a-nice-rekud-
ya-got-thea-be-a-shame-if-sumpin-happened-to-it-is-spotify-next/).


                                                88
engine and the Recording appearing as a suggested search result.262 The user captioned the post,

“It doesn’t matter what you search on Spotify you’ll see ‘Not Like Us’ pop up. Spotify picked

their side, and their algorithm is proof.”263 Other users described similar experiences.264

            137.   Recommended songs, search results, and promoted playlists play a role in

determining which music users will be exposed to and ultimately consume. An article discussing

the harms of payola on music consumers describes that by including songs in suggested playlists,

Spotify and other streaming services “represent to the listening public that the song has been

chosen because it is uniquely aligned to that listener’s tastes or the playlist mood, and that the

expert curator has judged the song to possess artistic excellence.”265

            138.   On information and belief, UMG paid to use “bots” to stream the Video.

            139.   On information and belief, UMG employed a similar scheme by paying social

media influencers to promote and endorse the Recording and Video. As just one example, Plaintiff

understands that UMG paid, directly or indirectly, the popular NFR Podcast to promote the

Recording and Video without disclosing the payment. As part of its deal with UMG, the NFR

Podcast publicly published podcast episodes, tweets, and other content about the Recording.

            140.1. On information and belief, UMG conferred financial benefits to Apple Inc. to have

its voice-activated digital assistant “Siri” purposely misdirect users requesting other songs to


262
            Keep6ixsolid        (@keep6ixsolid),      X          (July     3,       2024),
https://x.com/keep6ixsolid/status/1808529064673837434 [https://perma.cc/N4GE-NKJC].
263
      Id.
264
            Dom         (@Underrated_Dom),        X       (July         3,        2024),
https://x.com/Underrated_Dom/status/1808662039352783355?mx=2    [https://perma.cc/4CJV-
Y6LD].
265
   Kasi Wautlet, Playlists As Endorsements: An Argument for Continued Payola Regulation in
the Internet Age, 76 N.Y.U. ANN. SURV. AM. L. 821, 862 (2021); see also Christine Smith Burton,
‘Playola’ and Fraud on Digital Music Platforms: Why Legislative Action is Required to Save the
Music Streaming Market, 16 J. Bus. & Tech. L. 387, 390-–92 (2021).


                                                   89
instead stream the Recording.266 Online sources reported that when users asked Siri to play the

album “Certified Loverboy” by Drake, Siri instead played the Recording.267

                  iii.E. UMG Took Other Unprecedented Steps to Promote the Defamatory
                        Material.

            141.189.    On May 4, 2024, UMG removed the Recording’s copyright restrictions on

YouTube and Twitch, thereby “whitelisting” the Recording.268 On information and belief, this

action was directed by Interscope’s Executive Vice President and Head of Digital Marketing

Ramon Alvarez-Smikle. This whitelisting was done purposely and with the full knowledge of

UMG for the purpose of spreading the Recording, and its defamatory content, as broadly as

possible and as quickly as possible.

            142.190.    UMG has a formal ban on whitelisting and had never before whitelisted a

song on any platform, to Plaintiff’s knowledge. In and around June 2024, UMG reinstituted the

copyright restrictions on the Recording.

            143.191.    The effect of whitelisting the Recording was massive and immediate. Able

to play the Recording in full in their own videos and to profit from them, content creators rushed

to republish the Recording in “reaction-videos.” As just a few examples:




266
   See Armon Sadler, Fans Discover Siri Plays Kendrick Lamar’s “Not Like Us” On Spotify When
They Ask For Drake’s ‘Certified Lover Boy’, VIBE (July 11, 2024),
https://www.vibe.com/news/entertainment/siri-not-like-us-spotify-certified-lover-boy-
1234895147/ [https://perma.cc/N9Y7-G5BA].
267
      Id.
268
    Lavender Alexandria, Kendrick Lamar Praised for Dropping Copyright Claims on Creators
Discussing    His    New      Songs,   Hot    New      Hip   Hop     (May     8,   2024),
https://www.hotnewhiphop.com/798941-kendrick-lamar-cupyright-claims-removed-hip-hop-
news [https://web.archive.org/web/20240720095554/https://www.hotnewhiphop.com/798941-
kendrick-lamar-cupyright-claims-removed-hip-hop-news].


                                               90
            •   The CartierFamily, whose YouTube channel has 1.4451 million subscribers,
                posted a video depicting the Image and using the Recording.269 As of the date
                of this filing, the video has 2.4 million views.




            •   Twitch streamer No Life Shaq posted a 14.5-minute clip of his reaction to the
                Recording on his YouTube channel, which has 4.7584 million subscribers.270
                As of the date of this filing, the video has 5.39 million views.

            •   Youtuber Zias! posted a 15-minute video of his reaction to the Recording on
                his YouTube channel, which has 4.945 million subscribers.271 As of the date
                of this filing, the video has 6.67.5 million views.




269
     CartierFamily (@TheOfficialCartierFamily), KENDRICK LAMAR - Not Like Us
(REACTION!!!), YouTube (May 4, 2024), https://www.youtube.com/watch?v=6rsjobIbCtM
[https://perma.cc/ESL8-LPYV].
270
    No Life Shaq (@NoLifeShaq), HE MADE A CLUB BANGER DISSTRACK! | KENDRICK
LAMAR       -   Not    Like   Us   (REACTION!!!),     YouTube    (May   4, 2024),
https://www.youtube.com/watch?v=Nyk1cTp7YUw [https://perma.cc/R6VL-A5UY].
271
   ZIAS! (@zias7937), KENDRICK LAMAR - NOT LIKE US REACTION, YouTube (May 5,
2024), https://www.youtube.com/watch?v=gNBE0Mcsp9k [https://perma.cc/JZ77-6KHZ].


                                            91
             •   On May 5, 2024, Twitch streamer RDC Gaming posted his reaction by
                 depicting the Image and using the Recording.272 As of the date of this filing,
                 the video has over 4.5 million views.




             •   Twitch streamer Kai Cenat posted a 20-minute video of his reaction to the
                 Recording on his YouTube channel, which has 11.612.5 million subscribers.273




272
   RDC Live (@RDCLive1), RDC Reacts to Kendrick Lamar - Not Like Us, YouTube (May 5,
2024), https://www.youtube.com/watch?v=0Kb4xLyPYgw [https://perma.cc/8LAD-7UPU].
273
    Kai Cenat Live (@KaiCenatLive), Kai Cenat Reacts to Kendrick Lamar - Not Like Us,
YouTube       (May    6,  2024),    https://www.youtube.com/watch?v=iVelBKQvzx4&t=1s
[https://perma.cc/9PX8-7GBR].


                                             92
                     The video’s thumbnail depicts the Image. As of the date of this filing, the video
                     has over 910 million views.




          144.192.      These content creators could not have legally republished the Defamatory

Material in full or profited from their reaction videos without UMG first whitelisting the

Recording. Within days of UMG whitelisting the Recording, content-creators were thanking

Lamar for lifting the copyright restrictions.274

          145.   On information and belief, UMG also paid influencers on Instagram and X to post

content about the Defamatory Material for the purpose of spreading the content to larger audiences.




274
      Alexandria, supra note 252.


                                                   93
       193.    Reactors Kai Cenat,275 No Life Shaq,276 DJ Akademiks,277 ImDOntai,278 and Jon

Denton279 have confirmed that UMG did not make efforts to copyright strike or otherwise

demonetize their videos about the Recording in the initial days following its release.

               E.F.   UMG’s Media Campaign Successfully Spreads the Defamatory
                      Material to Billions.

       146.194.       UMG’s campaign to spread the Defamatory Material was successful. On

May 4, 2024, the Recording set a new record for the most single-day streams for a rap song in the

U.S.—13 million in 24 hours.280 Within the first week, the Recording debuted at No. 1 on the

Billboard Hot 100 list, with 70.9 million official streams and 5 million radio airplay audience




275
    KaiCenat, ANOTHER DAY , ANOTHER STREAM, at 39:45–57:00, Twitch (Jan. 16, 2025);
https://www.twitch.tv/videos/2355342706 [https://perma.cc/9M6Q-9TC6] (confirming that his
videos about the Recording were monetized after its initial release).
276
    No Life Shaq (@NoLifeShaq), THE BEEF IS OVER...SO KENDRICK LAMAR DID THIS!, at
03:45–06:33, YouTube (May 7, 2024), https://www.youtube.com/watch?v=7oNNr76bUqY
[https://perma.cc/W57G-UWWA].
277
   MoreZIAS (@MoreZias), Zias & DJ Akademiks Talk About The Drake Lawsuit…, at 09:39–
11:15;       12:14–13:00,       13:52–14:20,     YouTube         (Jan.      16,     2025),
https://www.youtube.com/watch?v=Np04LBpFaco                 [https://perma.cc/7Z5V-N2XZ];
HipHopPrints.com          (@HipHopArtPrints),       X         (May          8,      2024),
https://x.com/HipHopArtPrints/status/1788058823258747324 [https://perma.cc/ZU8K-XWRS].
278
    ImStillDontai (@ImStillDontai.), ImDOntai Reacts To Drake Calling Kai RDC Shaq Zias &
CF        SELLOUTS,        at      06:21–06:51,     YouTube       (Jan.     16,    2025),
https://www.youtube.com/watch?v=4DR3it1i4n0 [https://perma.cc/QS8P-XJPC].
279
           Jon       Denton         (@JonDenton),          X         (May         6,       2024),
https://x.com/JonDenton/status/1787393525862023232                 [https://perma.cc/J3R6-EKFC]
(“Kendrick has just gone around and released all the automatic content claims on the reactions to
his tracks (meaning we can actually earn a couple of quid on them going forward) No one has ever
done that ever by the way.”).
280
    Perrin Kapur, Kendrick Lamar’s ‘Not Like Us’: All records broken so far, Sportskeeda (May
15, 2024), https://www.sportskeeda.com/us/music/kendrick-lamar-s-not-like-us-all-records-
broken-far
[https://web.archive.org/web/20240612184633/https://www.sportskeeda.com/us/music/kendrick-
lamar-s-not-like-us-all-records-broken-far].


                                                94
impressions.281 Just one week later, the Recording broke the record for the most streamed song in

a 7-day period—96 million streams.282

            147.195.   After UMG published the Video, the Recording returned to the No. 1 spot

on the Billboard Hot 100.283 In the week after the Video’s publication, the Recording was streamed

an additional 53.8 million times and played on the radio an additional 40 million times.284 And

from July 4 to August 8, 2024, the Video ranked first on YouTube’s Weekly Top Music Videos

chart.285 On August 6, 2024, the Video earned an MTV Video Music Award nomination for Song

of the Year.286

            148.196.   The Recording has maintained its popularity in the months since. On

October 7, 2024, Billboard reported that the Recording had reached “45.4 million in total audience

impressions” on radio with “15 nonconsecutive weeks in charge of the R&B/Hip-Hop Airplay




281
   Gary Trust, Kendrick Lamar’s ‘Not Like Us’ Blasts In at No. 1 on Billboard Hot 100, Billboard
(May 13, 2024), https://www.billboard.com/lists/kendrick-lamar-not-like-us-hot-100-number-
one-debut/not-like-us-no-1/ [https://perma.cc/TLZ3-M2EY].
282
   Cedric Thorton, Kendrick Lamar’s ‘Not Like Us’ Breaks Streaming Record, Passes Cardi B
and Taylor Swift, Black Enterprise (May 16, 2024), https://www.blackenterprise.com/kendrick-
lamar-not-like-us-streaming-record/ [https://perma.cc/3PU3-WPDD].
283
   Gary Trust, Kendrick Lamar’s ‘Not Like Us’ Returns to No. 1 on Billboard Hot 100, Billboard
(July 15, 2024), https://www.billboard.com/lists/kendrick-lamar-not-like-us-number-one-second-
week-hot-100/ [https://perma.cc/8S56-42CT].
284
      Id.
285
        Weekly     Top    Music     Videos,    YouTube      Charts     (Aug.  22,   2024),
https://charts.youtube.com/charts/TopVideos/us/weekly [https://perma.cc/ALX7-ZVDS].
286
   Demicia Inman, Kendrick Lamar’s “Not Like Us” Nominated for Song of the Year at 2024
VMAs, VIBE (Aug. 6, 2024), https://www.vibe.com/news/events/2024-vma-nominations-
kendrick-lamar-1234903011/ [https://perma.cc/R5YR-NUFX].


                                               95
list.”287 And the Recording remains aspent at least 24 weeks on the “Top 40” hit oncharts for New

York-based stations Z100 and Power 105.1.288

       149.197.       Rolling Stone reflected that “with its catchy beat and incendiary lyrics

labeling Drake a pedophile, Kendrick Lamar’s latest hit is arguably the biggest moment in music

this year” and described the “vicious Drake diss” as “inescapable.”289 Pitchfork called the lyric

“Certified Lover Boy? Certified pedophiles” the “defining lyric of the decade so far.”290




287
    Trevor Anderson, Kendrick Lamar’s ‘Not Like Us’ Breaks Record for Most Weeks at No. 1 on
Hot Rap Songs Chart, Billboard (Oct. 7, 2024), https://www.billboard.com/music/chart-
beat/kendrick-lamar-not-like-us-number-1-record-rap-songs-chart-1235794635/
[https://perma.cc/4XBV-SUQG].
288
    As of Jan. 4, 2025, the Recording has spent at least 24 weeks on the city’s top radio stations’
Top 40 charts.         See TOP 40 – January 4, 2025, z100 NY (Jan. 4, 2025),
https://z100.iheart.com/charts/top-40-238/january-4-2025/
[https://web.archive.org/web/20250111163459/https://z100.iheart.com/charts/top-40-
238/january-4-2025/]; Top 40 – January 4, 2025, Power 105.1 (Jan. 4, 2025),
https://power1051.iheart.com/charts/top-40-238/january-4-2025/ (last visited Jan. 14,
2025);[https://web.archive.org/web/20250115203140/https://power1051.iheart.com/charts/top-
40-238/january-4-2025/]; TOP 40 - November 16, 2024, Power 105.1 (Nov. 16, 2024),
https://power1051.iheart.com/charts/top-40-238/november-16-2024/        [https://perma.cc/6Y4W-
Y3L2].
289
   Ethan Millman, What’s the Song of the Summer? Let’s Do the Math, Rolling Stone (July 28,
2024), https://www.rollingstone.com/music/music-lists/song-of-the-summer-1235061379/charli-
xcx-360-1235063506/ [https://perma.cc/79AH-KT63] (emphasis added).
290
     The 100 Best Songs of the 2020s So Far, Pitchfork (Sept. 30,                           2024),
https://pitchfork.com/features/lists-and-guides/the-100-best-songs-of-the-2020s-so-far/
[https://web.archive.org/web/20250111164915/https://pitchfork.com/features/lists-and-
guides/the-100-best-songs-of-the-2020s-so-far/].


                                                96
       198.   In the week following the Super Bowl Performance, the Recording again reached

number one on Billboard’s top 100.291 And in the hours after the Super Bowl Performance, the

Recording’s streams increased by 430% on Spotify.292

       150.199.      The Defamatory Material has become ubiquitous—not just in the rap

community, but in the community at large. ItThe Defamatory Material has been heard and/or

viewed nearly 6over 9 billion times.

       151.200.      As just a few examples of the content’s broad reach, Joe Rogan discussed

the Recording and allegations against Drake on his hugely popular podcast “The Joe Rogan

Experience”293 (with 14.5 million followers on Spotify alone as of March 2024)294 as did NPR’s

podcast “Pop Culture Happy Hour.”295

       201.   With every play, stream, listen, view, and mention, UMG has profited.




291
    Ethan Millman, Kendrick Lamar’s ‘Not Like Us’ Tops The Charts After Super Bowl
Performance, Rolling Stone (Feb. 18, 2025), https://www.rollingstone.com/music/music-
news/kendrick-lamars-not-like-us-tops-billboard-chart-after-super-bowl-performance-
1235265765/
[https://web.archive.org/web/20250221023148/https://www.rollingstone.com/music/music-
news/kendrick-lamars-not-like-us-tops-billboard-chart-after-super-bowl-performance-
1235265765/].
292
    Jem Aswad, Kendrick Lamar’s Streams for ‘Not Like Us’ Soar 430% on Spotify After Super
Bowl        Halftime     Show,       Variety      (Feb.      10,      2025,     7:51      AM),
https://variety.com/2025/digital/news/kendrick-lamar-not-like-us-streams-soar-spotify-super-
bowl-halftime-1236302565/
[https://web.archive.org/web/20250320122123/https://variety.com/2025/digital/news/kendrick-
lamar-not-like-us-streams-soar-spotify-super-bowl-halftime-1236302565/].
293
     #2146 – Deric Poston, The Joe Rogan Experience, Spotify (May 7, 2024),
https://open.spotify.com/episode/6grygvRaF8UnhlXXpIdxPf [https://perma.cc/G2QV-CZ4B].
294
   Ashley Carman, Spotify Reveals Joe Rogan’s Podcast Numbers, Bloomberg (Mar. 21, 2024),
https://www.bloomberg.com/news/newsletters/2024-03-21/spotify-reveals-podcast-numbers-for-
joe-rogan-alex-cooper-travis-kelce [https://perma.cc/F9P2-SSE6].
295
   Pop Culture Happy Hour, We process the explosive Drake-Kendrick beef, NPR (May 9, 2024),
https://www.npr.org/transcripts/1197964460 [https://perma.cc/JK9R-RGED].


                                             97
       152.202.       Of all the songs published during the rap beef, the Recording is the only one

that “broke through the noise” and achieved cultural ubiquity.296

       UMG PROMOTED THE DEFAMATORY MATERIAL WITH KNOWLEDGE OF
       OR RECKLESS DISREGARD FOR ITS FALSITY AND KNOWLEDGE THAT IT
            WAS REASONABLY FORESEEABLE TO CAUSE DRAKE HARM

       153.203.       Just as UMG knew that the allegations in the Defamatory Material were

false at the time it first published the Recording, Image, and Video, see supra ¶¶ 88–94120–26,

UMG knew the allegations were false throughout its months-long campaign to promote the

material, which continues through the date of this Complaint. UMG also promoted the Defamatory

Material with full knowledge that Drake had already suffered significant harm and that additional

harm to Drake was reasonably foreseeable.




296
          See            Drake,      Push     Ups       (Apr.       19,       2024),    Spotify,
https://open.spotify.com/track/3eh51r6rFWAlGQRlHx9QnQ             [https://perma.cc/N25J-RXH3]
(listing over 191 million streams); Drake (@DrakeOfficial), Push Ups, YouTube (Apr. 19, 2024),
https://www.youtube.com/watch?v=HKH9p19PRLA [https://perma.cc/4MRV-P53H] (over 27
million views); Kendrick Lamar, Euphoria (Interscope Records, Apr. 30, 2024), Spotify,
https://open.spotify.com/track/77DRzu7ERs0TX3roZcre7Q           [https://perma.cc/GR8Q-C2NS]
(listing over 373 million streams); Kendrick Lamar (@kendricklamar), Kendrick Lamar –
euphoria, YouTube (Apr. 30, 2024), https://www.youtube.com/watch?v=NPqDIwWMtxg
[https://perma.cc/S94F-BADK] (over 73 million views); Drake, Family Matters (May 3, 2024),
Spotify, https://open.spotify.com/track/1wFFFzJ5EsKbBWZriAcubN [https://perma.cc/QEB9-
W2C2] (listing over 148 million streams); Drake (@DrakeOfficial), DRAKE – FAMILY
MATTERS, YouTube (May 3, 2024), https://www.youtube.com/watch?v=ZkXG3ZrXlbc
[https://perma.cc/5ASR-LYNQ] (over 45 million views); Kendrick Lamar, meet the grahams
(Interscope             Records,           May           3,             2024),          Spotify,
https://open.spotify.com/track/4S8PxReB1UiDR2F5x1lyIR            [https://perma.cc/2Y95-KBTX]
(listing over 150 million streams); Kendrick Lamar (@kendricklamar), meet the grahams,
YouTube         (May        3,     2024),     https://www.youtube.com/watch?v=2QiFl9Dc7D0
[https://perma.cc/8C89-GC7J] (over 46 million views); Drake (@DrakeOfficial), THE HEART
PART 6 – DRAKE, YouTube (May 5, 2024), https://www.youtube.com/watch?v=HJeY-FXidDQ
[https://perma.cc/K6P7-6YS5] (listing 25 million views). Stream and view count as of the date of
this filing.


                                               98
       154.204.        UMG’s relentless promotional campaign is more egregious in light of the

fact that Drake has specifically informed UMG, repeatedly, of the falsity of the allegations and the

harm he is suffering as a result.

       155.205.        On July 24, 2024, Drake (via counsel) sent a letter to Universal Music’s

General Counsel and Head of Litigation about the Recording, which explained that the Defamatory

Material “falsely accused” Drake “of engaging in criminal acts, including sex trafficking,

pedophilia, and/or other acts that would require registering as a sex offender.” The letter made

clear that UMG’s actions were causing Drake concrete and substantial harm and specifically

referenced the armed attack on Drake’s Toronto house on May 7, 2024. The letter demanded

UMG preserve its records in the event litigation was necessary, and cautioned that “UMG’s

involvement in perpetuating a false, inflammatory, and dangerous conspiracy theory about one of

its own artists is shocking, and tortious under a variety of laws of both Canada and the United

States.”

       156.206.        Following a telephone call between counsel for the parties on July 31, 2024,

UMG sent a letter to Drake’s representatives, in which UMG represented that it understood its

preservation obligations and warned that it “would be improvident” of Drake “to pursue these

claims against UMG.”

       157.207.        On August 1, 2024, Drake sent UMG another letter again emphasizing the

harm to Drake, as well as his businesses, that UMG was causing by continuing to promote the

Defamatory Material. The letter demanded UMG issue a retraction and accept its responsibility

in promoting and marketing the Defamatory Material.

       158.208.        UMG’s actions did not change. After receiving two notices from Drake

about the falsity of the allegations and a description of the severe harm he suffered as a result,




                                                99
UMG took no steps to address the matter. To the contrary, UMG continued to promote and license

the Defamatory Material, including through numerous social media posts boasting of the

Recording’s success, and negotiating and paying for the Recording to be nominated at the 2025

Grammys and played at the Super Bowl.297

            159.209.    Throughout the summer and fall, Drake attempted to resolve these claims

privately with UMG without resorting to litigation. UMG’s own Code of Conduct required

corrective action on UMG’s part—that code states that UMG is “committed to a nonviolent

workplace,” and that “[h]arassment can take different forms, such as . . . speech that is threatening

or abusive.”298 In its workplace, UMG prioritizes “[a]voiding abusive conduct, including verbal

abuse and physical conduct that another person would find threatening or humiliating.”299 In his

introductory comments to that Code of Conduct, Sir Grainge observes that integrity “means

behaving honorably and with honesty. It means setting the right tone—in all that we do. We are

accountable for the decisions we make and how we conduct ourselves.”300 Drake expected that

UMG would live by its own principles in responding to the abusive conduct, threats, and violence

he had experienced.

            160.210.    Yet, after weeks of delay, UMG declined to do anything to assist Drake,

including even going so far as refusing to agree to mediate with Drake. UMG instead insisted that

it bore no responsibility for the harm Drake had suffered, and represented that if Drake sued UMG,

UMG would respond by bringing claims against Kendrick Lamar, and intimated that Drake would

face public ridicule for the perception that he had sued another rapper.


297
      See supra ¶¶ 106–108, 125. 129–47, 164–69.
298
      Universal Music Group, Our Code of Conduct, supra note 1817, at 10-11.
299
      Id.
300
      Id. at 2.


                                                100
       161.211.        At no point during any of these discussions did UMG ever suggest that it

believed the allegations against Drake to be truthful or accurate.

       162.212.        As of the date of this filing, UMG continues to promote and license the

Defamatory Material notwithstanding its plain knowledge of both the falsity and concrete harm to

Drake. As of the date of this filing, UMG has not retracted any of the Defamatory Material or

issued any statements disclaiming the veracity of the Defamatory Material or apologizing to Drake

for the harm it has caused.

       163.213.        UMG’s actions arewere motivated, at least in part, by UMG’s desire to best

position itself in negotiations with Kendrick Lamar in 2024 and Drake in 2025. With respect to

Lamar, on information and belief, UMG was incentivized to prove that it could maximize Lamar’s

sales—by any means necessary—after only being able to get him to sign a short-term exclusive

contract. UMG wanted Lamar to see its value on an expedited timeframe in order to convince

Lamar to re-sign exclusively and for a longer period of time. As to Drake, in 2024, his contract

was nearing fulfillment. On information and belief, UMG anticipated that extending Drake’s

contract would come at a high cost to UMG; as such, it was incentivized to devalue Drake’s music

and brand in order to gain leverage in negotiations for an extension.

       164.214.        UMG’s actions were also motivated by its executive incentive structure,

which rewards Interscope executives, like Mr. Janick, for surpassing their division’s annual

projections, even if that success has a detrimental effect on an artist from another division, like

Drake from Republic, and/or UMG overall.

       165.215.        On information and belief, Mr. Janick further was motivated to surpass

Interscope’s 2024 annual goals at the expense of Republic and Drake to position himself to be




                                                101
named as Sir Grainge’s successor, a position for which Mr. Monte Lipman of Republic is also

being considered.

                 UMG CAUSED DRAKE SUBSTANTIAL HARM BY PUBLISHING AND
                        PROMOTING THE DEFAMATORY MATERIAL

          166.216.          UMG published or took part in publishing statements that assert or imply

that Drake is a sex offender, pedophile, and sex trafficker, and engages in other sexual criminal

acts that would require him to register as a sex offender. These claims are false and constitute

defamation per se.

                  F.        Members of the Public Believe and Repeat the False Allegations.

          167.    Members of the public have taken the allegations in the Defamatory Material to be

statements of fact, even after Drake’s public and private denials.

          168.    On April 30, 2024, less than a week before the release of the Recording, UMG

released another song by Kendrick Lamar (“Euphoria”) that threatened that he “won’t tell truths

’bout” Drake if Drake “don’t tell no lie about me,”301 and ominously stated that he “know some

shit” about Drake.302 To the reasonable listener, any future allegations levied by Lamar against

Drake would be based in “truth” and undisclosed fact, not rumor or opinion.

          169.    Immediately after the release of the Recording and Image, people all over the

internet began repeating the allegations against Drake, believing them to be statements of fact.

These posts number in at least the hundreds of thousands.




301
    Kendrick Lamar (@kendricklamar), Euphoria, at 00:51-00:54, YouTube (Apr. 30, 2024),
https://www.youtube.com/watch?v=NPqDIwWMtxg [https://perma.cc/E5NC-JC9B].
302
      Id. at 03:02-03:05.


                                                   102
       170.    As one user put it: “This isnt a diss, it’s the truth. The culture isnt just not fw

[fucking with] with Drake, its correcting itself by kicking out these predators (Drake, Diddy

etc).”303 Another user wrote that the Recording is “telling the truth” about Drake being a “pedo.”304

       171.    Other users echoed the same:

               •   “Drake has more than 800k dislikes on that song cuz everybody believe
                   he loves touching children cuz we have evidence everywhere;”305

               •   “I LOVE THIS SONG‼ We would have never known Drake is a
                   whole pedophile if this information wasn’t exposed!;”306

               •   “Respect and love you Kendrick for keeping it [100 emoji]. From your
                   tone, anger, and passion behind your words there is no doubt on my
                   end that Drake is indeed a pedophile;”307 and

               •   “Kendrick just exposed drake of running with pedos n sex offenders. [I
                   don’t know,] I don’t think Kendrick is dumb to make false
                   accusations, I don’t wanna assume without proof but shi ain’t looking




303
    User @mrright8439, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not
Like              Us,          YouTube           (July            4,           2024),
https://www.youtube.com/watch?v=H58vbez_m4E&lc=Ugye0CflEuIQFc1WdCx4AaABAg
[https://perma.cc/Q2SH-PR7Q] (emphasis added).
304
   User @kaioken8026, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not
Like Us, YouTube (May 11, 2024),              https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=Ugx23-NZg6eB0Hspdt14AaABAg [https://perma.cc/39F6-26RR].
305
   User @itzmglo892, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like
Us,       YouTube     (May     7,     2024),   https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=Ugz5w9YjkanJST3x9KN4AaABAg.A37cQ9A2ziqA37jeqR4n-q
[https://perma.cc/3LRV-FNB6] (emphasis added).
306
     User @ZxZNebula (formerly @pareeshaslaughter6798),, Comment, Kendrick Lamar
(@kendricklamar), Kendrick Lamar – Not Like Us, YouTube (May 8, 2024),
https://www.youtube.com/watch?v=T6eK-2OQtew&lc=UgxjAPntCJymjhPSKUR4AaABAg
[https://perma.cc/ZUW3-6DYQ] (emphasis added).
307
   User @davidkwon1322, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not
Like Us, YouTube (May 11, 2024),              https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgwRetHb_AixNVevbUp4AaABAg [https://perma.cc/72X5-2L9U] (emphasis
added).


                                                103
                   good for drake. Like I feel like he still holding some shi back and
                   ain’t sayin everything he knows bout drake.”308

       172.    Many people reacted to the Image, which depicts Drake’s Toronto residence and

13 sexual predator icons. One user asked: “who are the 13 pedophiles at Park Lane Circle??

[eyes wide emoji] [eyes wide emoji]” demonstrating that they believed the Image to be accurately

depicting who lived or spent time in the home.309

       173.    Others reacted similarly to UMG’s initial publication of the Recording and Image

to YouTube:

               •   “Just realized the thumbnail is from the sexual predators app;”310

               •   “Omg is that a sex offender map on drakes house;”311

               •   “NAH THAT MANY PEDOS IN ONE                              SPOT        IS
                   CRAZYYYYYYYYY DRAKE CANCELED;”312



308
   User @nebula2582ZxZNebula, Comment, Kendrick Lamar (@kendricklamar), Kendrick
Lamar – Not Like Us, YouTube (May 5, 2024), https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=Ugy3GxrXDhB4FrdpL4l4AaABAg [https://perma.cc/5929-W5MN] (emphasis
added).
309
    User @Eagle252, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like
Us,                 YouTube                (July              21,               2024),
https://www.youtube.com/watch?v=H58vbez_m4E&lc=Ugw3GlxFm03VtNn8CmB4AaABAg
[https://perma.cc/B5U9-HY44] (emphasis added).
310
   User @mnmsaregood1, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not
Like    Us, YouTube     (May    5,  2024),    https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=Ugx5fmeYbCAsOIjUV1F4AaABAg [https://perma.cc/F449-K7YE] (emphasis
added).
311
   User @pinkengineering (formerly @imcicily), Comment, Kendrick Lamar (@kendricklamar),
Kendrick      Lamar     –     Not    Like      Us,   YouTube       (May    5,     2024),
https://www.youtube.com/watch?v=T6eK-2OQtew&lc=UgzH35b0IFiCS51IHJV4AaABAg
[https://perma.cc/V2Z5-CR5F].
312
   User @Geni167, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like
Us,     YouTube     (May     5,     2024),   https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=Ugy73wSHQ38O1YYo84x4AaABAghttps://www.youtube.com/watch?v=T6eK-
2OQtew&lc=Ugy73wSHQ38O1YYo84x4AaABAg [https://perma.cc/9KDG-RXJW] (emphasis
added).


                                               104
              •   “Drake housing a bunch of pedos at his house [nervous laughing with
                  sweat emoji];”313

              •   “Yoooooo Sex offenders have to register Red means sexual assault
                  against a minor. Drake has 13 of them living in his house?”314 and

              •   “Drakes pedo mansion those are the markers used to show pedos that
                  live next to you kids.”315

       174.   People all over the internet also questioned why Drake had not yet been arrested

and called for the police, the FBI, and the Central Intelligence Agency (CIA), as well as Child

Protective Services (CPS), to investigate the statements in the Recording. On comments on

UMG’s initial publications of the Defamatory Material to YouTube, users commented:

              •   “The FBI needs to come at this point [laughing emoji];”316

              •   “The caged owl. Got me truly believing Kendrick know Drake going
                  to prison possibly;”317




313
    User @Shakia-mi1og, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not
Like Us, YouTube (May 17, 2024),                https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgwMgoIPSKsI516iTF94AaABAg.A3XNv8zVrnZA3XRS50IeSA
[https://perma.cc/8NVP-UC9W] (emphasis added).
314
   User @mothernature5828, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar –
Not Like Us, YouTube (May 6, 2024), https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgxwdAg-d_sYmcG_0Id4AaABAg [https://perma.cc/VK97-MP3D] (emphasis
added).
315
   User @supersayian193, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not
Like     Us,    YouTube   (May    7,  2024),    https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=Ugy_x-jK0HeBXZBeHCN4AaABAg.A39CQVU26nfA39Ce8tDLbA
[https://perma.cc/265S-BHE2].
316
  User @WrestlingWarrior15, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar
– Not Like Us, YouTube (May 30, 2024), https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgytLUYzg0IN6HDDkbh4AaABAg                          [https://perma.cc/WR5J-
KX7G].https://perma.cc/WR5J-KX7G.
317
    User @Leonard_Washington76, Comment, Kendrick Lamar (@kendricklamar), Kendrick
Lamar         –      Not      Like      Us,    YouTube    (July     9,      2024),
https://www.youtube.com/watch?v=H58vbez_m4E&lc=UgzEwjZukwgo_GGHnqZ4AaABAg
[https://perma.cc/22TH-TVE6] (emphasis added).


                                             105
             •   “hey kendrick don't diss drake it's waste of time just call the cops and
                 snitching drake is pedophille so drake go to jail and you can win bye
                 [thumbs up emoji];”318

             •   “Hide your children from Drake;”319

             •   “If what kendrick is saying is true, drake needs to be locked up;”320

             •   “Drake just need to be locked up;”321

             •   “Yo Im about to call Child Proctective Services because this is
                 abuse;”322

             •   “Drakes #1 opp is child protected services;”323

             •   “At this point, CIA and FBI need to step in;”324 and


318
   User @naive-u8f, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like
Us,     YouTube      (May     6,     2024),    https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgzpsCFEw2wNtXO-mH54AaABAg [https://perma.cc/2X7B-UKHK] (emphasis
added).
319
   User @kevinryt4963, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not
Like   Us,   YouTube     (May    5,   2024),   https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=Ugwo7YQXyO6bZmAqW754AaABAg [https://perma.cc/CEU5-EKW5].
320
   User @meowmeow1234meow, Comment, Kendrick Lamar (@kendricklamar), Kendrick
Lamar – Not Like Us, YouTube (May 5, 2024), https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgyiEogmH8Ko5jqUZfR4AaABAg [https://perma.cc/2ENM-4L28] (emphasis
added).
321
   User @saitherabbit, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like
Us,       YouTube      (May     9,     2024),    https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgyC3ae8cvJNGi_Z7494AaABAg.A3C0TcZ0FxJA3C4-bWM6H-
[https://perma.cc/RZ38-GBY9].
322
   User @loverunsdeep6382, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar –
Not Like Us, YouTube (May 5, 2024), https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgxIrboIuH_WN61Qn-54AaABAg [https://perma.cc/LHU9-KY2E] (emphasis
added).
323
   User @Ben10295, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like
Us,     YouTube     (July    8,     2024),    https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=Ugz30tyV7Su15LLOABN4AaABAg [https://perma.cc/8MCD-H4AK].
324
   User @NnewidiewiChukwu, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar
– Not Like Us, YouTube (May 17, 2024), https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgwGvIubOjB_ZqaYyF14AaABAg [https://perma.cc/DAE3-KMGJ] (emphasis
added).


                                             106
              •   “I like the step this way step that way are we locked in, I picture drake
                  getting locked behind bars.”325

       175.1. Some comments went so far as to specifically reference Drake’s seven-year-old son

by name: “It's scary if what Kendrick said is true about Drake .. mother of Adonis, save your

child;”326 “Adonis gets to play with the trapped kids in Drakes mansion when he does good;”327 “I

don’t think Drake can even attempt to parent Adonis anymore [crying emoji];”328 and in an

especially vile post, “I bet Drake touches Adonis too.”329

       176.   Many posters turned to racial and religious slurs against Drake, who is mixed race

and Jewish. For example, users on YouTube and X commented:

              •   “Its drake that pedojewboy;”330




325
   User @jthe9eleven11, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not
Like   Us,    YouTube     (May   7,    2024),   https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgyDl-LWP-L6cq5HwiB4AaABAg [https://perma.cc/D66Y-M72Y].
326
  User @Uh-no, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us,
YouTube         (May       8,     2024),     https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=Ugwho8upBcUYyhZj8Zx4AaABAg                           [https://perma.cc/G6P2-
MNZ8].https://perma.cc/G6P2-MNZ8.
327
   User @chillbloc, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like
Us,     YouTube       (May     6,     2024),   https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgyWti6FnAy1qD851Tt4AaABAg [https://perma.cc/X88Y-8WXY].
328
   User @DarthD13, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like
Us,     YouTube     (May     8,     2024),    https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgzbkuT5VTQlho-wiG94AaABAg [https://perma.cc/9RQV-DFWQ].
329
   User @a3lzv, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us,
YouTube           (June     1,      2024),       https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgxtEiWIm99WHc8NKed4AaABAg [https://perma.cc/EB2G-ZUPN] (emphasis
added).https://perma.cc/EB2G-ZUPN (emphasis added).
330
    User @drpuffnstuff5672, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar –
Not Like Us, YouTube (May 8, 2024), https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgwUebwBrfII3ODMqqp4AaABAg.A3BSskE0bxYA3BUxB3n0HY
[https://perma.cc/5KEM-T7AN] (emphasis added).


                                              107
                 •   “Drakes jew protection pedo team will get him off;”331

                 •   “I’ll say it..... Them jews are the colonizers.... That’s who Drake
                     represent..... We got to take our music back from those DEVILS.....;”332

                 •   “On a deeper level they not like us,. Understand Drake is a Kazarian
                     Jew. If you know the history you know that they stole the identity of the
                     true biblical Semitic Israelites ‘US’ and are claiming to be Jewish people
                     today.. So When Kendrick says your not a colleague your a colonizer it
                     goes much deeper than rap.. IYKYK;”333

                 •   “Stopped by Compton’s Tam’s #21 with the homie for some burgers
                     and to call @Drake a jewish pedophile. You know I had to do it to em
                     #NotLikeUs @kendricklamar Kek shoutout Rosecrans;”334 and

                 •   “BROOOOO, DRAKE IS A COLOLNIZER BECAUSE HE IS
                     JEWISHHHH.”335

          177.   In a May 10, 2024 recording of the “It’s Been a Minute” show produced by National

Public Radio (NPR), host Brittany Luse discussed the allegations in the Recording with NPR

Music Reporter Sidney Madden and writer Tirhakah Love.336 They understood the Recording to


331
   User @user-qk9he7se5w, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar –
Not Like Us, YouTube (May 25, 2024), https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=Ugxr1AwronL0IuGi3fx4AaABAg [https://perma.cc/AS6V-LEJA].
332
    User @MrJoeNobody, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not
Like              Us,          YouTube           (July            5,           2024),
https://www.youtube.com/watch?v=H58vbez_m4E&lc=UgyR8Ic30DarlLMQ85d4AaABAg
[https://perma.cc/8GV6-BFUK] (emphasis added).
333
   User @rogerhines1779, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not
Like              Us,          YouTube            (July            8,           2024),
https://www.youtube.com/watch?v=H58vbez_m4E&lc=UgyW_NBCk3_yN75K9Cl4AaABAg
[https://perma.cc/E7VW-C3QU] (emphasis added).
334
     spico blanco 2 electric boogaloo (@Cassius28865223), X (Aug. 4, 2024),
https://x.com/Cassius28865223/status/1820261511685881932 [https://perma.cc/C2NN-WA9B].
335
   User @CamLo-c9t, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like
Us,                  YouTube                (July             12,               2024),
https://www.youtube.com/watch?v=H58vbez_m4E&lc=UgyJ0puH2rTCo7sfZil4AaABAg
[https://perma.cc/TJ3Z-S2KY] (emphasis added).
336
      Drake and Kendrick are beefing, but who pays? Plus, moms as our social safety net, It’s Been
a               Minute,              NPR               (May              10,                2024),



                                                  108
be linking Drake and his alleged criminal behavior to other famous figures who were revealed to

the public as sexual predators and later convicted for their crimes, such as rapper R. Kelly.337 Ms.

Madden insinuated that the allegations could be true, commenting that so “much dirt has been

unearthed.”338 To Love, the allegations rose to the level of warranting an investigation:339 because

while this “sort of behavior” [meaning sexual violence] is “in our faces for a lot of different

industries,” it is unusual for the allegations to come from “contemporaries.”340 The podcast

positioned the Recording as having the potential to be a tipping point for a #MeToo movement in

the world of hip-hop.341

            178.1. Luse explicitly asked her guests whether they considered the allegations in the

Recording to be art or “cause for an actual criminal investigation.”342 Ms. Madden answered by

pointing to the trial of rapper Young Thug, who was recently criminally prosecuted in Georgia on

RICO charges, in a case where the prosecution relied heavily on rap lyrics as evidence.343

            179.1. Other celebrities have suggested the possible truth of the allegations. During his

set at a May 7, 2024 charity event, actor and comedian Seth Rogen commented on how Drake

must feel now that “people are dancing” to a song that calls him a sexual predator.344 Mr. Rogen



https://www.npr.org/transcripts/1197956376?ft=nprml&amp;f=1197956376
[https://perma.cc/T8H2-5F59].
337
      Id.
338
      Id.
339
      Id.
340
      Id.
341
      Id.
342
      Id.
343
      Id.
344
  Derrick Rossignol, Seth Rogen Pinpoints The Moment Drake Officially Lost the Kendrick
Lamar Beef and Marvels at How Crazy the Whole Thing Is, Uproxx (May 8, 2024),



                                                  109
said, “Could you imagine going to a club and seeing a room full of people dancing to a song about

you being a pedophile? Especially if you were one? I don’t know if he is, but if he was, I assume

that’d be a very alarming moment in your life. ‘Oh no, they’re on to me.’”345

            180.   Others compared Drake to infamous people who have actually been charged with

and found guilty of sex crimes. In comments on UMG’s initial publication of the Recording and

Image to YouTube, users commented, “[D]rake is a pedophile and sexual abuser on the level of

Weinstein, Diddy, and Epstein”346 and “people like Drake, [W]einstein and Epstein, using power

and money to humiliate and terrorize and traffic and groom females and children.”347 Commentors

on the Video repeated similar sentiments, such as: “We have an anti-PDF anthem! About time.

No justice for guys like Diddy, Epstein, and Drake and all the victims they cause much less the

Johns.”348 Users characterized Drake of being just another “Hollywood pedo.”349




https://uproxx.com/music/seth-rogen-drake-kendrick-lamar-pedophile/ [https://perma.cc/W9GP-
QUUX].
345
      Id.
346
  User @TheRealRyanMickens, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar
– Not Like Us, YouTube (May 8, 2024), https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgzDjAlJPQtrc1E2Eqd4AaABAg [https://perma.cc/SS4F-Y8DZ].
347
   User @ogekanvas, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like
Us,       YouTube     (May    12,    2024),    https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgxKXmpopglRXFMYsWx4AaABAg.A3K_djsknWrA3L_48a7YKz
[https://perma.cc/8URW-9PEH].
348
    User @JacobChavez-pc2cm, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar
–          Not       Like       Us,      YouTube         (July        7,        2024),
https://www.youtube.com/watch?v=H58vbez_m4E&lc=UgyNfScmqWKyAIl9J6F4AaABAg
[https://perma.cc/B9EL-FLRB].
349
   Ace High (@AceHighAlbion), Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar
–          Not       Like      Us,       YouTube         (July       20,         2024),
https://www.youtube.com/watch?v=H58vbez_m4E&lc=UgydWMZ9oZUKHgLeirZ4AaABAg
[https://perma.cc/GB25-STV3].


                                                110
       181.   Believing the accusations, many listeners also repeated the calls for violence

against Drake from the Defamatory Material. In the comment sections of UMG’s first publication

of the Recording and Video on YouTube, users made threats:

              •   “Drake not going to be able to touchdown into Cali going forward.
                  Somebody gonna Biggie Smalls him. Homies out here don’t tolerate
                  pedophilia. Not even joking;”350

              •   “Drake better come with secret service-type security if he plans on going
                  through LA. And even then that might not be enough. They ‘Not Like
                  Us’ [laughing emojis];”351 and

              •   “Drake can never go to LA without secret service level security now.”352

              182.• On X, the references to violence continued: “[T]his is one of those
                 situations where you kinda just gotta kill yourself if you’re drake.”353

              183.• Other commenters reveled in the idea of Drake suffering from
                 sexual assault in prison: “Even nerds know if you’re messing with kids




350
   User @photograffito, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not
Like   Us,   YouTube      (May    5,   2024),   https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgwhwswcQjXOw7c9t_d4AaABAg [https://perma.cc/XEH3-KMQH].
351
    User @Thx4everything_117, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar
–          Not        Like      Us,       YouTube         (July        5,        2024),
https://www.youtube.com/watch?v=H58vbez_m4E&lc=Ugzwae5O4LuQwkI5OJ54AaABAg
[https://perma.cc/8Z4J-L3MP].
352
    User @Wilson_Mccartney, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar –
Not           Like        Us,        YouTube          (July          4,          2024),
https://www.youtube.com/watch?v=H58vbez_m4E&lc=Ugzx3XCuiNJxajv-ybp4AaABAg
[https://perma.cc/3D8Z-CUBD].
353
            Kelly      (@BoyYeetsWorld),         X               (June          19,        2024),
https://x.com/BoyYeetsWorld/status/1803621362751177097                    [https://perma.cc/3JLZ-
XTBQ].https://perma.cc/3JLZ-XTBQ.


                                              111
                   you don’t do good in jail”354 and “[E]veryone is dancing to drake being
                   a pedo getting violated in prison.”355

       184.    Belief in the truth of Defamatory Material persisted in direct response to Drake’s

denial of the claims in “The Heart Part 6”:356




354
    User @randomforyoutube3215, Comment, Kendrick Lamar (@kendricklamar), Kendrick
Lamar – Not Like Us, YouTube (May 7, 2024), https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgwHQYlQsr1DeR8drm94AaABAg.A377Gd2IUF9A378s0FtOk0
[https://perma.cc/KPK9-SAHX].
355
   User @ImChickenLittle, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not
Like     Us,    YouTube    (May   8,   2024),   https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgzukLEOCNlaEbrb_Nd4AaABAg.A39hSm0r_5uA39hf9iwdiv
[https://perma.cc/LSV3-7XTV].
356
         Sultan     of    SOLana.Wen       (@ropexgang),      X     (May       6,    2024),
https://x.com/ropexgang/status/1787590823535673684 [https://perma.cc/W7EU-TG53]; see also
IAintGonCap                (@IAintGonCap),              X               (May             5,
2024), https://x.com/IAinGonCap/status/1787300175054049618 [https://perma.cc/GT6T-2AYL]
(“Kendrick didn’t lie about anything! You fed misinformation for him to expose you having a
Fake Daughter but he still smoked and broke you down for being into Underage Girls, being



                                                 112
       185.    The social media reaction described in Paragraphs 170 to 184 are just a tiny slice

of the public vitriol caused by UMG’s defamation of Drake.

       186.1. The spewing of hate against Drake has not been limited to social media. The public

has leveraged multiple other platforms to repeat the lies in the Defamatory Material. For example,

users have edited the address that appears on Google Maps and Apple Maps at Drake’s Toronto

address to read “pedophile lives here” and “he touches little girls.”

       187.1. In the summer of 2024, users updated the description of Drake’s Toronto address

in rideshare applications Uber and Lyft.              Users have edited the address to read

“DRIZZYTOUCHESKIDS,” “Drizzy’sFunTimeChamber,” and “A MINORRRR.”




addicted to pills,your camp having Sexual Assaults and also you having gambling problem which
are ALL TRUE and One is Subjective the Gambling…Your Spiraling More and The Fart 6. Ain’t
it. #OVHO #MeetTheGrahams.”).


                                                113
          188.   Less than a month after UMG published the Recording and Image, author Martin

Vidal published an article titled “The Drake-Kendrick Rap Beef: A Case Study of Mob

Psychology.”357

          189.   Mr. Vidal explains that “mob mentality” is a psychological state that causes people

to abandon nuance, label anyone who defends the accused as being guilty of the same actions of

the accused, reward those who perpetuate their cause, and do bad in the name of doing good, even

when accusations are made without supplying any evidence. Mr. Vidal concludes that the public

reaction to the allegations against Drake were classic mob mentality, citing the shooting and other

trespassing incidents, instances of vandalism at Drake’s OVO stores, and overwhelming negative

public outcry.

          190.   Mr. Vidal explains that this mob mentality is why people can believe the allegations

despite the fact that “Drake has never been accused of inappropriate behavior with a minor (or

something similar, like grooming) by any underage or formerly underage person he’s interacted

with, or their families, or their acquaintances, and just about every alleged victim of such has come

out in defense of Drake.”

          191.   According to Mike Rothschild, an author and expert on conspiracy theories,

accusations of pedophilia are particularly ripe for conspiracies.358 He describes that allegations of

child sexual abuse cause people to “immediately just lose their mind — even if these children

don’t exist” and even “if you just put out the suggestion there, it grabs ahold in a way that is




357
   Martin Vidal, The Drake-Kendrick Rap Beef: A Case Study of Mob Psychology, Medium (May
24,    2024),     https://medium.com/the-riff/the-drake-kendrick-rap-beef-a-case-study-of-mob-
psychology-30d42b46b3a7 [https://perma.cc/6H27-F2ZS].
358
      Kim, supra note 10. 9.


                                                 114
difficult to dislodge.”359 Mr. Rothschild also notes that social media exacerbates conspiracy

theories because the spread of information, or disinformation, can happen so much more rapidly

than in the analog age.360

                  G.   UMG’s Conduct Caused Drake Reputational, Financial, Physical, and
                       Emotional Harm.

            192.217.   UMG’s publications have caused Drake reputational, financial, physical,

and emotional harm, and all of these harms were reasonably foreseeable.

            193.218.   The Economist and YouGov polled Americans about their views of Drake

in August 2023 and in May 2024, shortly after the release of the Recording and Image. Drake’s

favorability rating dropped by 11% while his unfavorability rating rose 13%.361 As of May 2024,

Drake was “now less popular in the United States than Joe Biden and Donald Trump.”362

            194.219.   As a public figure, Drake’s reputation is paramount to his career and is

directly related to his financial success. UMG’s purposeful spread of the Defamatory Material

unquestionably caused Drake reputational harm. Because of UMG’s defamation, millions of

people all over the world now associate Drake with pedophilia and sexual violence against

children:




359
      Id.
360
      Id.
361
   David Montgomery, Polls show Drake is losing his feud with Kendrick Lamar, YouGov (May
16, 2024), https://today.yougov.com/politics/articles/49451-polls-show-drake-is-losing-his-feud-
with-kendrick-lamar [https://perma.cc/3D4A-3KG7].
362
    Joe Edwards, Drake Now Less Popular in the US Than Biden, Trump, Newsweek (May 17,
2024),             https://www.newsweek.com/drake-poll-biden-trump-kendrick-lamar-1901745
[https://perma.cc/L4HF-STPN].


                                              115
             •   “Every time I think of Aubrey now I just sing [‘]certified lover boy certified
                 pdfile[’] in my head;”363

             •   “Drake may or may not recover from this, but either way shit’s never gonna
                 be the same for him after this song. He can’t escape from it, creepy pedo
                 ass;”364

             •   “Dont think his rap career is dead, but enough questions have been asked so
                 there should be notable impact on his career . . . ;”365

             •   “What am I suppose to tell my kids when they ask me if these allegations are
                 true? They did not even know Kendrick music well but identified a feeling in
                 [K]endricks music that resonated with there truth. These words are scathing
                 to any listener. I got some decision’s to make after this because I can’t play
                 drake in my car with this narrative floating around. Dangerous;”366

             •   “I don’t wanna be that guy but I never took Drake seriously, he’s Canadian, he
                 was in Degrassi that stuff makes it hard for me to take him seriously. I thought
                 that’s why Kendrick went after him. Now that it’s more serious than just Drake
                 being fake, I’m like wow if I knew all this I’d hate Drake too. This is check
                 mate for Drake because how exactly do you respond to someone calling you a
                 sociopath, a deadbeat and a pedo? As for KL I just wanna know how he found
                 out some of these things and what took so long to call Drake out;”367 and


363
   User @deelaw, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us,
YouTube                       (July                     6,                        2024),
https://www.youtube.com/watch?v=H58vbez_m4E&lc=UgysYam8wQR1iF1OOUd4AaABAg
[https://perma.cc/FJL2-HUF4].
364
    User @johnnyrivas2619, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar –
Not           Like        Us,         YouTube         (July          5,         2024),
https://www.youtube.com/watch?v=H58vbez_m4E&lc=UgxAJNNJvjl4aiD560B4AaABAg
[https://perma.cc/5XSN-KVFQ] (emphasis added).
365
   User @bg1251, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us,
YouTube                       (July                     6,                        2024),
https://www.youtube.com/watch?v=H58vbez_m4E&lc=UgyC98eu0JPMQKG_dqN4AaABAg.A
5VBBvesZLGA5XRyIMTpit [https://perma.cc/V2AQ-QT3P] (emphasis added).
366
   User @Mesquite103, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not
Like    Us, YouTube     (May    8,   2024),   https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=Ugx4tw7pScwTmxZRJgJ4AaABAg [https://perma.cc/9S4Q-RYNE] (emphasis
added).
367
    User @miguelzurita3216, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar –
Not Like Us, YouTube (May 8, 2024), https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgzepMW_ZmA-jpOZ4lp4AaABAg.A39Umhbxa2hA39oO8zdpS7
[https://perma.cc/X89T-2XU6] (emphasis added).


                                             116
               •   “This whole thing is beyond brutal at this point. “This whole thing is beyond
                   brutal at this point. Kendrick must truly fucking hate Drake for some reason.
                   Makes me inevitably think there might be real merit to the pedophile
                   claims. Sorry Drake, Kendrick is literally making me think it. Jesus christ,
                   talk about winning a rap beef [laughing emojis].”];”368 and

               •   “Drake’s Funeral has lasted since March 2024, this the longest
                   CELEBRATION EVER! [fire, eye, and mouth emojis] His fans will STILL
                   DEFEND A PDF.[fire, laughing, and thumbs up emojis].”369

       •220. And because Drake’s reputation is closely related to that of the companies he owns,

the reputation of Drake’s brand OVO has also been harmed. For example, when a collaboration

with Disney was announced in February 2025, Instagram users commented: “Disney collab [skull

emoji] yes little kids Aubrey is coming for you,” “Pdf Aubrey looking for new ways to reach the

children,” and “child actor turned child lover.”370

       195.221.        This reputational harm caused Drake financial harm in an amount to be

proven at trial. UMG knew or should have known that the statements it published about Drake

would cause substantial harm as the statements are inflammatory, wrongfully impute criminal

activity to him, and damage Drake in his trade. The Defamatory Material has so severely damaged

Drake’s standing in his trade and community that undoing the reputational harm caused would


368
    User @11cockrellm, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not
Like            Us,            YouTube           (July            7,           2024),
https://www.youtube.com/watch?v=H58vbez_m4E&lc=UgxIuAXkpmfSycCn6wV4AaABAg.A
5XwaGEIEB0A5_wDJFEk8J [https://perma.cc/VUT8-5875] (emphasis added).
369
   User @ MariaHeredia-dw4id, Comment, NFL (@NFL), Kendrick Lamar’s Apple Music Super
Bowl Halftime Show, YouTube (Feb. 10, 2025), https://www.youtube.com/watch?v=KDorKy-
13ak&lc=Ugwi7fkuw2Yg-WPQzQ94AaABAg [https://perma.cc/V4C7-FWSK].
370
    User @11cockrellm, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not
Like            Us,             YouTube          (July            7,           2024),
https://www.youtube.com/watch?v=H58vbez_m4E&lc=UgxIuAXkpmfSycCn6wV4AaABAg.A
5XwaGEIEB0A5_wDJFEk8J [https://perma.cc/VUT8-5875] (emphasis added). October's Very
Own (@octobersveryown), Instagram (Feb. 7, 2025), https://www.instagram.com/p/DFxp-
lyJMNQ/ [https://perma.cc/RTA9-3LBR] (comments from @whatslorenzodoin and
@brooke__725 preserved offline).


                                                117
require a massive, and expensive, corrective campaign. It is not just the fact that the false

allegations have spread to millions around the globe, it is also the intensity with which people

believe the allegations as evidenced by the events of May 7, 2024, and pervasive online

commentary. Changing people’s minds, particularly about deeply held beliefs, takes repeated

messaging from trusted sources.

            196.222.     UMG knows and understands just how destructive false allegations of

participating in criminal sex acts against minors can be. When UMG and Sir Grainge were accused

of aiding and abetting P. Diddy’s criminal sex acts in 2024, they moved to dismiss the complaint

and called the accusations “offensively false allegations of criminal behavior” that would be

“libelous per se” if not contained within a legal filing371 and “knowingly and maliciously false and

defamatory.”372

            197.223.     In Sir Grainge’s words, “a single lie can destroy a reputation of integrity

and that while it takes years to build a reputation, it can be ruined in five minutes.”373

            224.   UMG’s conduct has also caused Drake physical and emotional harm., including

alarm and annoyance. UMG’s publication was the proximate cause of the violence against Drake

in early May. 2024 and the deluge of online hatred and threats. Following thisthe physical violence

in May 2024, Drake made lasting changes to his life, including increasing security for himself and

his family anywhere they go. The threat of violence continues to weigh on Drake. With respect

to his family, Drake temporarily took his son out of school and away from the Toronto area (along




371
      Declaration of Donald S. Zakarin, supra note 1211, at ¶ 3.
372
      Declaration of Sir Lucian Grainge, supra note 1413, at ¶ 24.
373
      Id.


                                                 118
with Drake’s mother) for security concerns. And to this day Drake experiences anxiety worrying

about the physical safety of his seven-year-old son and mother.

       225.    The online harassment and repetition of the allegations have endured, and have

been revitalized by UMG’s persistent efforts to promote the Defamatory Material, including at the

Grammys and Super Bowl. The overwhelming public commentary repeating the allegations

against Drake, calling for intervention by the FBI and law enforcement, and spewing racist and

hateful messages have caused Drake emotional distress, including in the forms of alarm and

annoyance.

       198.226.       While UMG’s initial publications and promotions of the Defamatory

Material may have been motivated by legitimate business purposes, UMG ceased being

legitimately motivated. UMG’s actions had no legitimate purpose at least as of August 1, 2024,

because all publications and promotions after that date were made following Drake’s informing

UMG about the harm the Defamatory Material was causing him and retraction demand.

                  UMG DECEIVED THE PUBLIC AND CAUSED DRAKE HARM

       199.227.       UMG’s deceptive business practices, including providing undisclosed

financial benefits to third parties to promote the Defamatory Material, were consumer oriented,

deceived the public, and caused Drake financial harm.

       200.228.       As described above, UMG knowingly provided covert financial benefits

todirectly or indirectly through its agents and making use of UMG resources, conspired with, paid,

or caused payments to be made to unknown third parties, including to use bots to stream the

Recording. UMG then knowingly promoted the success of the Recording and Defamatory

Material, and used that success to leverage more sales and deals. UMG never disclosed these

payments to consumers.




                                               119
          201.229.      These covert tactics caused Drake harm. as both an artist and a music

consumer. Stream manipulation, like UMG’s purchase of fake streams on Spotify and other

platforms, harms the artists, like Drake, who collect royalties through legitimate streams because

when there is “a sharp increase in the number of streams recorded on a platform, without a

proportional increase in the number of paying subscribers,” there is a “drop in the unit value of a

stream and therefore a drop in the amount of royalties paid to rights-holders.”374 Additionally,

streaming platforms, like Spotify, use streaming data to proportionally allocate and disperse

payments, which means streaming fraud diverts funds from artists whose songs are legitimately

streamed by real consumers to those who use automation to falsely create the appearance of

legitimate streaming.375 Drake was also harmed as a music consumer. UMG’s covert promotional

tactics and promotion of the success of the Defamatory Material based on those tactics deceived

all consumers of music, including Drake.

                                           FIRST CLAIM

                                 (Defamation/Defamation Per Se)

          202.230.      Plaintiff incorporates and re-alleges all preceding paragraphs as if fully set

forth herein.

          203.231.      Plaintiff is a public figure.

          204.232.      UMG published, caused the publication of, participated in the publication

of, and/or reasonably could have foreseen that its actions would result in the publication of a series

of false and defamatory statements of fact about Plaintiff, including by and through its agents,

making the statements itself, and republishing the statements on its websites and social media



374
      Stream Manipulation, supra note 129228, at 12.
375
      See Burton, supra note 141239, at 390-92.


                                                  120
accounts, as detailed extensively above. As a reasonably foreseeable—and intended—result of

Defendant’s statements and actions, others repeated and amplified these false and defamatory

statements.

       205.233.           UMG intentionally made false implications through the false statements.

The defamatory meanings of Defendant’s false and implied statements of fact are apparent from

the face of the publications, refer to Drake by name, often are accompanied by images of symbols,

items, places, and other depictions known to be associated with Drake, and/or are reasonably

understood to be about him.

       206.234.           The statements UMG published about Drake are reasonably understood to

state or imply that he:

                          a.     has a history of engaging in and continues to engage in pedophilia
                                 and sexual relations with minors;

                          b.     engages in other sexual criminal acts, including sex trafficking;

                          c.     is a sex offender or engages in acts that would require him to be
                                 registered as a sex offender; and

                          d.     harbors in his home individuals who are sex offenders or engage in
                                 acts that would require them to be registered as sex offenders.

       207.235.           These statements and implications are false and defamatory per se in that

they impute criminal activity punishable by law and damage Drake in his trade, office, or

profession.

       236.    People all over the world believed the statements and implications to be statements

of fact. UMG knew when it initially published the Recording that listeners would understand the

Defamatory Material to convey the accusation that Drake is a pedophile; and, following initial

publication of the Recording, UMG learned of the events at Drake’s Toronto house, as well as the




                                                  121
widespread hatred and vitriol inspired against Drake as a result of the Defamatory Material, all of

which stem from the misperception that the accusations in the Recording and Video are true.

        208.237.        UMG published these false statements with actual malice, i.e., with

knowledge of their falsity or with reckless disregard as to their truth. UMG knew or should have

known that the defamatory statements—all of which are verifiable—were and are false. UMG

failed to assess or investigate the falsity of the defamatory statements despite inherent

improbability and obvious reasons to doubt the veracity of the statements. Drake also made a

public statement about their falsity and repeatedly informed UMG of the same privately.

        209.238.        UMG had no basis on which to believe that the allegations were true, and

indeed knew them to be false given UMG’s longstanding contractual relationship with Drake, and

continued to publish the allegations after learning Drake had disavowed the statements. Indeed,

UMG continued to promote and publish the Defamatory Material after receiving a retraction

demand from Drake, including making efforts to disseminate the Defamatory Material to new

audiences of millions of people, such as UMG’s promotional campaigns in advance of the 2025

Grammy Awards and Super Bowl Performance. To this day, UMG does not claim that any of the

allegations are true.

        210.239.        UMG published the allegations, including by its publication of the

misleading Image and other conduct described herein, in a manner to create false inferences.

        211.240.        UMG had financial motives for promoting the Defamatory Material.

        212.241.        UMG endorsed and adopted the false allegations as its own, publishing and

republishing, or causing to publish and republish, the false allegations for months with full

knowledge of their falsity or reckless disregard for their truth.




                                                 122
       213.242.         UMG had no applicable privilege or legal authorization to make these false

and defamatory statements.

       214.243.         UMG published these statements so that they were heard, viewed, or read

billions of times around the world.

       215.244.         UMG’s statements damaged Drake’s reputation in the general public, in his

profession, in his personal life, in his neighborhood, and with friends, relatives, and neighbors.

       216.245.         As a direct and proximate result of Defendant’s conduct, Drake has suffered

significant general, actual, consequential, and special damages including, without limitation,

impairment of reputation and standing in the community and in his profession, personal

humiliation, mental anguish and suffering, emotional distress, stress, anxiety, lost earnings, and

other pecuniary loss.

       217.246.         UMG was aware of the ongoing harm Drake was experiencing, including

because of news reports of the armed attack on his Toronto residence and Drake’s private

communications with UMG. UMG made repeated decisions to republish the Defamatory Material

to new audiences around the world after learning of the harm Drake had suffered and receiving a

retraction demand from him.

                                         SECOND CLAIM

                               (Harassment in the Second Degree)

       218.247.         Plaintiff incorporates and re-alleges all preceding paragraphs as if fully set

forth herein.

       219.248.         UMG engaged in a course of conduct and repeatedly committed acts which

alarm and seriously annoy Plaintiff. UMG published, promoted, and profited from a coordinated

campaign to smear, threaten, and discredit Plaintiff despite Plaintiff’s protests. Further, UMG has




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placed Plaintiff in reasonable fear of physical harm. UMG published explicit threats and calls for

violence against Drake.

       220.249.        The Defamatory Material individually and collectively provide a call to

target Drake, including through violence against Plaintiff. UMG has continued a course of conduct

to promote these publications online and on radio airwaves and through public events and further

licensing of the Recording. UMG has done so despite being a major business partner of Drake,

having knowledge of physical violence and threats at Drake’s home and online threats, and being

aware of Drake’s public and private denials of the statements.

       221.250.        UMG’s course of conduct in publishing specific and unequivocal threats of

violence has placed Plaintiff in a reasonable fear of physical harm. Plaintiff’s security guard was

taken to the hospital with serious injuries after a shooting. that immediately followed the initial

publication of the Recording. Even after learning about this incident, UMG continued to promote

and publish the Recording and Video to new audiences around the world.

       222.251.        While its initial motive was financial, UMG lost any legitimate purpose to

continue its course of conduct in the face of Drake’s public and private denials. , and the reaction

of the public to the Defamatory Material. At the very latest, UMG lost any legitimate purpose to

continue promoting and disseminating the Defamatory Material to new audiences once it had

received a retraction demand from Drake, which communicated to UMG the substantial harm that

had been caused to Drake, his businesses, and his family as a result of UMG’s conduct.

       223.252.        As a direct and proximate result of Defendant’s conduct, Drake has suffered

significant general, actual, consequential, and special damages including, without limitation,

mental anguish and suffering, emotional distress, stress, anxiety, and costs related to his increased

security.




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                                         THIRD CLAIM

                   (Violation of the New York General Business Law § 349)

       224.253.        Plaintiff incorporates and re-alleges all preceding paragraphs as if fully set

forth herein.

       225.254.        Plaintiff is “person” within the meaning of N.Y. Gen. Bus. Law § 349(h).

       226.255.        Defendant is a “person, firm, corporation, or association” within the

meaning of N.Y. Gen. Bus. Law § 349(b).

       227.256.        Defendant engaged in deceptive acts and practices in the conduct of

business, trade, and commerce by covertly financially incentivizing third parties —including

music platforms and social media influencers—to play, stream, and promote the Recording and.

And after providing those covert benefits, which were never disclosed to consumers, UMG then

by makingpublicly made materially false and misleading representations ofabout the Recording’s

popularity to consumers.

       228.257.        On information and belief, UMG directly or indirectly through its agents

and making use of UMG resources, conspired with, paid at least one, or caused payments to be

made to unknown third partyparties to use bots to stream the Recording on Spotify. UMG then

touted the Recording’s number of streams on Spotify while knowing that at least 30

millionmillions of those streams were false and fraudulent.

       229.258.        UMG also paid at least one radio promoter to engage in pay-for-play of the

Recording on New York radio stations.           UMG then marketed the Recording as “chart-

topping”being at the top of the radio charts despite knowing that it had paid third parties, including

radio stations, to play and promote the Recording.




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       230.259.        AThese deceptive acts and practices were intended to inflate the public’s

perception of the Recording’s popularity and success. And a reasonable consumer of music would

be materially misled by these deceptive acts and practices.

       231.260.        These deceptive acts and practices were consumer-oriented because they

were directed and disseminated to the general music-consuming public and marketplace and had

a broad impact on music consumers at large.

       232.261.        These alleged deceptive acts and practices occurred (at least in part) in the

state of New York.

       233.262.        Plaintiff was injured as a direct and proximate result of Defendant’s

deceptive acts and practices on streaming platforms because each time the Recording was

artificially streamed, Drake’s songs received a disproportionate share from the pool of royalties

collected based on the streaming data.

       234.263.        Plaintiff was separately injured as a direct and proximate result of

Defendant’s deceptive acts and practices in the radio industry because every time the Recording

was played, Drake lost the opportunity for one of his songs to be played.

       235.264.        By reason of the foregoing, UMG’s conduct, as alleged herein, constitutes

deceptive acts and practices in violation of Section 349 of the New York General Business Law,

and UMG is liable to Plaintiff for the actual damages that he has suffered as a result of Defendant’s

actions, the amount of such damages to be determined at trial, plus treble damages, and attorneys’

fees and costs.

       236.265.        Plaintiff further demands injunctive relief enjoining Defendant from

continuing to engage in, use, or employ any act, including false statements of the Recording’s




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success or other representations, prohibited by Section 349 of the New York General Business

Law.

                                    PRAYER FOR RELIEF

       237.266.       WHEREFORE, Plaintiff prays for judgment against UMG for each of the

causes of action raised herein. Plaintiff respectfully requests a judgment in his favor against UMG

for:

               a.     Nominal damages;

               b.     Compensatory damages, including general, actual, consequential, and
                      special damages, in an amount to be determined at trial;

               c.     Punitive damages;

               d.     Reasonable and necessary attorneys’ fees;

               e.     Reasonable and necessary costs of the suit;

               f.     Prejudgment and post-judgment interest at the highest lawful rates;

               g.     Declaratory relief stating that the statements published and promoted by
                      UMG and those attributable to UMG as reasonably foreseeable
                      republications identified within this Complaint, individually and
                      collectively, were and are false;

               h.     Injunctive relief enjoining UMG from making statements about the
                      popularity of the Recording, Image, or Video that it knows to be false based
                      on fake streams or pay-for-play; and

               i.     Such other and further relief as this Court deems just and appropriate.




 Dated: January 15April 16, 2025                   Respectfully Submitted,

                                                   By: /s/ Michael J. Gottlieb
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